             Case 3:22-cv-03131-JCS Document 23 Filed 08/05/22 Page 1 of 134



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     Attorneys for Defendant
 9   PATREON, INC.

10                                     UNITED STATES DISTRICT COURT
11
                                   NORTHERN DISTRICT OF CALIFORNIA
12

13   BRAYDEN STARK, JUDD OOSTYEN,                         Case No. 3:22-cv-03131-JCS
     KEVIN BLACK, and MARYANN OWENS,
14   individually and on behalf of all others similarly
     situated,                                            DEFENDANT PATREON, INC.’S
15                                                        REQUEST FOR JUDICIAL NOTICE
                         Plaintiffs,
16

17          v.

18
     PATREON, INC.,
19
                          Defendant.
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                                                                                REQUEST FOR JUDICIAL NOTICE
                                                                                 CASE NO. 3:22-CV-03131-JCS
             Case 3:22-cv-03131-JCS Document 23 Filed 08/05/22 Page 2 of 134



 1   TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:

 2          Pursuant to Federal Rule of Evidence 201(b), Defendant Patreon, Inc. (“Patreon”) respectfully

 3   requests that this Court take judicial notice of the documents listed below, true and correct copies of

 4   which are attached, in support of Patreon’s concurrently filed Motion to Dismiss Complaint.

 5          Rule 201 allows the Court to take judicial notice of facts that are not subject to reasonable

 6   dispute where the facts “can be accurately and readily determined from sources whose accuracy cannot

 7   reasonably be questioned.” Fed. R. Evid. 201(b)(2). In evaluating a motion to dismiss a complaint, a

 8   court properly can take judicial notice of a document, even if it is not attached to the complaint, “if the

 9   plaintiff refers extensively to the document or the document forms the basis of the plaintiff’s claim.”

10   United States v. Ritchie, 342 F.3d 903, 908 (9th Cir. 2003); see also Branch v. Tunnell, 14 F.3d 449, 453

11   (9th Cir. 1994) (“We have said that a document is not ‘outside’ the complaint if the complaint

12   specifically refers to the document and if its authenticity is not questioned.”), overruled on other

13   grounds by Galbraith v. Cnty. of Santa Clara, 307 F.3d 1119 (9th Cir. 2002).

14          Patreon respectfully requests that this Court take judicial notice of the following documents,

15   which Plaintiffs refer to repeatedly in their Complaint (see Dkt. 1, ¶¶ 47, 85), which underlie the

16   Plaintiffs’ claims (id.), and the accuracy of which cannot reasonably be questioned:

17          1.      Patreon’s Terms of Use, in the period covering February 2019 to the present (the period

18                  during which the Plaintiffs have had a Patreon account (see Dkt. 1, ¶¶ 18, 19, 24, 27)). A

19                  true and correct copy of Patreon’s Terms of Use, effective and updated in this period, is

20                  attached as Exhibits 1 through 4 to the Declaration of Tyler Layton (“Layton

21                  Declaration”), which is attached as Exhibit A.

22          2.      Patreon’s Privacy Policy, in the period covering February 2019 to the present. A true

23                  and correct copy of Patreon’s Privacy Policy, effective and updated in this period, is

24                  attached as Exhibits 5 through 10 to the Layton Declaration (attached as Exhibit A). The

25                  Privacy Policy is incorporated by reference and hyperlink into the Patreon Terms of Use.

26          3.      Patreon’s Cookie Policy, in the period covering February 2019 to the present. A true

27                  and correct copy of Patreon’s Cookie Policy, effective in the period from April 2019

28                  through the present is attached as Exhibit 11 to the Layton Declaration (attached as
                                                          1
                                                                                     REQUEST FOR JUDICIAL NOTICE
                                                                                      CASE NO. 3:22-CV-03131-JCS
           Case 3:22-cv-03131-JCS Document 23 Filed 08/05/22 Page 3 of 134



 1                Exhibit A). Before April 2019, Patreon’s Cookie Policy was part of the Patreon Privacy

 2                Policy. See Layton Declaration ¶ 18. The Cookie Policy is incorporated by reference

 3                and hyperlink into Patreon Terms of Use. Id.

 4     Patreon respectfully requests that the Court take judicial notice of these documents in full.

 5

 6   Date: August 5, 2022                                   THE NORTON LAW FIRM PC

 7
                                                            /s/ Nathan Walker
 8                                                          Nathan Walker
 9                                                          Attorneys for Defendant
                                                            PATREON, INC.
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                                                                                   REQUEST FOR JUDICIAL NOTICE
                                                                                    CASE NO. 3:22-CV-03131-JCS
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     EXHIBIT A
             Case 3:22-cv-03131-JCS Document 23 Filed 08/05/22 Page 5 of 134



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     Attorneys for Defendant
 9   PATREON, INC.

10                                     UNITED STATES DISTRICT COURT
11
                                   NORTHERN DISTRICT OF CALIFORNIA
12

13   BRAYDEN STARK, JUDD OOSTYEN,                         Case No. 3:22-cv-03131-JCS
     KEVIN BLACK, and MARYANN OWENS,
14   individually and on behalf of all others similarly
     situated,                                            DECLARATION OF TYLER LAYTON
15                                                        IN SUPPORT OF DEFENDANT
                         Plaintiffs,                      PATREON, INC.’S REQUEST FOR
16
                                                          JUDICIAL NOTICE
17          v.

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     PATREON, INC.,
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                          Defendant.
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                                         DECLARATION OF TYLER LAYTON IN SUPPORT OF REQUEST FOR JUDICIAL NOTICE
                                                                                    CASE NO. 3:22-CV-03131-JCS
             Case 3:22-cv-03131-JCS Document 23 Filed 08/05/22 Page 6 of 134



 1          I, Tyler Layton, declare:

 2          1.      I submit this declaration in support of Patreon’s Request for Judicial Notice. The

 3   statements in this declaration are based on personal knowledge and follow reasonable investigation. If

 4   called upon as a witness to testify to the truth of these statements, I could do so competently under oath.

 5          2.      Patreon is a company that provides an online platform that allows individual fans, known

 6   as “patrons,” to provide financial support to their favorite artists, called “creators,” on an ongoing basis.

 7          3.      I have been employed at Patreon as Senior Legal Counsel since October 2021. In my

 8   role as Senior Legal Counsel, I serve as in-house legal counsel for Patreon.

 9          4.      As part of my job at Patreon, I am familiar with current and past versions of Patreon’s

10   Terms of Use, Privacy Policy, and Cookie Policy. I am also familiar with how Patreon archives

11   historical versions of its Terms of Use, Privacy Policy, and Cookie Policy in the ordinary course of

12   business, and I understand how to retrieve historical versions of these documents.

13          5.      As detailed below, Patreon periodically updates its Terms of Use, Privacy Policies, and

14   Cookie Policies. The terms of each iteration of Patreon’s Terms of Use, Privacy Policies, and Cookie

15   Policies are substantially the same with respect to the matters for which these documents are cited in

16   Patreon’s Motion to Dismiss.

17   Terms of Use

18          6.      Attached as Exhibit 1 is a true and correct copy of Patreon’s current Terms of Use,

19   effective since October 15, 2021. A copy of the current Terms of Use is publicly available at

20   https://www.patreon.com/policy/legal.

21          7.      Attached as Exhibit 2 is a true and correct copy of Patreon’s Terms of Use, with an

22   effective date of July 1, 2020. A copy of this version of the Terms of Use is publicly available at

23   https://www.patreon.com/policy/oldterms.

24          8.      Attached as Exhibit 3 is a true and correct copy of Patreon’s Terms of Use, with effective

25   dates of December 20, 2019 (for new users) and January 1, 2020 (for existing users).

26          9.      Attached as Exhibit 4 is a true and correct copy of Patreon’s Terms of Use, with an

27   update date of December 18, 2018.

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                                            DECLARATION OF TYLER LAYTON IN SUPPORT OF REQUEST FOR JUDICIAL NOTICE
                                                                                       CASE NO. 3:22-CV-03131-JCS
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 1   Privacy Policy

 2          10.       Patreon’s Privacy Policy is incorporated by reference and hyperlink into Patreon Terms

 3   of Use. See, e.g., Exhibit 1 at p.2 (“By using Patreon you agree to these terms and to the other policies

 4   we post. Please read them carefully and let us know if you have any questions. Please read them

 5   carefully and let us know if you have any questions. For information about our data practices, please see

 6   our Privacy Policy, including our Cookie Policy.”) (blue and underline, and hyperlinked, in original).

 7          11.       Attached as Exhibit 5 is a true and correct copy of Patreon’s current Privacy Policy,

 8   effective since July 15, 2022. A copy of the current Privacy Policy is publicly available at

 9   https://privacy.patreon.com/policies.

10          12.       Attached as Exhibit 6 is a true and correct copy of the Patreon Privacy Policy, with an

11   effective date of November 18, 2020. A copy of this version of the Privacy Policy is publicly available

12   at https://privacy.patreon.com/policies?name=patreon-privacy-policy-past-version.

13          13.       Attached as Exhibit 7 is a true and correct copy of the Patreon Privacy Policy, with an

14   effective date of July 24, 2020.

15          14.       Attached as Exhibit 8 is a true and correct copy of the Patreon Privacy Policy, with an

16   effective date of December 31, 2019.1

17          15.       Attached as Exhibit 9 is a true and correct copy of the Patreon Privacy Policy, with an

18   effective date of April 29, 2019.

19          16.       Attached as Exhibit 10 is a true and correct copy of the Patreon Privacy Policy, with an

20   effective May 25, 2018.

21   Cookie Policy

22          17.       Patreon’s Cookie Policy is incorporated by reference and hyperlink into Patreon’s Terms

23   of Use. See, e.g., Exhibit 1 at p.2.

24

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27     This version of the Privacy Policy states that it is effective on December 31, 2019 at the bottom, but
     states “Effective Date: October 15, 2019” at the top. I understand that the “October 15, 2019” date was
28   included in this version of the Privacy Policy in error.
                                                             2
                                             DECLARATION OF TYLER LAYTON IN SUPPORT OF REQUEST FOR JUDICIAL NOTICE
                                                                                        CASE NO. 3:22-CV-03131-JCS
             Case 3:22-cv-03131-JCS Document 23 Filed 08/05/22 Page 8 of 134



 1
            18.    Attached as Exhibit 11 is a true and correct copy of Patreon’s current Cookie Policy,
 2
     which has been in effect since December 31, 2019. Before December 31, 2019, Patreon’s cookie policy
 3
     was part of Patreon’s Privacy Policy.
 4
            I declare under penalty of perjury under the laws of the United States that the statements in this
 5
     Declaration are true and correct to the best of my knowledge, and that this Declaration was executed on
 6
     August 5, 2022, in Oakland, California.
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 9                                                                   Tyler Layton
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                                             DECLARATION OF TYLER LAYTON IN SUPPORT OF REQUEST FOR JUDICIAL NOTICE
                                                                                        CASE NO. 3:22-CV-03131-JCS
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      EXHIBIT 1
Terms of Use | Patreon   Case 3:22-cv-03131-JCS Document 23 Filed 08/05/22 Page 10 of 134                         8/4/22, 3:35 PM



Skip navigation
             Product                   For creators       Pricing    Resources
                                                                       Find a creator Starter Kits             Log In         Create




                                                      Terms of use
                                                      Patreon is a membership platform that enables
                                                      creators to be paid by their fans. One of our core
                                                      behaviors is to put creators =rst, and these terms
                                                      attempt to do that. We know that most people
                                                      skim through terms of use because they’re boring,
                                                      but we have done everything we can to make this
                                                      easy to get through. Above every section we’ll
                                                      summarize the most important parts, but these
                                                      summaries are not legally binding, so please look
                                                      at the full version of the text if you have questions.




        TOPICS                                        Welcome to Patreon!
        Welcome to Patreon!
                                                      To summarize: by using Patreon you
        Your account
                                                      agree to these terms.
        Abusive conduct

https://www.patreon.com/policy/legal                                                                                 Page 1 of 21
Terms of Use | Patreon   Case 3:22-cv-03131-JCS Document 23 Filed 08/05/22 Page 11 of 134         8/4/22, 3:35 PM



        All about being a creator          These are Patreon’s terms of use, and they apply

        All about being a patron           to all users of the Patreon platform. “We,” “our” or
                                           “us” refers to Patreon Inc. and our subsidiaries.
        Patreon's role                     “Patreon” refers to this platform and the services
        Account deletion                   oOered by us. By using Patreon you agree to these
                                           terms and to the other policies we post. Please
        Your creations
                                           read them carefully and let us know if you have any
        Your third-party apps
                                           questions. For information about our data
        Patreon's creations                practices, please see our Privacy Policy, including

        Indemnity                          our Cookie Policy. We can collect and use your
                                           information in accordance with those policies.
        Warranty disclaimer

        Limit of liability
        Dispute resolution

        Everything else                    Your account

        Back to Policy                     To summarize: You must be at least
                                           13 years old to register for an
                                           account. You are responsible for your
                                           account.
                                           When you create an account you must provide us
                                           with accurate information, in good faith, and you
                                           agree to keep your information updated if it
                                           changes. To create an account you must be at
                                           least 13 years old. To join a creator’s membership
                                           as a patron, or provide a membership as a creator,
                                           you must be at least 18 years old or have your
                                           parent’s permission. You are responsible for
                                           anything that occurs when anyone is signed in to
                                           your account, as well as the security of the
                                           account. Please contact us immediately if you
                                           believe your account is compromised. You can
                                           learn more about security on our Security

https://www.patreon.com/policy/legal                                                                 Page 2 of 21
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                                           Policy page.




                                           Abusive conduct
                                           To summarize: Be responsible and
                                           don’t violate our policies.
                                           You are responsible for all activity on your
                                           account. If you violate our policies we may
                                           terminate your account. Don’t do anything illegal,
                                           abusive towards others, or that abuses our site in
                                           a technical way. If you are a creator raising funds
                                           on Patreon, we may be held accountable for what
                                           you do with those funds. As a result, we also look
                                           at what you do with your membership oO our
                                           platform. You can =nd more detailed information in
                                           the Community Guidelines and Security Policy.
                                           These policies cover most issues, but if you =nd a
                                           new and creative way to hurt Patreon or our
                                           community we may take action to prevent it.




                                           All about being a creator
                                           To summarize: A creator is someone
                                           who creates a membership page on
                                           Patreon to engage with patrons who
                                           have purchased memberships from
                                           Patreon to support the creator’s

https://www.patreon.com/policy/legal                                                                Page 3 of 21
Terms of Use | Patreon   Case 3:22-cv-03131-JCS Document 23 Filed 08/05/22 Page 13 of 134         8/4/22, 3:35 PM




                                           creations. There are a lot of details
                                           below involving payments, fees, taxes
                                           and restrictions that you should read
                                           in full if you are a creator.

                                           Membership

                                           To become a creator, simply launch your page to
                                           start your membership. When you join Patreon,
                                           you become part of the Patreon community. You
                                           can use creator tools that Patreon provides,
                                           showcase your creations, provide merchandise to
                                           patrons through Patreon’s Merch service, and
                                           receive recurring revenue from your page.
                                           Memberships are for your most passionate fans.
                                           On Patreon, you can provide your patrons
                                           something exciting that gives them unique
                                           bene=ts they want, like additional access,
                                           merchandise, exclusivity, and engaging
                                           experiences. In turn, you will receive loyal support
                                           from your patrons, and recurring revenue from
                                           memberships that patrons have purchased from
                                           Patreon.


                                           Payments

                                           As a creator you make your membership available
                                           on Patreon, and we provide membership to your
                                           patrons on a subscription basis. We also handle
                                           payments issues such as fraud, chargebacks and
                                           resolution of payments disputes. We try to provide
                                           timely access to your funds, but you may
                                           occasionally experience delays in accessing your
                                           funds. We may also block or hold payments for

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                                           violations of our policies or for compliance
                                           reasons, including collecting tax reporting
                                           information. When payments are delayed or
                                           blocked we try to communicate the reason to you
                                           promptly. If you have questions about a payments
                                           block, please reach out to us. In order to protect
                                           creators, we may block patrons’ payments if we
                                           believe them to be fraudulent. Sometimes
                                           activities like refunds can put your account
                                           balance into the negative. If your balance
                                           becomes negative then we reserve the right to
                                           recover those funds from future payments. If you
                                           are a creator of 18+ content, to comply with
                                           payment processing rules you must verify that
                                           participants in your content are the age of
                                           majority, and you must store their consent to
                                           participate. A consent form template is located in
                                           our Help Center, where you may get additional
                                           information about these requirements.


                                           Fees

                                           As a creator there are two fees associated with
                                           your membership on Patreon. The =rst is the
                                           platform fee, which varies depending on the level
                                           of service you select. The second is the payment
                                           processing fee, which is dependent on the
                                           currency selected by the creator.

                                                  The payment processing fee in US
                                                  Dollars is 2.9% plus $0.30 per successful
                                                  pledge for pledges over $3, and 5% fee
                                                  plus $0.10 per successful pledge for
                                                  pledges of $3 or less.PayPal payments from
                                                  non-US patrons have an
                                                  additional 1% fee. Founding creators have a

https://www.patreon.com/policy/legal                                                               Page 5 of 21
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                                                 legacy platform fee and the legacy payment
                                                 processing rate. The legacy payment
                                                 processing rate varies depending on a
                                                 number of factors, including the membership
                                                 subscription amount, card type and number
                                                 of other memberships joined by a patron.
                                                 The payment processing fee
                                                 in Euro is 3.4% plus €0.35 per successful
                                                 pledge for pledges over €3, and 5% fee
                                                 plus €0.15 per successful pledge for
                                                 pledges of €3 or less.
                                                 The payment processing fee in British
                                                 Pounds is 3.4% plus £0.35 per successful
                                                 pledge for pledges over £3, and 5% fee
                                                 plus £0.15 per successful pledge for
                                                 pledges of £3 or less.
                                                 The payment processing fee in Canadian
                                                 Dollars is 3.2% plus CA$0.35 per successful
                                                 pledge for pledges over CA$3, and 5% fee
                                                 plus CA$0.10 per successful pledge for
                                                 pledges of CA$3 or less.
                                                 The payment processing fee in Australian
                                                 Dollars is 3.0% plus AU$0.30 per successful
                                                 pledge for pledges over AU$3, and 5% fee
                                                 plus AU$0.10 per successful pledge for
                                                 pledges of AU$3 or less.

                                           You can see how much processing fees are for
                                           any membership subscription on your creator
                                           dashboard.
                                           Depending on your patrons’ locations, some
                                           banks may charge your patron a foreign
                                           transaction fee for their membership subscription.
                                           Patreon does not control this charge, but it is
                                           typically around 3.0% .


https://www.patreon.com/policy/legal                                                               Page 6 of 21
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                                           Tax

                                           We collect tax identi=cation information and
                                           report this to tax authorities as legally required.
                                           You are responsible for reporting any income or
                                           withholding taxes which may be due as a result of
                                           payments received. You can learn more in our Tax
                                           Help Center. We are additionally responsible for a
                                           number of transactional taxes across the world.
                                           These include but are not limited to VAT on
                                           payments for electronically supplied services to
                                           patrons in the EU, GST as an operator of an
                                           electronic distribution platform (EDP) within
                                           Australia, and state sales tax as a result of
                                           ‘marketplace laws’ within the United States. For
                                           the purpose of electronically-supplied services,
                                           creators make a supply of those services to us,
                                           and then we supply them to the patron. To learn
                                           more about how we handle transaction taxes,
                                           please check our VAT guide. In locales where
                                           Patreon is required to collect transaction tax from
                                           patrons, pledges processed from patrons will
                                           rehect the tier or custom pledge amount plus the
                                           applicable tax. Applicable tax will not be taken
                                           from a pledge, but rather will be charged in
                                           addition to the pledge. Once settled, the tax
                                           amount will be automatically deducted for
                                           remittance to the applicable taxing authority. A
                                           record of the transaction tax portion of the pledge
                                           will be available on your earnings details page. As
                                           a creator on our site, it is your responsibility to
                                           provide accurate information when you are
                                           engaging with the sales tax weighting tool and,
                                           generally, when listing bene=ts transferred within
                                           your tiers.


https://www.patreon.com/policy/legal                                                                Page 7 of 21
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                                           Restrictions

                                           We don’t allow creations and bene=ts that violate
                                           our policies. You can learn more by visiting
                                           our Community Guidelines and Bene=t Guidelines.
                                           A summary of those rules is that we don’t allow:

                                                 Illegal creations or bene=ts.
                                                 Creations or bene=ts that are abusive
                                                 towards other people.
                                                 Creations or bene=ts that use others’
                                                 intellectual property, unless you have written
                                                 permission to use it, or your use is protected
                                                 by fair use.
                                                 Creations or bene=ts with real people
                                                 engaging in sexual acts.
                                                 Bene=ts that involve rajes or prizes based
                                                 on chance.

                                           If your fans include people under the age of 18,
                                           then please remind them that they need
                                           permission to join your membership, and those
                                           under the age of 13 cannot use Patreon. We are
                                           not required to allow any particular person or
                                           group of persons to be your patron.
                                           As a creator you are also responsible for keeping
                                           patron data safe. You can see what is required in
                                           our Data Processing Agreement. An account is
                                           tied to your creative output and cannot be sold or
                                           transferred for use by another creator.




                                           All about being a patron
                                           To summarize: A patron is someone
https://www.patreon.com/policy/legal                                                                 Page 8 of 21
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                                           who purchases memberships from
                                           Patreon to support their favorite
                                           creators’ creations. Through a paid
                                           membership on Patreon, patrons
                                           directly interact with creators they
                                           support, using tools supplied by
                                           Patreon, and through our platform
                                           have the opportunity to engage with a
                                           greater community of patrons and
                                           creators.
                                           As a patron, you’re joining Patreon to be part of an
                                           exciting movement to support a creator’s
                                           membership while you get special bene=ts, which
                                           may include access to your creator, merchandise
                                           (when oOered), exclusivity, and engaging
                                           experiences with the creator and patron
                                           community. In exchange, you pay Patreon for
                                           membership programs, on a subscription basis, to
                                           access and support creators you like.

                                           The timing and amount of each membership
                                           subscription depends on the type of membership
                                           agreement you enter into, and the creator you
                                           support. You can see the details as you join, as
                                           well as in the receipt sent to you after each
                                           successful payment. You can view all your active
                                           membership subscriptions and billing history on
                                           your membership page.

                                           To become a patron, simply create an account,
                                           add your preferred payment method, and join a
                                           membership program on Patreon to start


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                                           supporting your creator! There are three types of
                                           membership subscriptions. One is a monthly
                                           subscription where you pay per month. The
                                           second is a per creation subscription where you
                                           pay based on the number of creations a creator
                                           posts in that month. You can set a limit on the
                                           number of creations you pay for in a single month
                                           under the per subscription model. The third
                                           membership option is an annual membership,
                                           where you pay for a year of access up front, at a
                                           discounted rate. Not all oOerings allow for all three
                                           subscription types. Your options will be presented
                                           to you in the payment how.

                                           You may cancel your membership payments at
                                           any time. Annual memberships may be cancelled,
                                           or increased, but not lowered. Terminating or
                                           lowering the tier support of membership will go
                                           into eOect in the subsequent (not current)
                                           payment term, except for annual memberships
                                           which can be terminated or increased but not
                                           lowered. Increasing your payment to a higher tier
                                           level in an annual membership will go into eOect in
                                           the current payment term. When you increase
                                           your payment for an annual membership during
                                           the term, you will get a credit for any payment
                                           already made in that term.

                                           For monthly or per creation payments, canceling
                                           your support may result in your loss of access to a
                                           creator’s patron-only posts and bene=ts.

                                           These include when you cancel your membership
                                           subscription, your payment method fails, the
                                           creator blocks you, or the creator deletes their
                                           account. We are not required to allow you to be a


https://www.patreon.com/policy/legal                                                                 Page 10 of 21
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                                           patron of any particular creator.

                                           Creators’ memberships vary and we have limited
                                           control over the quality and speci=c oOerings. We
                                           attempt to screen for fraudulent creator pages,
                                           but cannot guarantee the identity of creators or
                                           the validity of any claims they make. We
                                           appreciate your help reporting suspicious creator
                                           pages so we can keep Patreon safe.

                                           If you are located in the jurisdiction in which
                                           Patreon is required to charge and collect tax (e.g.
                                           VAT or, sales tax), then this tax is added to the total
                                           charge. Except in limited circumstances, this tax is
                                           shown when you set up the initial membership
                                           subscription. Patreon remits all tax collected to
                                           the applicable taxing authority. As tax is largely
                                           dependent on your location, you are responsible
                                           for keeping your address complete and up to date.

                                           Depending on your location, some banks may
                                           charge you a foreign transaction fee for your
                                           membership subscription. Patreon does not
                                           control this charge, but it is typically around 3% .
                                           Please contact your bank for more information.

                                           Refunds. Our policy is No Refunds, though we will
                                           allow for some exceptions where refunds are
                                           granted in our sole discretion.




                                           Patreon's role
                                           To summarize: We proactively look at

                                           some pages and posts on Patreon
https://www.patreon.com/policy/legal                                                                   Page 11 of 21
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                                           some pages and posts on Patreon
                                           and review reported pages to identify
                                           potential violations of our guidelines.
                                           We proactively look at some pages and posts on
                                           Patreon to make sure creators follow
                                           our Community Guidelines and Bene=t Guidelines.
                                           We also investigate reports of potential violations.
                                           These investigations may take a while to resolve
                                           and may include looking at what is supported by
                                           funds received through Patreon.

                                           In most situations we will work with creators to
                                           resolve any potential violations and allow the
                                           creator to continue using Patreon. Terminating
                                           accounts is not an action we take lightly and is
                                           done in only the most extreme cases.

                                           Patreon reserves the right to remove a creator or
                                           patron from participating in annual memberships.
                                           Removal of the creator or patron from
                                           participation in annual memberships will prohibit
                                           the creator from accepting new annual payments,
                                           and prohibit the patron from making new annual
                                           payments, but will not result in an automatic
                                           removal of the creator or patron from the platform,
                                           unless there is an independent basis for their
                                           removal from the platform.

                                           Please let us know if you see potential violations
                                           of our Community Guidelines. You can learn how
                                           to report them here.

                                           As a global company based in the United States
                                           with operations in other countries, we must
                                           comply with economic sanctions and trade

                                           restrictions, including those implemented by the
https://www.patreon.com/policy/legal                                                                Page 12 of 21
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                                           Once of Foreign Assets Control (“OFAC”) of the
                                           U.S. Department of the Treasury. This means that
                                           Patreon cannot take part in transactions that
                                           involve designated people, places, or items that
                                           originate from those places, as determined by
                                           agencies like OFAC. You can read our Sanctions
                                           Policy here.

                                           We are constantly testing out new features with
                                           the goal of making Patreon better. We may add or
                                           remove features, and often test features with a
                                           random subset of our community. If we believe a
                                           feature is signi=cantly diOerent from these terms,
                                           then we explain those diOerences in the test.

                                           With your permission, we may give other websites
                                           or services the ability to verify information about
                                           your Patreon account or perform actions on your
                                           behalf. This permission is asked for when you
                                           connect your Patreon account to these other
                                           websites or services. You can learn more in
                                           our Privacy Policy.




                                           Account deletion
                                           To summarize: You can delete your
                                           account here. We can disable your
                                           account at our discretion.
                                           You can permanently delete your account at any
                                           time by going to our Privacy Center. On that page
                                           you can also see what information is deleted and

                                           what we continue to store after the account is
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                                           deleted. We can terminate or suspend your
                                           account at any time at our discretion. We can also
                                           cancel any membership subscriptions and remove
                                           any descriptions, posts or bene=ts at our
                                           discretion. You may not bring a claim against us
                                           for suspending or terminating another person’s
                                           account, and you agree you will not bring such a
                                           claim. If you try to bring such a claim, you are
                                           responsible for the damages caused, including
                                           attorneys fees and costs. These terms remain in
                                           eOect even if you no longer have an account.




                                           Your creations
                                           To summarize: You keep complete
                                           ownership of all creations, but you
                                           give us permission to use them on
                                           Patreon. Make sure you have
                                           permission to use creations that you
                                           oGer on Patreon.
                                           You keep full ownership of all creations that you
                                           oOer on Patreon, but we need licenses from you to
                                           operate Patreon eOectively. By posting creations
                                           on Patreon you grant us a royalty-free, perpetual,
                                           irrevocable, non-exclusive, sublicensable,
                                           worldwide license to use, reproduce, distribute,
                                           perform, publicly display or prepare derivative
                                           works of your creation. The purpose of this license
                                           is strictly limited to allow us to provide and

                                           promote memberships to your patrons. We will
                                           never try to steal your creations or use them in an
https://www.patreon.com/policy/legal                                                               Page 14 of 21
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                                           never try to steal your creations or use them in an
                                           exploitative way. You may not post creations that
                                           infringe others’ intellectual property or proprietary
                                           rights. We may ask you for consent veri=cation for
                                           collaborators depicted in content funded through
                                           Patreon. Patrons may not use creations posted by
                                           creators in any way not authorized by the creator.




                                           Your third-party apps
                                           To summarize: You may grant Patreon
                                           permission to access third-party
                                           apps. You may also revoke that
                                           permission.
                                           You may grant Patreon access to your third-party
                                           accounts, such as Google, YouTube, Facebook,
                                           Instagram, Twitter, and Twitch, in order for some
                                           Patreon features to operate. Each time you
                                           connect your third-party account, that third-party
                                           account will present a page that describes the
                                           information that Patreon can access. At any time,
                                           you can revoke Patreon’s access to those
                                           accounts using the respective third party’s
                                           security settings page. These are the links for
                                           each service:
                                                     Terms of     Privacy    Revoke Patreon’s
                                           Google
                                                     Service      Policy     Access
                                                     Terms of     Privacy    Revoke Patreon’s
                                           YouTube
                                                     Service      Policy     Access
                                                     Terms of     Privacy    Revoke Patreon’s

                                           Facebook Service       Policy     Access
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                                                       Service     Policy    Access

                                                       Terms of    Privacy   Revoke Patreon’s
                                           Instagram
                                                       Service     Policy    Access
                                                       Terms of    Privacy   Revoke Patreon’s
                                           Twitter
                                                       Service     Policy    Access
                                                       Terms of    Privacy   Revoke Patreon’s
                                           Twitch
                                                       Service     Policy    Access




                                           Patreon's creations
                                           To summarize: You can use our
                                           copyrights or trademarks to promote
                                           your Patreon page, but can’t use them
                                           for anything else without our
                                           permission.
                                           Our creations are protected by copyright,
                                           trademark and trade secret laws. Some examples
                                           of our creations are the text on the site, our logo,
                                           and our codebase. We grant you a license to use
                                           our logo and other copyrights or trademarks to
                                           promote your Patreon page. You can learn more
                                           about the correct use of our logo in our Brand
                                           Guidelines. You may not otherwise use, reproduce,
                                           distribute, perform, publicly display or prepare
                                           derivative works of our creations unless we give
                                           you permission in writing. Please ask if you have
                                           any questions.




                                           Indemnity
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                                           Indemnity
                                           To summarize: If we are sued because
                                           of your use of or conduct on Patreon,
                                           you have to help pay for it.
                                           You will indemnify us from all losses and liabilities,
                                           including legal fees, that arise from these terms or
                                           relate to your use of Patreon. We reserve the right
                                           to exclusive control over the defense of a claim
                                           covered by this clause. If we use this right then
                                           you will help us in our defense. Your obligation to
                                           indemnify under this clause also applies to our
                                           subsidiaries, anliates, oncers, directors,
                                           employees, agents and third party service
                                           providers.




                                           Warranty disclaimer
                                           To summarize: We do our best to
                                           make sure Patreon works as
                                           expected, but stuG happens.
                                           Patreon is provided “as is” and without warranty
                                           of any kind. Any warranty of merchantability,
                                           Etness for a particular purpose, non-
                                           infringement, and any other warranty is
                                           excluded to the greatest extent permitted by
                                           law. The disclaimers of warranty under this
                                           clause also apply to our subsidiaries, aIliates
                                           and third party service providers.




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                                           Limit of liability
                                           To summarize: If you lose money as a
                                           result of using Patreon, any payment
                                           to you is limited to the amount of
                                           money we have earned through your
                                           use of Patreon.
                                           To the extent permitted by law, we are not liable
                                           to you for any incidental, consequential or
                                           punitive damages arising out of these terms, or
                                           your use or attempted use of Patreon. To the
                                           extent permitted by law, our liability for
                                           damages is limited to the amount of money we
                                           have earned through your use of Patreon. We
                                           are speciEcally not liable for loss associated
                                           with unfulElled beneEts and from losses caused
                                           by conKicting contractual agreements. For this
                                           clause “we” and “our” is deEned to include our
                                           subsidiaries, aIliates, oIcers, directors,
                                           employees, agents and third party service
                                           providers.




                                           Dispute resolution
                                           To summarize: If you have a problem
                                           please talk to us. Any disputes with us
                                           must be resolved in San Francisco
                                           under California law.

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                                           We encourage you to contact us if you have an
                                           issue. If a dispute does arise out of these terms or
                                           in relation to your use of Patreon, then the dispute
                                           will be resolved in the federal or state courts
                                           located in San Francisco, California. Both parties
                                           consent to the exclusive jurisdiction and venue of
                                           the San Francisco courts for the purpose of
                                           resolving any such dispute. California law,
                                           excluding its conhict of law provisions, governs
                                           these terms, all other Patreon policies, and any
                                           dispute that arises between you and Patreon.




                                           Everything else
                                           To summarize: These terms are the
                                           Mnal word on Patreon’s policies and
                                           we will tell you if we change them.
                                           These terms and any referenced policies are the
                                           entire agreement between you and us, and
                                           supersede all prior agreements. If any provision of
                                           these terms is held to be unenforceable, then that
                                           provision is modi=ed to the extent necessary to
                                           enforce it. If a provision cannot be modi=ed, it is
                                           severed from these terms, and all other provisions
                                           remain in force. If either party fails to enforce a
                                           right provided by these terms, it does not waive
                                           the ability to enforce any rights in the future. We
                                           may sometimes make changes to these terms and
                                           policies. If we make material changes that
                                           adversely aOect your rights, then we will let you
                                           know before the changes come into eOect.
                                           Continuing to use Patreon after a change means
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                                           Continuing to use Patreon after a change means
                                           you accept the new terms or policies. These terms
                                           are an agreement with Patreon, Inc., 600
                                           Townsend Street Suite 500, San Francisco, CA. If
                                           you use accessibility tools and have questions or
                                           concerns, please contact us
                                           at accessibility@patreon.com. EOective
                                           immediately for users on Patreon from October
                                           15th, 2021 You can =nd the old terms of use here.




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                                             P RODUCT        F O R C R E ATORS   R E S O URC E S   CO M PANY


    Language:                                Lite            Podcasters          Blog              About
       English
                                             Pro             Video Creators      Patreon U         Press
       (United
                                             Premium         Musicians           Creator           Careers
       States)                                                                   Community
                                             Pricing         Visual Artists                        Privacy
                                                             Writers &           Help Center &     Policy & Terms
         United                                              Journalists         FAQ
                                                                                                   Privacy
        States                                               Communities         App Directory     Preferences
                                                             Gaming              Developers        Accessibility
     Currency:                                               Creators                              Impressum
       USD Privacy
      Your                                                   Nonpro<ts
                                                             Tutorials and
       Patreon determines the use of personal data           Education
       collected on our media properties and across the
                                                             Local
       internet. We may collect data that you submit to
                                                             Businesses
       us directly or data that we collect automatically
       including from cookies (such as device                Creators-of-all-
       information or IP address). Please read our           kinds
       Privacy Policy to learn about our privacy practices
       or click "Your Preferences" to exercise control
       over your data.


© Patreon         Sitemap           Accept

600 Townsend Street, Suite 500
San Francisco, CA 94103
                    Your Preferences
USA
Phone: +1 (833) 972-8766




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       EXHIBIT 2
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        Product        For creators        Pricing   Resources   Starter kits                                                        Find a creator                  Log in     Create on Patreon



                  We use cookies to improve your experience using this site. More information                                                                                 Accept




                                                                      Terms of use
                                                                      Patreon is a membership platform that enables creators to be paid by their fans.
                                                                      One of our core behaviors is to put creators Irst, and these terms attempt to do
                                                                      that. We know that most people skim through terms of use because they're boring,
                                                                      but we have done everything we can to make this easy to get through. Above every
                                                                      section we’ll summarize the most important parts, but these summaries are not
                                                                      legally binding, so please look at the full version of the text if you have questions.




                      TOPICS                                          Welcome to Patreon!
                      Welcome to Patreon!
                                                                      TLDR: By using Patreon you agree to these terms.
                      Your account
                                                                      These are Patreon’s terms of use, and they apply to all users of the Patreon
                      Abusive conduct
                                                                      platform. “We,” “our” or “us” refers to Patreon Inc. and our subsidiaries. “Patreon”
                      All about being a creator                       refers to this platform and the services oQered by us.
                      All about being a patron                        By using Patreon you agree to these terms and to the other policies we post.
                      Patreon’s role                                  Please read them carefully and let us know if you have any questions. For
                                                                      information about our data practices, please see our Privacy Policy, including our
                      Account deletion
                                                                      Cookie Policy. We can collect and use your information in accordance with those
                      Your creations                                  policies.
                      Your third-party apps

                      Patreon’s creations

                      Indemnity

                      Warranty disclaimer                             Your account
                      Limit of liability
                                                                      TLDR: You must be at least 13 years old to register for an
                      Dispute resolution
                                                                      account. You are responsible for your account.
                      Governing law
                                                                      When you create an account you must provide us with accurate information, in
                      Everything else
                                                                      good faith, and you agree to keep your information updated if it changes.

                                                                      To create an account you must be at least 13 years old. To join a creator’s
                      Back to Policy
                                                                      membership as a patron, or provide a membership as a creator, you must be at
                                                                      least 18 years old or have your parent’s permission.

                                                                      You are responsible for anything that occurs when anyone is signed in to your
                                                                      account, as well as the security of the account. Please contact us immediately if
                                                                      you believe your account is compromised. You can learn more about security on
                                                                      our Security Policy page.




                                                                      Abusive conduct
                                                                      TLDR: Be responsible and don’t violate our policies.
                                                                      You are responsible for all activity on your account. If you violate our policies we
                                                                      may terminate your account.

                                                                      Don’t do anything illegal, abusive towards others, or that abuses our site in a
                                                                      technical way. If you are a creator raising funds on Patreon, we may be held
                                                                      accountable for what you do with those funds. As a result, we also look at what you
                                                                      do with your membership oQ our platform.

                                                                      You can Ind more detailed information in the Community Guidelines and Security
                                                                      Policy. These policies cover most issues, but if you Ind a new and creative way to
                                                                      hurt Patreon or our community we may take action to prevent it.




                                                                      All about being a creator
                                                                      TLDR: A creator is someone who oDers membership to
                                                                      patrons on Patreon. There are a lot of details here involving
                                                                      payments, fees, taxes and restrictions that you should read in
                                                                      full if you are a creator.

                                                                      Membership

                                                                      To become a creator simply launch your page to start your membership.
                                                                      Memberships are for your most passionate fans. You’re inviting them to be part of
                                                                      something exciting that gives them unique beneIts they want, like additional
                                                                      access, merchandise, exclusivity, and engaging experiences. In exchange, patrons
                                                                      pay on a subscription basis.


                                                                      Payments

                                                                      As a creator you make your membership available on Patreon, and we provide
                                                                      membership to your patrons on a subscription basis. We also handle payments
                                                                      issues such as fraud, chargebacks and resolution of payments disputes.

                                                                      We try to provide timely access to your funds, but you may occasionally
                                                                      experience delays in accessing your funds. We may also block or hold payments
                                                                      for violations of our policies or for compliance reasons, including collecting tax
                                                                      reporting information. When payments are delayed or blocked we try to
                                                                      communicate the reason to you promptly. If you have questions about a payments
                                                                      block, please reach out to us. In order to protect creators, we may block patrons’
                                                                      payments if we believe them to be fraudulent.

                                                                      Sometimes activities like refunds can put your account balance into the negative. If
                                                                      your balance becomes negative then we reserve the right to recover those funds
                                                                      from future payments.


                                                                      Fees

                                                                      As a creator there are two fees associated with your membership on Patreon. The
                                                                      Irst is the platform fee, which varies depending on the level of service you select.
                                                                      The second is the payment processing fee, which is dependent on the currency
                                                                      selected by the creator.


                                                                               The payment processing fee in U.S. Dollars is 2.9% plus $0.30 per successful
                                                                               pledge for pledges over $3, and 5% plus $0.10 per successful pledge for
                                                                               pledges of $3 or less. PayPal payments from non-US patrons have an
                                                                               additional 1% fee. Founding creators have a legacy platform fee and the
                                                                               legacy payment processing rate. The legacy payment processing rate varies
                                                                               depending on a number of factors, including the membership subscription
                                                                               amount, card type and number of other memberships joined by a patron.
                                                                               The payment processing fee in Euros is 3.4% plus €0.35 per successful
                                                                               pledge for pledges over €3, and 5% plus €0.15 per successful pledge for
                                                                               pledges of €3 or less.
                                                                               The payment processing fee in British Pounds is 3.4% plus £0.35 per
                                                                               successful pledge for pledges over £3, and 5% plus £0.15 per successful
                                                                               pledge for pledges of £3 or less.


                                                                      You can see how much processing fees are for any membership subscription on
                                                                      your creator dashboard.

                                                                      Depending on your patrons’ locations, some banks may charge your patron a
                                                                      foreign transaction fee for their membership subscription. Patreon does not
                                                                      control this charge, but it is typically around 3%.


                                                                      Tax

                                                                      We collect tax identiIcation information and report this to tax authorities as legally
                                                                      required. You are responsible for reporting any income or withholding taxes which
                                                                      may be due as a result of payments received. You can learn more in our Tax Help
                                                                      Center.

                                                                      We are additionally responsible for a number of transactional taxes across the
                                                                      world. These include but are not limited to VAT on payments for electronically
                                                                      supplied services to patrons in the EU, GST as an operator of an electronic
                                                                      distribution platform (EDP) within Australia, and state sales tax as a result of
                                                                      ‘marketplace laws’ within the United States. For the purpose of electronically-
                                                                      supplied services, creators make a supply of those services to us, and then we
                                                                      supply them to the patron. To learn more about how we handle transaction taxes,
                                                                      please check our VAT guide.

                                                                      In locales where Patreon is required to collect transaction tax from patrons,
                                                                      pledges processed from patrons will regect the tier or custom pledge amount plus
                                                                      the applicable tax. Applicable tax will not be taken from a pledge, but rather will be
                                                                      charged in addition to the pledge. Once settled, the tax amount will be
                                                                      automatically deducted for remittance to the applicable taxing authority. A record
                                                                      of the transaction tax portion of the pledge will be available on your earnings
                                                                      details page.

                                                                      As a creator on our site, it is your responsibility to provide accurate information
                                                                      when you are engaging with the sales tax weighting tool and, generally, when listing
                                                                      beneIts transferred within your tiers.


                                                                      Restrictions

                                                                      We don’t allow creations and beneIts that violate our policies. You can learn more
                                                                      by visiting our Community Guidelines and BeneIt Guidelines. A summary of those
                                                                      rules is that we don’t allow:


                                                                               Illegal creations or beneIts.
                                                                               Creations or beneIts that are abusive towards other people.
                                                                               Creations or beneIts that use others' intellectual property, unless you have
                                                                               written permission to use it, or your use is protected by fair use.
                                                                               Creations or beneIts with real people engaging in sexual acts.
                                                                               BeneIts that involve raies or prizes based on chance.


                                                                      If your fans include people under the age of 18, then please remind them that they
                                                                      need permission to join your membership, and those under the age of 13 cannot
                                                                      use Patreon. We are not required to allow any particular person or group of
                                                                      persons to be your patron.

                                                                      As a creator you are also responsible for keeping patron data safe. You can see
                                                                      what is required in our Data Processing Agreement.

                                                                      An account is tied to your creative output and cannot be sold or transferred for
                                                                      use by another creator.




                                                                      All about being a patron
                                                                      TLDR: A patron is someone who joins a creator’s membership
                                                                      on Patreon. Depending on the creator’s preference, you will
                                                                      be charged either a set amount per month or per creation. You
                                                                      can cancel your membership subscription at any time.
                                                                      To become a patron simply create an account, add your preferred payment
                                                                      method and join a creator’s membership!

                                                                      There are three types of membership subscriptions. One is a monthly subscription
                                                                      where you pay per month. The second is a per creation subscription where you pay
                                                                      based on the number of creations a creator posts in that month. You can set a limit
                                                                      on the number of creations you pay for in a single month under the per
                                                                      subscription model. The third membership option is an annual membership, where
                                                                      you pay for a year of access up front, at a discounted rate. Not all oQerings allow
                                                                      for all three subscription types. Your options will be presented to you in the
                                                                      payment gow.

                                                                      The timing and amount of each membership subscription depends on the type of
                                                                      membership agreement you enter into, and the creator you support. You can see
                                                                      the details as you join, as well as in the receipt sent to you after each successful
                                                                      payment. You can view all your active membership subscriptions and billing history
                                                                      on your membership page.

                                                                      You may cancel or lower the annual membership payments at any time.
                                                                      Terminating or lowering the tier support of an annual membership will go into
                                                                      eQect in the subsequent (not current) payment term. Increasing your payment to a
                                                                      higher tier level in an annual membership will go into eQect in the current payment
                                                                      term. When you increase your payment for an annual membership during the term,
                                                                      you will get a credit for any payment already made in that term.

                                                                      For monthly or per creation payments, canceling your support may result in your
                                                                      loss of access to a creator’s patron-only posts and beneIts.

                                                                      These include when you cancel your membership subscription, your payment
                                                                      method fails, the creator blocks you, or the creator deletes their account. We are
                                                                      not required to allow you to be a patron of any particular creator.

                                                                      Creators’ memberships vary and we have limited control over the quality and
                                                                      speciIc oQerings. We attempt to screen for fraudulent creator pages, but cannot
                                                                      guarantee the identity of creators or the validity of any claims they make. We
                                                                      appreciate your help reporting suspicious creator pages so we can keep Patreon
                                                                      safe.

                                                                      If you are located in the jurisdiction in which Patreon is required to charge and
                                                                      collect tax (e.g. VAT or, sales tax), then this tax is added to the total charge. Except
                                                                      in limited circumstances, this tax is shown when you set up the initial membership
                                                                      subscription. Patreon remits all tax collected to the applicable taxing authority. As
                                                                      tax is largely dependant on your location, you are responsible for keeping your
                                                                      address complete and up to date.

                                                                      Depending on your location, some banks may charge you a foreign transaction fee
                                                                      for your membership subscription. Patreon does not control this charge, but it is
                                                                      typically around 3%. Please contact your bank for more information.

                                                                      Refunds. Our policy is No Refunds, though we will allow for some exceptions where
                                                                      refunds are granted in our sole discretion.




                                                                      Patreon’s role
                                                                      TLDR: We proactively look at some pages and posts on
                                                                      Patreon and review reported pages to identify potential
                                                                      violations of our guidelines.
                                                                      We proactively look at some pages and posts on Patreon to make sure creators
                                                                      follow our Community Guidelines and BeneIt Guidelines. We also investigate
                                                                      reports of potential violations. These investigations may take a while to resolve
                                                                      and may include looking at what is supported by funds received through Patreon.

                                                                      In most situations we will work with creators to resolve any potential violations and
                                                                      allow the creator to continue using Patreon. Terminating accounts is not an action
                                                                      we take lightly and is done in only the most extreme cases.

                                                                      Please let us know if you see potential violations of our Community Guidelines. You
                                                                      can learn how to report them here.

                                                                      As a global company based in the United States with operations in other countries,
                                                                      we must comply with economic sanctions and trade restrictions, including those
                                                                      implemented by the Omce of Foreign Assets Control ("OFAC") of the U.S.
                                                                      Department of the Treasury. This means that Patreon cannot take part in
                                                                      transactions that involve designated people, places, or items that originate from
                                                                      those places, as determined by agencies like OFAC. You can read our Sanctions
                                                                      Policy here.

                                                                      We are constantly testing out new features with the goal of making Patreon better.
                                                                      We may add or remove features, and often test features with a random subset of
                                                                      our community. If we believe a feature is signiIcantly diQerent from these terms,
                                                                      then we explain those diQerences in the test.

                                                                      With your permission, we may give other websites or services the ability to verify
                                                                      information about your Patreon account or perform actions on your behalf. This
                                                                      permission is asked for when you connect your Patreon account to these other
                                                                      websites or services. You can learn more in our Privacy Policy.




                                                                      Account deletion
                                                                      TLDR: You can delete your account here. We can disable your
                                                                      account at our discretion.
                                                                      You can permanently delete your account at any time by going to our Privacy
                                                                      Center. On that page you can also see what information is deleted and what we
                                                                      continue to store after the account is deleted.

                                                                      We can terminate or suspend your account at any time at our discretion. We can
                                                                      also cancel any membership subscriptions and remove any descriptions, posts or
                                                                      beneIts at our discretion.

                                                                      You may not bring a claim against us for suspending or terminating another
                                                                      person’s account, and you agree you will not bring such a claim. If you try to bring
                                                                      such a claim, you are responsible for the damages caused, including attorneys
                                                                      fees and costs.

                                                                      These terms remain in eQect even if you no longer have an account.




                                                                      Your creations
                                                                      TLDR: You keep complete ownership of all creations, but you
                                                                      give us permission to use them on Patreon. Make sure you
                                                                      have permission to use creations that you oDer on Patreon.
                                                                      You keep full ownership of all creations that you oQer on Patreon, but we need
                                                                      licenses from you to operate Patreon eQectively.

                                                                      By posting creations on Patreon you grant us a royalty-free, perpetual, irrevocable,
                                                                      non-exclusive, sublicensable, worldwide license to use, reproduce, distribute,
                                                                      perform, publicly display or prepare derivative works of your creation. The purpose
                                                                      of this license is strictly limited to allow us to provide and promote memberships to
                                                                      your patrons. We will never try to steal your creations or use them in an exploitative
                                                                      way.

                                                                      You may not post creations that infringe others' intellectual property or proprietary
                                                                      rights.

                                                                      Patrons may not use creations posted by creators in any way not authorized by the
                                                                      creator.




                                                                      Your third-party apps
                                                                      TLDR: You may grant Patreon permission to access third-
                                                                      party apps. You may also revoke that permission.
                                                                      You may grant Patreon access to your third-party accounts, such as Google,
                                                                      YouTube, Facebook, Instagram, Twitter, and Twitch, in order for some Patreon
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                                                                      access.

                                                                      At any time, you can revoke Patreon’s access to those accounts using the
                                                                      respective third party’s security settings page.

                                                                      These are the links for each service:

                                                                      Google          Terms of Service         Privacy Policy        Revoke Patreon's Access
                                                                      YouTube         Terms of Service         Privacy Policy        Revoke Patreon's Access
                                                                      Facebook        Terms of Service         Privacy Policy        Revoke Patreon's Access
                                                                      Instagram       Terms of Service         Privacy Policy        Revoke Patreon's Access
                                                                      Twitter         Terms of Service         Privacy Policy        Revoke Patreon's Access
                                                                      Twitch          Terms of Service         Privacy Policy        Revoke Patreon's Access




                                                                      Patreon’s creations
                                                                      TLDR: You can use our copyrights or trademarks to promote
                                                                      your Patreon page, but can’t use them for anything else
                                                                      without our permission.
                                                                      Our creations are protected by copyright, trademark and trade secret laws. Some
                                                                      examples of our creations are the text on the site, our logo, and our codebase. We
                                                                      grant you a license to use our logo and other copyrights or trademarks to promote
                                                                      your Patreon page. You can learn more about the correct use of our logo in our
                                                                      Brand Guidelines.

                                                                      You may not otherwise use, reproduce, distribute, perform, publicly display or
                                                                      prepare derivative works of our creations unless we give you permission in writing.
                                                                      Please ask if you have any questions.




                                                                      Indemnity
                                                                      TLDR: If we are sued because of your use of or conduct on
                                                                      Patreon, you have to help pay for it.
                                                                      You will indemnify us from all losses and liabilities, including legal fees, that arise
                                                                      from these terms or relate to your use of Patreon. We reserve the right to exclusive
                                                                      control over the defense of a claim covered by this clause. If we use this right then
                                                                      you will help us in our defense.

                                                                      Your obligation to indemnify under this clause also applies to our subsidiaries,
                                                                      amliates, omcers, directors, employees, agents and third party service providers.




                                                                      Warranty disclaimer
                                                                      TLDR: We do our best to make sure Patreon works as
                                                                      expected, but stuD happens.
                                                                      Patreon is provided “as is” and without warranty of any kind. Any warranty of
                                                                      merchantability, Ktness for a particular purpose, non-infringement, and any
                                                                      other warranty is excluded to the greatest extent permitted by law.

                                                                      The disclaimers of warranty under this clause also apply to our subsidiaries,
                                                                      aMliates and third party service providers.




                                                                      Limit of liability
                                                                      TLDR: If you lose money as a result of using Patreon, any
                                                                      payment to you is limited to the amount of money we have
                                                                      earned through your use of Patreon.
                                                                      To the extent permitted by law, we are not liable to you for any incidental,
                                                                      consequential or punitive damages arising out of these terms, or your use or
                                                                      attempted use of Patreon. To the extent permitted by law, our liability for
                                                                      damages is limited to the amount of money we have earned through your use
                                                                      of Patreon. We are speciKcally not liable for loss associated with unfulKlled
                                                                      beneKts and from losses caused by conOicting contractual agreements.

                                                                      For this clause “we” and “our” is deKned to include our subsidiaries, aMliates,
                                                                      oMcers, directors, employees, agents and third party service providers.




                                                                      Dispute resolution
                                                                      TLDR: If you have a problem please talk to us, but you are
                                                                      limited in how you can resolve disputes. You waive your right
                                                                      to trial by jury and your right to participate in a class action
                                                                      proceeding.
                                                                      We encourage you to contact us if you have an issue. If a dispute does arise out of
                                                                      these terms or related to your use of Patreon, and it cannot be resolved after you
                                                                      talk with us, then it must be resolved by arbitration. This arbitration must be
                                                                      administered by JAMS under the JAMS Streamlined Arbitration Rules and
                                                                      Procedures, except as expressly provided below. Judgment on the arbitration may
                                                                      be entered in any court with jurisdiction. Arbitrations may only take place on an
                                                                      individual basis. No class arbitrations or other other grouping of parties is allowed.
                                                                      By agreeing to these terms you are waiving your right to trial by jury or to
                                                                      participate in a class action or representative proceeding; we are also waiving
                                                                      these rights.

                                                                      For creators and patrons who are consumers, we also follow the JAMS Policy on
                                                                      Consumer Arbitrations Pursuant to Pre-Dispute Clauses Minimum Standards of
                                                                      Procedural Fairness for consumer arbitrations done under these terms. For the
                                                                      purpose of an arbitration subject to the consumer standards, if any portion of
                                                                      these terms do not follow that standard, that portion is severed from these terms.

                                                                      This clause does not limit either party’s ability to Ile an action in a court with
                                                                      jurisdiction to seek injunctive or other equitable relief for disputes relating to
                                                                      intellectual property, proprietary data or to enforce this dispute resolution clause,
                                                                      including your agreement not to assert claims related to the suspension or
                                                                      termination of another person’s account. In any such action, the court rather than
                                                                      an arbitrator must decide whether such a claim is arbitrable and must decide
                                                                      whether the party is entitled to the requested injunctive or other equitable relief.




                                                                      Governing law
                                                                      TLDR: Any disputes with us must be resolved in San Francisco
                                                                      under California law.
                                                                      California law, excluding its congict of law provisions, governs these terms and all
                                                                      other Patreon policies. If a lawsuit does arise, both parties consent to the exclusive
                                                                      jurisdiction and venue of the courts located in San Francisco, California.




                                                                      Everything else
                                                                      TLDR: These terms are the Pnal word on Patreon’s policies
                                                                      and we will tell you if we change them.
                                                                      These terms and any referenced policies are the entire agreement between you
                                                                      and us, and supersede all prior agreements. If any provision of these terms is held
                                                                      to be unenforceable, then that provision is modiIed to the extent necessary to
                                                                      enforce it. If a provision cannot be modiIed, it is severed from these terms, and all
                                                                      other provisions remain in force. If either party fails to enforce a right provided by
                                                                      these terms, it does not waive the ability to enforce any rights in the future.

                                                                      We may sometimes make changes to these terms and policies. If we make material
                                                                      changes that adversely aQect your rights, then we will let you know before the
                                                                      changes come into eQect. Continuing to use Patreon after a change means you
                                                                      accept the new terms or policies.

                                                                      If you are not in the European Union, then these terms are an agreement with
                                                                      Patreon, Inc., 600 Townsend Street Suite 500, San Francisco, CA. If you are located
                                                                      in the EU, then these terms are an agreement with Patreon Ireland Limited, Suite 3,
                                                                      One Earlsfort Centre, Lower Hatch Street, Dublin 2L, Ireland.

                                                                      If you use accessibility tools and have questions or concerns, please contact us at
                                                                      accessibility@patreon.com.

                                                                      EQective immediately for users on Patreon from July 1, 2020. You can Ind the old
                                                                      terms of use here.




                                                                     PRODUCT                       FOR CRE ATORS                RESOURCES                COMPANY


                     Language: English                               Lite                          Podcasters                   Blog                     About
                                                                     Pro                           Video Creators               Patreon U                Press
                         United States                               Premium                       Musicians                    Help Center & FAQ        Careers
                                                                     Pricing                       Visual Artists               App Directory            Privacy

                     Currency: USD                                                                 Writers & Journalists        Developers               Policy & Terms
                                                                                                   Communities                                           Accessibility
                                                                                                   Gaming Creators                                       Impressum
                                                                                                   Nonpro<ts
                                                                                                   Tutorials and Education
                                                                                                   Local Businesses
                                                                                                   Creators-of-all-kinds




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                   San Francisco, CA 94103
                   USA
                   Phone: +1 (833) 972-8766
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       EXHIBIT 3
Skip navigation                                                   Case 3:22-cv-03131-JCS Document 23 Filed 08/05/22 Page 34 of 134
        Product      For creators          Pricing   Resources   Starter kits                                                         Find a creator                     Log in      Create on Patreon



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                      TOPICS
                         cookies to improve your experience using this site. More information                                                                                     Accept

                      Welcome to Patreon!

                      Your account

                      Abusive conduct

                      All about being a creator

                      All about being a patron                         Terms of use
                      Patreon’s role
                                                                       Patreon is a membership platform that enables creators to be paid by their fans.
                      Account deletion
                                                                       One of our core behaviors is to put creators >rst, and these terms attempt to do
                      Your creations                                   that. We know that most people skim through terms of use because they're boring,
                      Your third-party apps                            but we have done everything we can to make this easy to get through. Above every
                                                                       section we’ll summarize the most important parts, but these summaries are not
                      Patreon’s creations
                                                                       legally binding, so please look at the full version of the text if you have questions.
                      Indemnity

                      Warranty disclaimer

                      Limit of liability

                      Dispute resolution

                      Governing law

                      Everything else


                      Back to Policy



                                                                       Welcome to Patreon!
                                                                       TLDR: By using Patreon you agree to these terms.
                                                                       These are Patreon’s terms of use, and they apply to all users of the Patreon
                                                                       platform. “We,” “our” or “us” refers to Patreon Inc. and our subsidiaries. “Patreon”
                                                                       refers to this platform and the services oJered by us.

                                                                       By using Patreon you agree to these terms and to the other policies we post.
                                                                       Please read them carefully and let us know if you have any questions. For
                                                                       information about our data practices, please see our Privacy Policy, including our
                                                                       Cookie Policy. We can collect and use your information in accordance with those
                                                                       policies.




                                                                       Your account
                                                                       TLDR: You must be at least 13 years old to register for an
                                                                       account. You are responsible for your account.
                                                                       When you create an account you must provide us with accurate information.

                                                                       To create an account you must be at least 13 years old. To join a creator’s
                                                                       membership as a patron, or provide a membership as a creator, you must be at
                                                                       least 18 years old or have your parent’s permission.

                                                                       You are responsible for anything that occurs when anyone is signed in to your
                                                                       account, as well as the security of the account. Please contact us immediately if
                                                                       you believe your account is compromised. You can learn more about security on
                                                                       our Security Policy page.




                                                                       Abusive conduct
                                                                       TLDR: Be responsible and don’t violate our policies.
                                                                       You are responsible for all activity on your account. If you violate our policies we
                                                                       may terminate your account.

                                                                       Don’t do anything illegal, abusive towards others, or that abuses our site in a
                                                                       technical way. If you are a creator raising funds on Patreon, we may be held
                                                                       accountable for what you do with those funds. As a result, we also look at what you
                                                                       do with your membership oJ our platform.

                                                                       You can >nd more detailed information in the Community Guidelines and Security
                                                                       Policy. These policies cover most issues, but if you >nd a new and creative way to
                                                                       hurt Patreon or our community we may take action to prevent it.




                                                                       All about being a creator
                                                                       TLDR: A creator is someone who oDers membership to
                                                                       patrons on Patreon. There are a lot of details here involving
                                                                       payments, fees, taxes and restrictions that you should read in
                                                                       full if you are a creator.

                                                                       Membership

                                                                       To become a creator simply launch your page to start your membership.
                                                                       Memberships are for your most passionate fans. You’re inviting them to be part of
                                                                       something exciting that gives them unique bene>ts they want, like additional
                                                                       access, merchandise, exclusivity, and engaging experiences. In exchange, patrons
                                                                       pay on a subscription basis.


                                                                       Payments

                                                                       As a creator you make your membership available on Patreon, and we provide
                                                                       membership to your patrons on a subscription basis. We also handle payments
                                                                       issues such as fraud, chargebacks and resolution of payments disputes.

                                                                       We try to provide timely access to your funds, but you may occasionally
                                                                       experience delays in accessing your funds. We may also block or hold payments
                                                                       for violations of our policies or for compliance reasons, including collecting tax
                                                                       reporting information. When payments are delayed or blocked we try to
                                                                       communicate the reason to you promptly. If you have questions about a payments
                                                                       block, please reach out to us. In order to protect creators, we may block patrons’
                                                                       payments if we believe them to be fraudulent.

                                                                       Sometimes activities like refunds can put your account balance into the negative. If
                                                                       your balance becomes negative then we may recover those funds from future
                                                                       payments.


                                                                       Fees

                                                                       As a creator there are two fees associated with your membership on Patreon. The
                                                                       >rst is the platform fee, which varies depending on the level of service you select.
                                                                       The second is the payment processing fee, which is dependent on the currency
                                                                       selected by the creator.


                                                                                The payment processing fee in U.S. Dollars is 2.9% plus $0.30 per successful
                                                                                pledge for pledges over $3, and 5% plus $0.10 per successful pledge for
                                                                                pledges of $3 or less. PayPal payments from non-US patrons have an
                                                                                additional 1% fee. Founding creators have a legacy platform fee and the
                                                                                legacy payment processing rate. The legacy payment processing rate varies
                                                                                depending on a number of factors, including the membership subscription
                                                                                amount, card type and number of other memberships joined by a patron.
                                                                                The payment processing fee in Euros is 3.4% plus €0.35 per successful
                                                                                pledge for pledges over €3, and 5% plus €0.15 per successful pledge for
                                                                                pledges of €3 or less.
                                                                                The payment processing fee in British Pounds is 3.4% plus £0.35 per
                                                                                successful pledge for pledges over £3, and 5% plus £0.15 per successful
                                                                                pledge for pledges of £3 or less.


                                                                       You can see how much processing fees are for any membership subscription on
                                                                       your creator dashboard.

                                                                       Depending on your patrons’ locations, some banks may charge your patron a
                                                                       foreign transaction fee for their membership subscription. Patreon does not
                                                                       control this charge, but it is typically around 3%.


                                                                       Tax

                                                                       We do not handle most tax payments, but we collect tax identi>cation information
                                                                       and report this to tax authorities as legally required. You are responsible for
                                                                       reporting any taxes, you can learn more in our Tax Help Center.

                                                                       The one tax we do handle on your behalf is VAT payments for electronically
                                                                       supplied services to patrons in the EU. For the purpose of electronically supplied
                                                                       services, creators make a supply of those services to us, and then we supply them
                                                                       to the patron. To learn more about how we handle VAT, please check our VAT guide.


                                                                       Restrictions

                                                                       We don’t allow creations and bene>ts that violate our policies. You can learn more
                                                                       by visiting our Community Guidelines and Bene>t Guidelines. A summary of those
                                                                       rules is that we don’t allow:


                                                                                Illegal creations or bene>ts.
                                                                                Creations or bene>ts that are abusive towards other people.
                                                                                Creations or bene>ts that use others' intellectual property, unless you have
                                                                                written permission to use it, or your use is protected by fair use.
                                                                                Creations or bene>ts with real people engaging in sexual acts.
                                                                                Bene>ts that involve rades or prizes based on chance.


                                                                       If your fans include people under the age of 18, then please remind them that they
                                                                       need permission to join your membership, and those under the age of 13 cannot
                                                                       use Patreon. We are not required to allow any particular person or group of
                                                                       persons to be your patron.

                                                                       As a creator you are also responsible for keeping patron data safe. You can see
                                                                       what is required in our Data Processing Agreement.

                                                                       An account is tied to your creative output and cannot be sold or transferred for
                                                                       use by another creator.




                                                                       All about being a patron
                                                                       TLDR: A patron is someone who joins a creator’s membership
                                                                       on Patreon. Depending on the creator’s preference, you will
                                                                       be charged either a set amount per month or per creation. You
                                                                       can cancel your membership subscription at any time.
                                                                       To become a patron simply create an account, add your preferred payment
                                                                       method and join a creator’s membership!

                                                                       There are three types of membership subscriptions. One is a monthly subscription
                                                                       where you pay per month. The second is a per creation subscription where you pay
                                                                       based on the number of creations a creator posts in that month. You can set a limit
                                                                       on the number of creations you pay for in a single month under the per
                                                                       subscription model. The third membership option is an annual membership, where
                                                                       you pay for a year of access up front, at a discounted rate. Not all oJerings allow
                                                                       for all three subscription types. Your options will be presented to you in the
                                                                       payment gow.

                                                                       The timing and amount of each membership subscription depends on the type of
                                                                       membership agreement you enter into, and the creator you support. You can see
                                                                       the details as you join, as well as in the receipt sent to you after each successful
                                                                       payment. You can view all your active membership subscriptions and billing history
                                                                       on your membership page.

                                                                       You may cancel or lower the annual membership payments at any time.
                                                                       Terminating or lowering the tier support of an annual membership will go into
                                                                       eJect in the subsequent (not current) payment term. Increasing your payment to a
                                                                       higher tier level in an annual membership will go into eJect in the current payment
                                                                       term. When you increase your payment for an annual membership during the term,
                                                                       you will get a credit for any payment already made in that term.

                                                                       For monthly or per creation payments, canceling your support may result in your
                                                                       loss of access to a creator’s patron-only posts and bene>ts.

                                                                       These include when you cancel your membership subscription, your payment
                                                                       method fails, the creator blocks you, or the creator deletes their account. We are
                                                                       not required to allow you to be a patron of any particular creator.

                                                                       Creators’ memberships vary and we have limited control over the quality and
                                                                       speci>c oJerings. We attempt to screen for fraudulent creator pages, but cannot
                                                                       guarantee the identity of creators or the validity of any claims they make. We
                                                                       appreciate your help reporting suspicious creator pages so we can keep Patreon
                                                                       safe.

                                                                       If you are located in the EU, then VAT is added to the total charge. This is shown
                                                                       when you set up the initial membership subscription.

                                                                       Depending on your location, some banks may charge you a foreign transaction fee
                                                                       for your membership subscription. Patreon does not control this charge, but it is
                                                                       typically around 3%. Please contact your bank for more information.

                                                                       Refunds. Our policy is No Refunds, though we will allow for some exceptions where
                                                                       refunds are granted in our sole discretion.




                                                                       Patreon’s role
                                                                       TLDR: We proactively look at some pages and posts on
                                                                       Patreon and review reported pages to identify potential
                                                                       violations of our guidelines.
                                                                       We proactively look at some pages and posts on Patreon to make sure creators
                                                                       follow our Community Guidelines and Bene>t Guidelines. We also investigate
                                                                       reports of potential violations. These investigations may take a while to resolve
                                                                       and may include looking at what is supported by funds received through Patreon.

                                                                       In most situations we will work with creators to resolve any potential violations and
                                                                       allow the creator to continue using Patreon. Terminating accounts is not an action
                                                                       we take lightly and is done in only the most extreme cases.

                                                                       Please let us know if you see potential violations of our Community Guidelines. You
                                                                       can learn how to report them here.

                                                                       As a global company based in the United States with operations in other countries,
                                                                       we must comply with economic sanctions and trade restrictions, including those
                                                                       implemented by the Okce of Foreign Assets Control ("OFAC") of the U.S.
                                                                       Department of the Treasury. This means that Patreon cannot take part in
                                                                       transactions that involve designated people, places, or items that originate from
                                                                       those places, as determined by agencies like OFAC. You can read our Sanctions
                                                                       Policy here.

                                                                       We are constantly testing out new features with the goal of making Patreon better.
                                                                       We may add or remove features, and often test features with a random subset of
                                                                       our community. If we believe a feature is signi>cantly diJerent from these terms,
                                                                       then we explain those diJerences in the test.

                                                                       With your permission, we may give other websites or services the ability to verify
                                                                       information about your Patreon account or perform actions on your behalf. This
                                                                       permission is asked for when you connect your Patreon account to these other
                                                                       websites or services. You can learn more in our Privacy Policy.




                                                                       Account deletion
                                                                       TLDR: You can delete your account here. We can disable your
                                                                       account at our discretion.
                                                                       You can permanently delete your account at any time by going to our Privacy
                                                                       Center. On that page you can also see what information is deleted and what we
                                                                       continue to store after the account is deleted.

                                                                       We can terminate or suspend your account at any time at our discretion. We can
                                                                       also cancel any membership subscriptions and remove any descriptions, posts or
                                                                       bene>ts at our discretion.

                                                                       You may not bring a claim against us for suspending or terminating another
                                                                       person’s account, and you agree you will not bring such a claim. If you try to bring
                                                                       such a claim, you are responsible for the damages caused, including attorneys
                                                                       fees and costs.

                                                                       These terms remain in eJect even if you no longer have an account.




                                                                       Your creations
                                                                       TLDR: You keep complete ownership of all creations, but you
                                                                       give us permission to use them on Patreon. Make sure you
                                                                       have permission to use creations that you oDer on Patreon.
                                                                       You keep full ownership of all creations that you oJer on Patreon, but we need
                                                                       licenses from you to operate Patreon eJectively.

                                                                       By posting creations on Patreon you grant us a royalty-free, perpetual, irrevocable,
                                                                       non-exclusive, sublicensable, worldwide license to use, reproduce, distribute,
                                                                       perform, publicly display or prepare derivative works of your creation. The purpose
                                                                       of this license is strictly limited to allow us to provide and promote memberships to
                                                                       your patrons. We will never try to steal your creations or use them in an exploitative
                                                                       way.

                                                                       You may not post creations that infringe others' intellectual property or proprietary
                                                                       rights.

                                                                       Patrons may not use creations posted by creators in any way not authorized by the
                                                                       creator.




                                                                       Your third-party apps
                                                                       TLDR: You may grant Patreon permission to access third-
                                                                       party apps. You may also revoke that permission.
                                                                       You may grant Patreon access to your third-party accounts, such as Google,
                                                                       YouTube, Facebook, Instagram, Twitter, and Twitch, in order for some Patreon
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                                                                       party account will present a page that describes the information that Patreon can
                                                                       access.

                                                                       At any time, you can revoke Patreon’s access to those accounts using the
                                                                       respective third party’s security settings page.

                                                                       These are the links for each service:

                                                                       Google          Terms of Service        Privacy Policy        Revoke Patreon's Access
                                                                       YouTube         Terms of Service        Privacy Policy        Revoke Patreon's Access
                                                                       Facebook        Terms of Service        Privacy Policy        Revoke Patreon's Access
                                                                       Instagram       Terms of Service        Privacy Policy        Revoke Patreon's Access
                                                                       Twitter         Terms of Service        Privacy Policy        Revoke Patreon's Access
                                                                       Twitch          Terms of Service        Privacy Policy        Revoke Patreon's Access




                                                                       Patreon’s creations
                                                                       TLDR: You can use our copyrights or trademarks to promote
                                                                       your Patreon page, but can’t use them for anything else
                                                                       without our permission.
                                                                       Our creations are protected by copyright, trademark and trade secret laws. Some
                                                                       examples of our creations are the text on the site, our logo, and our codebase. We
                                                                       grant you a license to use our logo and other copyrights or trademarks to promote
                                                                       your Patreon page. You can learn more about the correct use of our logo in our
                                                                       Brand Guidelines.

                                                                       You may not otherwise use, reproduce, distribute, perform, publicly display or
                                                                       prepare derivative works of our creations unless we give you permission in writing.
                                                                       Please ask if you have any questions.




                                                                       Indemnity
                                                                       TLDR: If we are sued because of your use of or conduct on
                                                                       Patreon, you have to help pay for it.
                                                                       You will indemnify us from all losses and liabilities, including legal fees, that arise
                                                                       from these terms or relate to your use of Patreon. We reserve the right to exclusive
                                                                       control over the defense of a claim covered by this clause. If we use this right then
                                                                       you will help us in our defense.

                                                                       Your obligation to indemnify under this clause also applies to our subsidiaries,
                                                                       akliates, okcers, directors, employees, agents and third party service providers.




                                                                       Warranty disclaimer
                                                                       TLDR: We do our best to make sure Patreon works as
                                                                       expected, but stuD happens.
                                                                       Patreon is provided “as is” and without warranty of any kind. Any warranty of
                                                                       merchantability, Ftness for a particular purpose, non-infringement, and any
                                                                       other warranty is excluded to the greatest extent permitted by law.

                                                                       The disclaimers of warranty under this clause also apply to our subsidiaries,
                                                                       aHliates and third party service providers.




                                                                       Limit of liability
                                                                       TLDR: If you lose money as a result of using Patreon, any
                                                                       payment to you is limited to the amount of money we have
                                                                       earned through your use of Patreon.
                                                                       To the extent permitted by law, we are not liable to you for any incidental,
                                                                       consequential or punitive damages arising out of these terms, or your use or
                                                                       attempted use of Patreon. To the extent permitted by law, our liability for
                                                                       damages is limited to the amount of money we have earned through your use
                                                                       of Patreon. We are speciFcally not liable for loss associated with unfulFlled
                                                                       beneFts and from losses caused by conKicting contractual agreements.

                                                                       For this clause “we” and “our” is deFned to include our subsidiaries, aHliates,
                                                                       oHcers, directors, employees, agents and third party service providers.




                                                                       Dispute resolution
                                                                       TLDR: If you have a problem please talk to us, but you are
                                                                       limited in how you can resolve disputes. You waive your right
                                                                       to trial by jury and your right to participate in a class action
                                                                       proceeding.
                                                                       We encourage you to contact us if you have an issue. If a dispute does arise out of
                                                                       these terms or related to your use of Patreon, and it cannot be resolved after you
                                                                       talk with us, then it must be resolved by arbitration. This arbitration must be
                                                                       administered by JAMS under the JAMS Streamlined Arbitration Rules and
                                                                       Procedures, except as expressly provided below. Judgment on the arbitration may
                                                                       be entered in any court with jurisdiction. Arbitrations may only take place on an
                                                                       individual basis. No class arbitrations or other other grouping of parties is allowed.
                                                                       By agreeing to these terms you are waiving your right to trial by jury or to
                                                                       participate in a class action or representative proceeding; we are also waiving
                                                                       these rights.

                                                                       For creators and patrons who are consumers, we also follow the JAMS Policy on
                                                                       Consumer Arbitrations Pursuant to Pre-Dispute Clauses Minimum Standards of
                                                                       Procedural Fairness for consumer arbitrations done under these terms. For the
                                                                       purpose of an arbitration subject to the consumer standards, if any portion of
                                                                       these terms do not follow that standard, that portion is severed from these terms.

                                                                       This clause does not limit either party’s ability to >le an action in a court with
                                                                       jurisdiction to seek injunctive or other equitable relief for disputes relating to
                                                                       intellectual property, proprietary data or to enforce this dispute resolution clause,
                                                                       including your agreement not to assert claims related to the suspension or
                                                                       termination of another person’s account. In any such action, the court rather than
                                                                       an arbitrator must decide whether such a claim is arbitrable and must decide
                                                                       whether the party is entitled to the requested injunctive or other equitable relief.




                                                                       Governing law
                                                                       TLDR: Any disputes with us must be resolved in San Francisco
                                                                       under California law.
                                                                       California law, excluding its congict of law provisions, governs these terms and all
                                                                       other Patreon policies. If a lawsuit does arise, both parties consent to the exclusive
                                                                       jurisdiction and venue of the courts located in San Francisco, California.




                                                                       Everything else
                                                                       TLDR: These terms are the Pnal word on Patreon’s policies
                                                                       and we will tell you if we change them.
                                                                       These terms and any referenced policies are the entire agreement between you
                                                                       and us, and supersede all prior agreements. If any provision of these terms is held
                                                                       to be unenforceable, then that provision is modi>ed to the extent necessary to
                                                                       enforce it. If a provision cannot be modi>ed, it is severed from these terms, and all
                                                                       other provisions remain in force. If either party fails to enforce a right provided by
                                                                       these terms, it does not waive the ability to enforce any rights in the future.

                                                                       We may sometimes make changes to these terms and policies. If we make material
                                                                       changes that adversely aJect your rights, then we will let you know before the
                                                                       changes come into eJect. Continuing to use Patreon after a change means you
                                                                       accept the new terms or policies.

                                                                       If you are not in the European Union, then these terms are an agreement with
                                                                       Patreon, Inc., 600 Townsend Street Suite 500, San Francisco, CA. If you are located
                                                                       in the EU, then these terms are an agreement with Patreon Ireland Limited, Suite 3,
                                                                       One Earlsfort Centre, Lower Hatch Street, Dublin 2L, Ireland.

                                                                       If you use accessibility tools and have questions or concerns, please contact us at
                                                                       accessibility@patreon.com.

                                                                       EJective immediately for users joining Patreon on or after December 20th, 2019.
                                                                       EJective for existing users on, and applicable to claims not yet asserted by,
                                                                       January 1st, 2020. You can >nd the old terms of use here.




                                                                      PRODUCT                      FOR CRE ATORS                RESOURCES                COMPANY

                                                                      Lite                         Podcasters                   Blog                     About
                                                                      Pro                          Video Creators               Patreon U                Press
                        United States
                                                                      Premium                      Musicians                    Help Center & FAQ        Careers
                                                                      Pricing                      Visual Artists               App Directory            Privacy
                                                                                                   Writers & Journalists        Developers               Policy & Terms
                                                                                                   Communities                                           Accessibility
                                                                                                   Gaming Creators
                                                                                                   Nonpro<ts
                                                                                                   Tutorials and Education
                                                                                                   Local Businesses
                                                                                                   Creators-of-all-kinds




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                                                                                                                                        Log in




                                                                      Term of Ue



                            Welcome to Patreon!


                                Thee are Patreon' term of ue (tick with u here). We know that mot people kim through
                                term of ue tatement ecaue the're oring and go right over our head, ut we have done
                                everthing we can to make thi ea to get through. At the eginning of ever ection, ou'll ee
                                the igget takeawa of the following portion.  uing Patreon, ou agree to thee term and we
                                will alwa tell ou if we change them. Thee ummarie are not legall inding, ut the give ou
                                a hort verion of the term. ummarie appear highlighted at the tart of ever ection.


                            Patreon Inc. i a U.. entit located at 600 Townend treet uite
                            500, an Francico, CA. We alo have a UK entit named Patreon
                            DLC, Ltd. located at 18 oho quare, London, Greater London,
                            W1D 3QL, United Kingdom. We are a platform where patron can
                            upport and engage with creator. Thee are Patreon’ term of
                            ue and appl to all uer of the Patreon weite and moile
                            application. “We,” “our” or “u” refer to Patreon Inc. and Patreon
                            DLC, Ltd., collectivel, “Patreon”. Our ue of “Patreon” here refer to
                            thi weite and the ervice o ered  u.
                             uing Patreon ou agree to thee term. You acknowledge that
                            ou have read and undertood thee term. You alo agree to our
                            privac polic, communit guideline and an other policie we
                            pot on Patreon.

                            Patreon i a platform. We are not reponile for the qualit, timing or legalit of content or reward.

                            We ma ometime make change to thee term. If we make material change that adverel a ect
                            our right under thee term, then we will let ou know  poting an announcement on the ite or
                            ending ou an email prior to the change coming into e ect. Continuing to ue Patreon after a
                            change to thee term mean ou accept the new term.




                            Account Creation


                                You mut e at leat 13 ear old to regiter for an account, and to pa or accept mone there
                                are other requirement. You are reponile for our account.


                                                                When ou regiter for an account ou mut provide u with
                                                                accurate information. If ou don’t provide u with accurate
                                                                information then we ma not e ale to ait ou with acceing
                                                                our account.

                                                                To regiter for an account ou mut e at leat 13 ear old. To
                                                                give or receive pledge ou mut e at leat 18 ear old or have
                                                                our parent’ permiion. If ou know a uer i under the age of 13,
                                                                pleae report them to u.

                                                                You are reponile for anthing that occur when anone i
                                                                igned in to our account, a well a the ecurit of the account. If
                                                                ou elieve our account i compromied, ou mut contact u
                            immediatel.



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                            Uer Conduct


                                Don’t do ad tu . e reponile and ue common ene.


                            You are reponile for all the activit on our account. If ou do
                            ad thing we ma terminate our account. For tarter:

                                   Illegal Activitie - Don’t reak the law or encourage other to
                                   reak the law.

                                   Aue - Don’t hara or ull other, or promote violence or
                                   hatred toward other.

                                   Peronal Information - Don’t ditriute other’ peronal
                                   information or otherwie aue it. Creator with acce to
                                   their patron’ peronal information hould not ue it for
                                   anthing unrelated to Patreon.

                                   Fraud - Don’t pot information that i fale or otherwie
                                   mileading.

                                   Imperonation - Don’t imperonate anone. Don’t ue another’ account, or allow other to ue
                                   our account.

                                   Uername quatting - Don’t create an account to prevent other from uing the name or to ell
                                   the name.

                                   Intellectual Propert - Don’t infringe on other’ intellectual propert right.

                                   pam - Don’t pam other or ditriute unolicited advertiing material.

                                   Malware - Don’t ue Patreon to hot or ditriute, maliciou or detructive oftware
                                   ndorement - Don’t claim endorement  Patreon without our prior written approval.

                                   ervice Degradation - Don’t degrade other’ ue of Patreon.

                                   Data Mining - Don’t crawl, crape or otherwie index information on Patreon. If ou are doing
                                   thi to create a ueful feature then we ma allow it, ut ou mut check with u rt.

                                   Reward haring - Don’t upport a creator and then hare their patron-onl content without
                                   permiion from the creator.

                                   Revere ngineering - Don’t take apart Patreon to gure out our ecret auce. If ou want to do
                                   thi a part of our ug ount program, then pleae ak to e invited through HackerOne rt.

                            Pleae alo ee our communit guideline for peci c guidance in ome of thee area. Thee
                            guideline are not meant to e exhautive. If ou nd a new and creative wa to hurt Patreon or our
                            uer we ma take action to prevent it.




                            All Aout eing a Patron


                                Patron pledge mone to creator for creating content. Depending on the creator’ preference,
                                ou will e charged either a et amount per month or per creation. Patreon i not reponile for
                                the qualit, timing or legalit of content or reward.


                            To ecome a patron impl create an account, update our preferred pament method (either credit
                            card or PaPal) and pledge to an creator!
                            There are two tpe of pledge. One i a monthl ucription where ou pa creator per month.
                            The other i a content ucription where ou pa creator for certain creation.

                            If ou upport a creator on a per month ai, then ou are charged on ehalf of the creator
                            immediatel at the time of the pledge for the full amount of the ucription. eginning in the month
                            after the month in which ou made our initial pledge, our pament i atched with our other
                            exiting pledge and charged at the tart of the month.
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                                                                If ou upport a creator on a per creation ai, then ou are
                                                                charged on ehalf of the creator for creation at the tart of the    Log in

                                                                month, following the month in which the creation wa pulihed.
                                                                You can et a limit on the numer of creation for which ou ma
                                                                e charged in a ingle month.

                                                                For oth per month and per creation upport, ou ma cancel our
                                                                pledge at an time.
                                                                Depending on our location, ome ank ma charge ou a 3%
                                                                foreign tranaction fee for our pledge, which will e aeed in
                                                                addition to the pledge amount. Patreon doe not control thi
                                                                charge. Pleae contact our ank for information.
                            If ou are located in the U, then VAT i added to the total charge. Thi i hown when ou et up the
                            initial pledge amount.
                            We ma grant refund at our ole dicretion.

                            In certain ituation ou ma loe acce to a creator’ patron-onl content, including reward. Thee
                            include when ou cancel our pledge, our pament method fail, the creator lock ou, or the
                            creator delete their account.

                            We have no control over the qualit, timing or legalit of content or reward. We do not grant refund
                            for failure to deliver reward. We do attempt to creen for fraudulent creator page, ut cannot
                            guarantee the identit of creator or the validit of an claim the make. We appreciate our help
                            reporting upiciou creator page o we can improve Patreon.




                            All Aout eing a Creator


                                Creator launch a page that allow patron to upport them. You appoint u a our agent to
                                collect and proce pament on our ehalf, and our fee i 5% of our pledge. You are
                                reponile for an taxe ou owe aed on the pament ou receive. You mut alo follow our
                                rule aout content and reward.


                            To ecome a creator, ou ma convert our regular account to a
                            creator account or directl make a creator account, and launch the
                            page.
                            You ma chooe to charge patron per month or per creation, in
                            either cae mot pament are proceed at the tart of each
                            month. In connection with our charge to patron, ou appoint u
                            a our limited agent for the ole purpoe of receiving, holding,
                            and ettling pament to ou. A our agent, our receipt of fund
                            from a patron on our ehalf i the ame a receipt of fund  ou
                            directl, and ou will onl have recoure againt u, and not againt
                            an patron, for an failure  u to ettle fund to ou. We tr to
                            provide timel acce to our fund, ut ou ma occaionall
                            experience dela in acceing our fund. We ma alo lock or hold pament for violation of the
                            term or compliance reaon, including collecting tax reporting information. When pament are
                            delaed or locked we tr to communicate the reaon to ou promptl. In order to protect creator,
                            we ma lock patron’ pament if we elieve them to e fraudulent.

                            Our fee to proce tranaction on our ehalf i 5% of proceed pledge. eparate pament
                            proceing fee var aed on the pledge amount, ut are tpicall under 5% of the total amount we
                            proce for ou proce acro all patron. Depending on our patron’ location, ome ank ma
                            charge our patron a 3% foreign tranaction fee for their pledge, which will e aeed in addition to
                            the pledge amount. Patreon doe not control thi charge.

                            We do not handle mot tax pament, ut we collect tax identi cation information and report thi to
                            tax authoritie a legall required. You are reponile for reporting an taxe.

                            The one area of taxe where we handle pament on our ehalf i VAT pament for electronicall
                            upplied ervice to patron in the U. For the purpoe of electronicall upplied ervice, creator
                            make a uppl of that content to u, and then we uppl it to the patron. To learn more aout how we
                            handle VAT, pleae check our VAT guide.
https://www.patreon.com/legal                                                                                                                  3/9
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                            We retrict ome tpe of content and reward. You cannot:
                                                                                                                                         Log in
                                   Create an content or reward with real people engaging in exual or violent act.
                                   Create an content or reward with nudit, or realitic depiction of exual or violent act, unle
                                   ou ag the page a Adult Content and make the pot onl viewale  patron.
                                   Ue ra e, or an prize aed on chance, a a reward.

                                   Create content or reward uing other' intellectual propert, unle ou have written
                                   permiion to ue it, or our ue i protected  fair ue.
                            Pleae alo ee our communit guideline for peci c guidance in ome of thee area.

                            If our potential patron are under the age of 18, pleae remind them that the need permiion to
                            pledge. Anone under the age of 13 cannot have an account.

                            We are not part to the agreement etween creator and patron. If a patron requet a refund from
                            u, at our ole dicretion we ma grant a refund. We deduct the refunded amount from future
                            pament to ou.




                            Patreon’ Role


                                While Patreon upport content creation, we do not legall endore an content on our ite. If
                                content i reported we ma remove it, ut we do not take that action lightl.


                                                                 We onl provide a platform for creator and patron to interact. We
                                                                 do not creen or endore an content on Patreon. If ou ee
                                                                 content that violate thee term, then let u know and we ma
                                                                 remove it.

                                                                 Removing content or terminating account i not an action we take
                                                                 lightl and we ma take a while to invetigate or open the iue up
                                                                 to further dicuion with the communit.
                                                                 We are contantl teting out new feature with the goal of making
                                                                 Patreon etter. We ma add or remove feature, and often tet
                                                                 feature with a random uet of our uer. If we elieve a feature
                                                                 i igni cantl di erent from thee term, then we explain thoe
                            di erence in the tet.
                            With our permiion, we ma give other weite or ervice the ailit to verif information aout
                            our Patreon account or perform action on our ehalf. Thi permiion i aked for when ou
                            connect our Patreon account to thee other weite or ervice. Information can include the
                            exitence of our account, pledge amount and length of upport. Action can include creating,
                            editing or deleting pledge and an other interaction with creator uch a poting meage or
                            liking pot.




                            Account Dialing


                                You can diale our account manuall. We can diale it at our dicretion.


                            You can permanentl diale our account at an time  heading to our account etting and
                            electing 'diale m account.' From there, follow the requeted tep to con rm. You can ee what
                            information i deleted and what we continue to tore after the account i dialed in our privac
                            polic.

                            We can terminate or upend our account at an time at our dicretion. We can alo cancel an
                            pledge and remove an content or reward at our dicretion.
                            Thee term remain in e ect after our account i dialed.

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                                                                                                                                        Log in




                            Your Content


                                You keep complete ownerhip of all content, ut give u
                                permiion to ue it on Patreon. Make ure ou have permiion
                                to ue content that ou pot on Patreon.


                                                                 You keep full ownerhip of all content that ou pot on Patreon, ut
                                                                 to operate we need licene from ou.
                                                                  poting content to Patreon ou grant u a roalt-free,
                                                                 perpetual, irrevocale, non-excluive, ulicenale, worldwide
                                                                 licene to ue, reproduce, ditriute, perform, pulicl dipla or
                                                                 prepare derivative work of our content. The purpoe of thi
                                                                 licene i to allow u to operate Patreon, promote Patreon and
                                                                 promote our content on Patreon. We are not tring to teal our
                                                                 content or ue it in an exploitative wa.

                                                                 You ma not pot content that infringe on other' intellectual
                                                                 propert or proprietar right.
                            Patron ma not ue content poted  creator in an wa not authorized  the creator.




                            Patreon’ Content


                                You can ue our content a part of Patreon, ut can’t ue it for anthing ele without our
                                permiion.


                            Content we create i protected  copright, trademark and trade
                            ecret law. ome example of our content are the text on the ite,
                            our logo, and our codeae. We grant ou a licene to ue our logo
                            and other copright or trademark to promote our Patreon page.
                            You ma not otherwie ue, reproduce, ditriute, perform, pulicl
                            dipla or prepare derivative work of our content unle we give
                            ou permiion in writing. Pleae ak if ou have an quetion.




                            Copright Infringement


                                If omeone on Patreon i uing our copright without permiion, then pleae end an email to
                                copright@patreon.com. Thi i complicated, o make ure to read the long verion efore ou
                                end u an email.




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                                                                                                                                           Log in




                            If ou elieve that an content on Patreon infringe our copright, pleae end written notice to:

                            Copright Agent
                            Patreon, Inc.
                            600 Townend treet
                            uite 500
                            an Francico, CA, UA 94103
                            copright@patreon.com
                            You ma alo end a notice to:
                            Copright Agent
                            Patreon DLC, Ltd.
                            18 oho quare
                            uite 500
                            London, Greater London, W1D 3QL, United Kingdom
                            copright@patreon.com
                            Thi notice hould include the following information:

                                 The electronic or phical ignature of the copright owner, or a peron authorized to act on
                                 their ehalf.
                                 A decription of the coprighted work that ou claim ha een infringed.
                                 A decription of the exact location on Patreon of the content that ou claim i infringing. Thi
                                 decription mut allow u to nd and identif the content.
                                 Your name, addre, telephone numer and email addre.
                                 A tatement  ou that: a) ou elieve in good faith that the ue of the content that ou claim to
                                 infringe our copright i not authorized  law, the copright owner, or the owner’ agent, ) all
                                 information contained in our copright notice i accurate, and c) under penalt of perjur, ou
                                 are either the copright owner, or authorized to act on their ehalf.
                            If our content ha een removed ecaue of a DMCA notice, ut ou elieve the content wa not
                            infringing on another’ copright, then ou ma end a written counter-notice to have the content
                            retored. Your counter-notice hould include the following information:
                                 Your electronic or phical ignature.
                                 A decription of the content that wa removed and the exact location of the content on Patreon
                                 efore it wa removed.
                                 Your name, addre, telephone numer and email addre.
                                 A tatement under penalt of perjur that ou elieve in good faith that the content wa
                                 removed  mitake or miidenti cation.

                                 A tatement that ou conent to the juridiction of the U.. Federal Ditrict Court for the judicial
                                 ditrict in which ou are located, or if ou are outide the U.., the Northern Ditrict of California,
                                 and that ou will accept ervice of proce from the part that originall ent u the DMCA
                                 notice.
                            In appropriate circumtance we ma alo terminate the account of repeat infringer.
                            For more information aout DMCA notice pleae ee our DMCA guide.




                            Indemnit


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                                If we are ued ecaue of ou, ou have to help pa for it.                                         Log in


                            You will indemnif u from all loe and liailitie, including legal
                            fee, that arie from thee term or relate to our ue of Patreon.
                            We reerve the right to excluive control over the defene of a
                            claim covered  thi claue. If we ue thi right then ou will help
                            u in our defene.

                            Your oligation to indemnif under thi claue alo applie to our
                            a liate, o cer, director, emploee, agent and third part
                            ervice provider.




                            Warrant Diclaimer


                                We do our et to make ure Patreon work a expected, ut tu happen.


                                                                 Patreon i provided “a i” and without warrant of an kind.
                                                                 An warrant of merchantailit, tne for a particular
                                                                 purpoe, non-infringement, and an other warrant i excluded
                                                                 to the greatet extent permitted  law.
                                                                 The diclaimer of warrant under thi claue alo appl to our
                                                                 a   liate and third part ervice provider.




                            Limit of Liailit


                                If ou loe mone a a reult of uing Patreon, an pament to ou i limited to how much ou
                                have paid u, and we don’t have to pa ou if our lo i unexpected.


                            To the extent permitted  law, we are not liale to ou for an
                            incidental, conequential or punitive damage ariing out of
                            thee term, or our ue or attempted ue of Patreon. To the
                            extent permitted  law, our liailit for damage i limited to
                            the amount of mone we have earned through our ue of
                            Patreon. We are peci call not liale for lo aociated with
                            failure to deliver reward and from loe caued  con icting
                            contractual agreement.
                            For thi claue “we” and “our” i de ned to include our
                            a liate, o cer, director, emploee, agent and third part
                            ervice provider.




                            Dipute Reolution


                                If ou have a prolem pleae talk to u, ut ou are limited in how ou can reolve dipute. You
                                waive our right to trial  jur and our right to participate in a cla action proceeding.


                            We encourage ou to contact u if ou have an iue. If a dipute doe arie out of thee term or
                            related to our ue of Patreon, and it cannot e reolved after ou talk with u, then it mut e
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                                                                reolved  aritration. Thi aritration mut e adminitered 
                                                                JAM under the JAM treamlined Aritration Rule &                       Log in

                                                                Procedure. Judgment on the aritration award ma e entered in
                                                                an court with juridiction. Aritration ma onl take place on an
                                                                individual ai. No cla aritration or other grouping of partie
                                                                i allowed.  agreeing to thee term ou are waiving our right to
                                                                trial  jur or to participate in a cla action or repreentative
                                                                proceeding, we are alo waiving thee right.
                                                                We follow the JAM Polic on Conumer Aritration Puruant
                                                                to Pre-Dipute Claue Minimum tandard of Procedural
                                                                Fairne for all aritration done under thee term. If an portion
                            of thee term do not follow that tandard, that portion i evered from thee term.

                            Thi claue doe not limit either part’ ailit to eek injunctive or other equitale relief for dipute
                            relating to intellectual propert or proprietar data.




                            Governing Law


                                An dipute with u mut e reolved in an Francico under California law.


                            California law, excluding it con ict of law proviion, govern
                            thee term and all other Patreon policie. If a lawuit doe arie,
                            oth partie conent to the excluive juridiction and venue of the
                            court located in an Francico, California.




                            verthing le


                                Thee term are the nal word on Patreon’ policie.


                                                                Thee term and an referenced policie are the entire agreement
                                                                etween ou and u, and uperede all prior agreement. If an
                                                                proviion of thee term i held to e unenforceale, that proviion
                                                                i modi ed to the extent necear to enforce it. If a proviion
                                                                cannot e modi ed, it i evered from thee term, and all other
                                                                proviion remain in force. If either part fail to enforce a right
                                                                provided  thee term, it doe not waive the ailit to enforce
                                                                an right in the future.

                                                                If ou have an quetion, pleae email legal@patreon.com.
                                                                 ective Novemer 1t, 2016. Lat updated on Decemer 18,
                                                                2018
                            Prior policie.

                            Illutration  Li Chen of xocomic.




Aout                                                                              Help Center & FAQ

Career                                                                            Developer

Create on Patreon                                                                  App Director

rand                                                                              log

Pre                                                                              Patreon U | Creator Coaching

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Partner                                                            Communit Guideline
                                                                                                          Log in
itemap                                                             Term of Ue

                                                                    Privac Polic




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       EXHIBIT 5
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                                                                                              English




            The data we
            collect, how it's
            used, and who we
            share it with
            We care about your privacy and
            want to help you understand how
            we collect, use, and share your
            personal information. The data
            practices described in our
            Privacy Center apply to both
            patrons and creators.

            Show me how the Privacy
            Center works →




                                                       Priv
                                         Data                            View           Make a
                                                       acy
                                         Prac                            Past           Privacy
                                                       Polic           Requests         Request
                                         tices
                                                        y



            PATREON
            PRIVACY                              Patreon Privacy
            POLICY
                                                 Policy
                   Welc…
                                                 Effective Date: July 15, 2022
                   Infor…

                  Patro…
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                  Patro…

                  Creat…                          Welcome to Patreon!
                  Additi…
                                                  Patreon is a platform where patrons can
                   Infor…                         support and engage with creators. This
                                                  updated Privacy Policy applies to
                   How …
                                                  patrons, creators and all users of our
                   Infor…                         platform, and is part of our Terms of Use.

                   Infor…
                                                  Patreon is a global company. By using our
                   Infor…                         platform, you agree that your personal
                                                  information that you provide directly to
                   Infor…
                                                  us, or that we collect through your use of
                   Your …                         the platform, may be transferred to and
                                                  stored in the United States and handled
                   Com…
                                                  as described in this Policy.
                   Com…

                  Exerc…

                   Acco…                          Information You
                   Cont…                          Provide Through Your
                  Estab…                          Account
                  Prohi…                          This is information that you provide to us
                                                  through text !elds, such as your name,
                  Our D…
                                                  payment information and bene!ts. The
                  Secur…                          information we collect di"ers depending
                  Child…
                                                  on whether you make an account,
                                                  become a patron or become a creator.
                  Chan…
                                                      First and Last Name
                                                      Email Address
                                                      Username
                                                      Password
                                                      State and Country of Residence


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                                                  You may also sign up using a Facebook
                                                  or Google account. We will ask for
         We're                                    permission to access basic information
        taking a                                  from your Facebook or Google account,
       different                                  such as your name, email and pro!le
       approach                                   picture. You can choose to stop sharing
                                                  that information with us at any time by
           to                                     going to Facebook or Google to remove
        privacy                                   Patreon’s access to that account and
                                                  your ability to log in.

              Show                                You also have the option to add more
              Me                                  information to your public pro!le, such as
                                                  a location, social media links and an
                                                  about section, which we store along with
                                                  any comments or messages you submit
                                                  on Patreon.




                                                  Patrons
                                                  A patron is someone who joins Patreon’s
                                                  membership platform to support a
                                                  creator’s membership content. As a
                                                  patron you must provide your payment
                                                  information to our payment processors.
                                                  You can see the Privacy Policy for these
                                                  payment processors on the PayPal,
                                                  Stripe, and Checkout sites. Patreon
                                                  does not receive your full card number at
                                                  this time. Payment processors provide us
                                                  with a token that represents your
                                                  account, your card’s expiration date, card
                                                  type and the last four digits of your card
                                                  number. If you are required to provide

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                                                  your name and email address to the
                                                  payment processor then they also
                                                  provide us with that information.

                                                  We collect and process information
                                                  about the creators you support, the level
                                                  at which you support them, what bene!ts
                                                  you receive and how often you support
                                                  them. As a patron, if you select a bene!t
                                                  tier with a physical bene!t then you will
                                                  provide your shipping information,
                                                  including phone number, so the creator
                                                  or Patreon can ship you the bene!t or
                                                  provide updates related to the shipment.




                                                  Creators
                                                  A creator is someone who creates and
                                                  provides content for their patrons
                                                  through Patreon’s membership platform.
                                                  To become a creator, you must create a
                                                  page that describes what you are
                                                  creating and any bene!ts you are
                                                  o"ering. To receive payouts you have to
                                                  create an account with one of our
                                                  payment partners: PayPal, Stripe or
                                                  Payoneer. We may also require your bank
                                                  account information to process payouts.
                                                  You must also provide us with additional
                                                  information for tax purposes. Depending
                                                  on your location you may have to !ll out a
                                                  form with some combination of your:

                                                      First and Last Name


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                                                      Address
                                                      Social Security Number or Employer
                                                      Identi!cation Number
                                                      Country of Citizenship
                                                      Foreign Tax Identi!cation Number
                                                      Date of Birth
                                                      Your Nonpro!t Registration Number,
                                                      if you are a nonpro!t business
                                                      Bank Account Information for
                                                      Payouts
                                                      Phone Number




                                                  Additional
                                                  Information We
                                                  Collect
                                                  Automatically Collected
                                                  Information
                                                  We collect information automatically as
                                                  you navigate the site or through our
                                                  third-party analytics providers. We may
                                                  store usage information such as the type
                                                  of device you use to access Patreon,
                                                  your operating system, browser type, IP
                                                  address, device ID, the pages you visit or
                                                  request, links clicked, referring sites, user
                                                  interactions and your search terms. We
                                                  also derive your location from your self-
                                                  disclosed country, your IP address and
                                                  your payment card.

                                                  Forums and Messaging
                                                  When you participate in a forum, we

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                                                  collect the comments you make as well
                                                  as record how many times users visit, the
                                                  activity on the site, where users have
                                                  replied, with whom they’ve
                                                  communicated, private messages, IP
                                                  address and from which location the user
                                                  was last logged in. We use Discourse
                                                  and Discord to help us host and operate
                                                  our Forums. This means that they may
                                                  access your information to help provide
                                                  the Forum. You can !nd their privacy
                                                  policies hyperlinked above.

                                                  User Surveys
                                                  From time to time, we may solicit your
                                                  participation in user surveys. In order to
                                                  better understand and serve our user
                                                  base, we may ask you for demographic
                                                  information, including information related
                                                  to your gender, ethnicity, race, age,
                                                  sexual orientation, earnings and
                                                  accessibility, which you may choose to
                                                  share or not. We collect such information
                                                  to ensure we provide fair and equal
                                                  access to our services and to showcase
                                                  creators to patrons for greater
                                                  discoverability. We will store your survey
                                                  responses as and when you participate in
                                                  the surveys.

                                                  Event Information
                                                  We may request information from you at
                                                  in-person and online events. This is done
                                                  to better tailor the event experience to
                                                  those attending. This information may


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                                                  include your name, email address,
                                                  payment details, mobile phone number
                                                  and QR code, demographic information,
                                                  social media and other online accounts
                                                  you maintain, details around the types of
                                                  works you create, and survey or
                                                  feedback responses.

                                                  Blogs
                                                  We may collect and store your email
                                                  address, your comments and your pro!le
                                                  information from our blog sites to better
                                                  understand your interests and improve
                                                  our services to you.




                                                  Information Collected
                                                  by Third Parties
                                                  Cookies
                                                  We use Cookies on our website that
                                                  collect information to allow us and third
                                                  parties to understand your use of
                                                  Patreon. Please see our cookie policy for
                                                  more information on our use of cookies
                                                  on Patreon.

                                                  Social Media Features and Widgets
                                                  We use social media features, including
                                                  the Facebook Like button and widgets,
                                                  such as the Share button or similar
                                                  interactive mini-programs that run on
                                                  Patreon. If you provide your social media
                                                  information to us, we may use it to


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                                                  interact with you on these social
                                                  networks. These features may collect
                                                  your IP address and other personal data,
                                                  including which page you are visiting on
                                                  our site, and may set a cookie to enable
                                                  the feature to function properly. Social
                                                  media features and widgets are either
                                                  hosted by a third party or directly on
                                                  Patreon. Your interactions with these
                                                  Features are governed by the privacy
                                                  policy of the company providing it. For
                                                  more information on the technologies
                                                  used by these social networks, please
                                                  refer to their speci!c privacy notices. We
                                                  have provided links to the most used
                                                  social networks below for easy reference:

                                                      Facebook:
                                                      https://www.facebook.com/about/privacy/
                                                      Twitter: https://twitter.com/privacy
                                                      YouTube:
                                                      https://policies.google.com/privacy
                                                      Instagram:
                                                      https://help.instagram.com/155833707900388
                                                      Twitch:
                                                      https://www.twitch.tv/p/legal/privacy-
                                                      notice/



                                                  How We Use Your
                                                  Information
                                                  We process your information to:

                                                      verify your identity to comply with
                                                      US federal, state, and international

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                                                      laws
                                                      allow you to sign in to your account
                                                      ● allow you to support a creator’s
                                                      membership programme on Patreon
                                                      process membership payments and
                                                      payouts
                                                      send merchandise to your shipping
                                                      address
                                                      send you emails relevant to your
                                                      usage, as controlled by your email
                                                      preferences
                                                      reply to your questions
                                                      provide to you existing and
                                                      enhanced services related to your
                                                      Patreon account
                                                      promote your Patreon account for
                                                      greater discoverability
                                                      spotlight and celebrate creators
                                                      market Patreon products and
                                                      services to you or to audiences
                                                      similar to you based on your
                                                      networks and common factors that
                                                      others have with you, unless you opt
                                                      out, as controlled by your email
                                                      preferences
                                                      understand how you use the service
                                                      and create better tools for creators
                                                      to serve patrons
                                                      conduct research and development
                                                      to improve Patreon and develop
                                                      future products
                                                      prevent fraud and abuse on Patreon
                                                      provide you with reasonable
                                                      accommodation, if you notify us of a
                                                      disability


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                                                  Information We Share
                                                  with Creators
                                                  By becoming a patron of a creator, you
                                                  agree to have the following information
                                                  shared with that creator:

                                                      your name and email address, and
                                                      other pro!le information you’ve
                                                      provided
                                                      any messages you send creators
                                                      through Patreon
                                                      your physical address, city, state,
                                                      and country
                                                      your phone number, when you have
                                                      signed up to support a creator who
                                                      engages with you via text messages,
                                                      when you are receiving a bene!t that
                                                      requires shipping, or when you have
                                                      signed up for event noti!cations via
                                                      text
                                                      all information about your pledge,
                                                      including amount and start date but
                                                      not your full payment card
                                                      information
                                                      some aggregated and anonymised
                                                      data about how you use Patreon that
                                                      cannot be linked back to you or to
                                                      any individual user

                                                  Creators agree to the terms of our Data
                                                  Processing Agreement (DPA) when they

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                                                  start their membership programme. This
                                                  DPA is called the Creator Privacy
                                                  Promise. The Creator Privacy Promise is
                                                  a creator’s promise to protect the privacy
                                                  of their patrons during and beyond their
                                                  Patreon relationship. You can view a copy
                                                  of the Creator Privacy Promise here.




                                                  Information We Share
                                                  with Third Parties
                                                  We never sell your information to third
                                                  parties. We will only share data with third
                                                  parties, other than with creators, under
                                                  the following circumstances:

                                                      with your consent, to creators’
                                                      service providers, to deliver bene!ts,
                                                      such as shipping packages to you.
                                                      You should read these service
                                                      providers’ privacy policies to see
                                                      how they use and share your data.
                                                      with our service providers, who are
                                                      companies that are contractually
                                                      engaged with us to provide us with
                                                      services, such as order ful!lment,
                                                      email management, analysing data
                                                      trends, credit card processing, multi-
                                                      currency settlement solutions,
                                                      increasing our brand awareness and
                                                      user engagement with marketing
                                                      initiatives, and fraud detection and
                                                      prevention. These companies may


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                                                      have access to your data to perform
                                                      their services, and are obligated by
                                                      contract to safeguard any of your
                                                      data they receive from us to the
                                                      same extent that Patreon protects it.
                                                      to protect the security or integrity of
                                                      Patreon as well as to protect the
                                                      rights, property and safety of
                                                      Patreon, its employees, users or
                                                      others if we believe that disclosure is
                                                      reasonably necessary to comply
                                                      with a law, regulation or other valid
                                                      legal process (e.g. subpoenas or
                                                      warrants served on Patreon). If we
                                                      are going to release your data, we
                                                      will do our best to promptly notify
                                                      you by email unless we are
                                                      prohibited by law from doing so.
                                                      in connection with the sale, merger,
                                                      bankruptcy, sale of assets or
                                                      reorganisation of our company. We
                                                      will notify you if a di"erent company
                                                      receives your data. The promises in
                                                      this privacy policy apply to any data
                                                      transferred to a new entity.
                                                      with third-party apps used by
                                                      creators to help run their
                                                      membership programmes. There is a
                                                      list of apps in our apps directory.
                                                      While we try to keep this list up to
                                                      date, we often experiment with new
                                                      third-party app providers and this
                                                      list may not be exhaustive.
                                                      with partners in our Partners
                                                      Directory who may have access to


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                                                      your data to perform their services
                                                      and who are obligated by contract to
                                                      safeguard any of your data they
                                                      receive from us to the same extent
                                                      that Patreon protects it.



                                                  Information Patreon
                                                  Collects from Third
                                                  Party Apps
                                                  When you create a Patreon account, you
                                                  can elect to connect your social
                                                  account(s) (e.g. Twitter, Facebook,
                                                  Google, YouTube and Twitch) with
                                                  Patreon and we will collect and store
                                                  some social information from those
                                                  platforms, such as:

                                                      follower or subscriber counts
                                                      post or upload counts
                                                      view, like, and comment counts

                                                  This social information allows us to
                                                  provide you with a better Patreon
                                                  experience and also helps guide future
                                                  development of Patreon. We use this
                                                  data to:

                                                      help creators and patrons !nd each
                                                      other on Patreon
                                                      assess how to make creators more
                                                      successful on Patreon
                                                      analyse and describe our business




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                                                  Information We Share
                                                  with the Public
                                                  The following information is publicly
                                                  accessible:

                                                      your pro!le and your social media
                                                      links and location if you add that
                                                      information
                                                      the creators you support are publicly
                                                      displayed by default. If you #ag your
                                                      account as private, we will not
                                                      display the creators you support
                                                      any posts, likes or comments you
                                                      make
                                                      your aggregated or anonymised
                                                      usage data in blog posts, press
                                                      releases or in other ways to share
                                                      information about Patreon’s usage.
                                                      Aggregated or anonymised data
                                                      cannot be linked back to any
                                                      individual Patreon user
                                                      monthly pledge value and goals that
                                                      creators choose to make public
                                                      number of patrons




                                                  Your Preferences and
                                                  Rights over Data
                                                  Choosing Your Preferences
                                                  The Settings link is located by clicking on
                                                  your avatar or pro!le at the top right-
                                                  hand of your screen, after your log into

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                                                  your Patreon account. Settings lets you
                                                  see your account preferences. You can
                                                  see and adjust your settings by viewing
                                                  your preferences and, if you wish, by
                                                  changing your selections.

                                                  Marketing Activities
                                                  By agreeing to our terms of use, you
                                                  expressly agree that Patreon may:

                                                      provide you with information about
                                                      your service, service enhancements
                                                      or new Patreon products while you
                                                      are on our website or using our apps.
                                                      send you messages regarding your
                                                      existing service or enhancements
                                                      related to your existing service when
                                                      you are o" our platform via email or
                                                      via text if you have signed up for a
                                                      service or event noti!cation that
                                                      uses text messages.
                                                      send you messages related to
                                                      services we provide which are
                                                      separate from your existing service
                                                      via email, which you may opt out of.
                                                      market Patreon to you and
                                                      audiences similar to you based on
                                                      your networks and common factors
                                                      that others have with you unless you
                                                      opt out.
                                                      send you marketing emails or texts if
                                                      you don’t have a Patreon account
                                                      but have consented to receiving
                                                      such messages, which you may opt
                                                      out of.
                                                      ask for demographic information to

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                                                      spotlight and celebrate creators.
                                                      promote your account for greater
                                                      discoverability.
                                                      ship physical items to you via mail as
                                                      part of a promotional activity.

                                                  Opting out of Marketing
                                                  You may object to the use of your data
                                                  for marketing purposes at any time, free
                                                  of charge, when we collect your personal
                                                  information and in every marketing
                                                  communication. You may also object to
                                                  the use of your data for marketing upon
                                                  creation of your account or anytime
                                                  thereafter by opting out here.

                                                  Opting out will stop marketing emails.
                                                  Please allow up to 30 days for your opt-
                                                  out request to be processed. If you have
                                                  an account with Patreon, you will
                                                  continue to receive service-related
                                                  emails and texts if you have opted into
                                                  receiving texts. You will also continue to
                                                  receive service-related shipments of
                                                  bene!ts to the designated delivery
                                                  address.

                                                  We will never sell your information to
                                                  third parties for marketing purposes
                                                  without your prior consent.

                                                  Accessing, Updating or Exporting
                                                  the Information in Your Account
                                                  You can access and update certain
                                                  information associated with your account
                                                  on the settings pages. Additionally, you

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                                                  can delete your account or export your
                                                  personal information by going to
                                                  privacy.patreon.com.

                                                  Deleting Your Account
                                                  You may self-initiate a deletion of your
                                                  account directly at privacy.patreon.com
                                                  by clicking on the Make a Privacy
                                                  Request button and submitting an
                                                  "Erase" request. Please be aware that this
                                                  action is !nal and cannot be reversed. If
                                                  you would like to transport your data,
                                                  please be sure to download your data
                                                  !rst before you delete your account.

                                                  Turning off Email Notifications
                                                  You can change your email noti!cations
                                                  in your email settings. While this allows
                                                  you to stop many noti!cation emails, we
                                                  will still send some critical service emails.

                                                  Turning off Mobile Notifications
                                                  If you download the Patreon App you may
                                                  also receive noti!cations on your mobile
                                                  device. These can be disabled in the App
                                                  settings.

                                                  Verification of Requests
                                                  Users maintain password-protected
                                                  accounts with Patreon. If you submit a
                                                  request to exercise your privacy rights,
                                                  you will be asked to verify the request by
                                                  logging in to your Patreon account.

                                                  If we are unable to verify your request
                                                  then, for your protection, we reserve the

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                                                  right to deny the request.




                                                  Compliance with EU
                                                  Privacy Laws and
                                                  Privacy Shield
                                                  Patreon is an international company that
                                                  complies with the General Data
                                                  Protection Regulation (GDPR). We act as
                                                  Data Controllers, as de!ned under the
                                                  GDPR, and we process personal data
                                                  based on our legitimate interests and for
                                                  contractual necessity in providing you
                                                  the Service, as described in "How We Use
                                                  Your Information". We also process and
                                                  share personal information based on
                                                  noti!cation and users’ consent, which
                                                  our users may revoke at any time.

                                                  Patreon relies on various legal bases to
                                                  lawfully execute international transfers of
                                                  personal information, including standard
                                                  contract clauses approved by the
                                                  European Commission.

                                                  Patreon complies with the EU-US Privacy
                                                  Shield Framework and Swiss-US Privacy
                                                  Shield Framework as set forth by the US
                                                  Department of Commerce regarding the
                                                  collection, use and retention of personal
                                                  information transferred from the
                                                  European Union and Switzerland to the
                                                  United States. Patreon has certi!ed to
                                                  the Department of Commerce that it

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                                                  adheres to the Privacy Shield Principles.
                                                  If there is any con#ict between the terms
                                                  in this Privacy Policy and the Privacy
                                                  Shield Principles, the Privacy Shield
                                                  Principles take precedence. To learn
                                                  more about the Privacy Shield
                                                  programme and to view our certi!cation,
                                                  please visit
                                                  https://www.privacyshield.gov/.

                                                  Under limited circumstances you may
                                                  invoke binding arbitration before the
                                                  Privacy Shield Panel. More Information
                                                  about this arbitration process can be
                                                  found at
                                                  https://www.privacyshield.gov/article?
                                                  id=G-Arbitration-Procedures.

                                                  Patreon is responsible for the processing
                                                  of personal information it receives or
                                                  subsequently transfers to a third party
                                                  acting as an agent on Patreon’s behalf.
                                                  Patreon complies with the Privacy Shield
                                                  Principles for all onward transfers of
                                                  personal information, including the
                                                  onward transfer liability provisions.

                                                  With respect to the personal information
                                                  received or transferred pursuant to the
                                                  Privacy Shield Frameworks, Patreon is
                                                  subject to the regulatory enforcement
                                                  powers of the US Federal Trade
                                                  Commission.




                                                  Compliance with
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                                                  Compliance with
                                                  California Privacy
                                                  Laws
                                                  Patreon’s headquarters are located in
                                                  California, USA, and we are subject to the
                                                  California Consumer Privacy Act.

                                                  E"ective 1 January 2020, the California
                                                  Consumer Privacy Act (CCPA) allows
                                                  California residents to request access to
                                                  the speci!c pieces and categories of
                                                  personal information that the business
                                                  has collected about the consumer, the
                                                  categories of sources for that
                                                  information, the business or commercial
                                                  purposes for collecting the information,
                                                  and the categories of third parties with
                                                  which the information was shared.

                                                  Patreon provides California residents and
                                                  all users with the right to view, access or
                                                  transport their information at the
                                                  Patreon Privacy Center. All users also
                                                  have the right to submit a request for
                                                  deletion of information by going to the
                                                  Patreon Privacy Center, clicking on the
                                                  "Make a Privacy Request" button and
                                                  requesting "Erase".




                                                  Exercising Your Data
                                                  Rights
                                                  Users in certain locations may have


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                                                  certain rights under the General Data
                                                  Protection Regulation (GDPR) or under
                                                  the California Consumer Privacy Act
                                                  (CCPA) regarding data that Patreon
                                                  controls as a Data Controller as de!ned
                                                  under the GDPR, including:

                                                      the right of access to their personal
                                                      data,
                                                      the right to correct or rectify any
                                                      inaccurate personal data,
                                                      the right to restrict or oppose the
                                                      processing of personal data,
                                                      the right to erase or delete their
                                                      personal data,
                                                      the right to personal data portability,
                                                      and
                                                      the right to opt-out of the sale of
                                                      personal information.

                                                  You can exercise rights over your data on
                                                  Patreon in the following ways:

                                                      accessing, reviewing, modifying, and
                                                      updating your data by logging into
                                                      your account at Patreon and going to
                                                      your account settings.
                                                      viewing our privacy policy or viewing
                                                      our data practices by going online to
                                                      our Patreon Privacy Center, where
                                                      the Data Practices tab describes
                                                      how we use your data, and the
                                                      Policies tab shows you our privacy
                                                      policy.
                                                      downloading your data to port it, or
                                                      deleting your data altogether, by


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                                                      clicking on the “Make a Privacy
                                                      Request” button at the Patreon
                                                      Privacy Center.
                                                      deleting a previously-disabled
                                                      account by emailing Patreon at
                                                      privacy@patreon.com.
                                                      opting out of marketing by entering
                                                      your email address at this opt out
                                                      link.
                                                      going to FAQ support online for
                                                      data-related issues, or calling our
                                                      U.S. toll-free phone number at 1
                                                      (833) 972-8766.

                                                  If you are unable to log into your account,
                                                  and are unable to recover your account
                                                  with a password reset in order to lodge
                                                  your privacy request, then you may reach
                                                  out to privacy@patreon.com. We
                                                  reserve the right to decline you access to
                                                  or recovery of your account, at our
                                                  discretion, to prevent an unauthorized
                                                  takeover of your account.




                                                  Account Holders with
                                                  Disabilities
                                                  Patreon is committed to accessibility for
                                                  its account holders with disabilities. If
                                                  you are having di$culty accessing your
                                                  account, please email us at
                                                  accessibility@patreon.com for
                                                  assistance.


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                                                  Contacting our Data
                                                  Protection Officers
                                                  If you have privacy concerns or
                                                  questions, you can contact our European
                                                  or US Data Protection O$cers (DPOs) via
                                                  email at privacy@patreon.com.

                                                  You may also mail a letter to the DPO with
                                                  your questions.

                                                      For US users, post should be sent to
                                                      "Patreon Privacy Team, 600
                                                      Townsend Street, Suite 500, San
                                                      Francisco, CA 94103"
                                                      For EU users, post should be sent to
                                                      "Patreon Privacy Team, Patreon
                                                      Ireland Limited, Suite 3, One Earlsfort
                                                      Center, Lower Hatch Street, Dublin 2,
                                                      Ireland"




                                                  Establishing an
                                                  Authorized Agent
                                                  You may designate an authorised agent
                                                  to make a request on your behalf. In order
                                                  to designate an authorised agent to
                                                  make a request on your behalf, you must
                                                  provide a valid power of attorney, the
                                                  requester’s valid government ID and the
                                                  authorised agent’s valid government ID.
                                                  Please contact privacy@patreon.com

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                                                  with your request. To protect your
                                                  information from account takeover, we
                                                  may decline access to or recovery of
                                                  your account at our discretion.




                                                  Prohibition against
                                                  Discrimination
                                                  We do not discriminate against users
                                                  who exercise their privacy rights.




                                                  Our Data Retention
                                                  Period
                                                  We retain your account information for
                                                  ten years after your account is last active
                                                  unless you delete, or you request that we
                                                  delete, your account. We may continue to
                                                  retain some information even after you
                                                  delete your account if we are required to
                                                  do so in order to comply with various
                                                  laws.




                                                  Security
                                                  The security of your personal information
                                                  is important to us and we follow industry
                                                  standards to protect it. You can learn
                                                  more on our Security Policy page.


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                                                  Children
                                                  Patreon is not intended for children
                                                  under the age of 13 and children may not
                                                  create an account or otherwise use
                                                  Patreon.




                                                  Changes
                                                  We may sometimes make changes to
                                                  this policy. If we make material changes
                                                  that adversely a"ect your rights under
                                                  this policy, we will let you know by
                                                  posting an announcement on the site or
                                                  sending you an email in advance of the
                                                  changes coming into e"ect. Continuing
                                                  to use Patreon after a change to this
                                                  policy means you accept the new policy.
                                                  If you have any questions, please email
                                                  privacy@patreon.com.




                                                  You can !nd the old Privacy Policy here.




                                                      Help Center & FAQs
                                                      App Directory
                                                      Creator Blog
                                                      Community Guidelines
                                                      Terms of Use


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                                                      Privacy Policy




                                                     Our Approach to Privacy     Return to Main Site




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       EXHIBIT 6
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                                                                                                      English




            The data we
            collect, how it's
            used, and who we
            share it with
            We care about your privacy and
            want to help you understand how
            we collect, use, and share your
            personal information. The data
            practices described in our
            Privacy Center apply to both
            patrons and creators.

            Show me how the Privacy
            Center works →




                                                                      Priv
                                                   Data                            View         Make a
                                                                      acy
                                                   Prac                            Past         Privacy
                                                                      Polic      Requests       Request
                                                   tices
                                                                       y



            PATREON
            PRIVACY                                         Patreon Privacy
            POLICY
                                                            Policy - Past Version
                  Welc…
                                                            Effective Date: November 18, 2020
                  Infor…

                 Patro…
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                 Patro…

                 Creat…                                          Welcome to Patreon!
                 Additi…
                                                                 Patreon is a platform where patrons can
                  Infor…                                         support and engage with creators. This
                                                                 updated Privacy Policy applies to
                  How …
                                                                 patrons, creators and all users of our
                  Infor…                                         platform, and is part of our Terms of Use.

                  Infor…
                                                                 Patreon is a global company. By using our
                  Infor…                                         platform, you agree that your personal
                                                                 information that you provide directly to
                  Infor…
                                                                 us, or that we collect through your use of
                  Your …                                         the platform, may be transferred to and
                                                                 stored in the United States and handled
                  Com…
                                                                 as described in this Policy.
                  Com…

                 Exerc…

                  Acco…                                          Information You
                  Cont…                                          Provide Through Your
                 Estab…                                          Account
                  Prohi…                                         This is information that you provide to us
                                                                 through text !elds, such as your name,
                 Our D…
                                                                 payment information and bene!ts. The
                 Secur…                                          information we collect di"ers depending
                  Child…
                                                                 on whether you make an account,
                                                                 become a patron or become a creator.
                 Chan…
                                                                        First and Last Name
                                                                        Email Address
            PATREON
                                                                        Username
            PRIVACY
                                                                        Password
                                                                        State and Country of Residence


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                                                                 You may also sign up using a Facebook
                                                                 or Google account. We will ask for
         We're                                                   permission to access basic information
        taking a                                                 from your Facebook or Google account,
       different                                                 such as your name, email and pro!le
       approach                                                  picture. You can choose to stop sharing
                                                                 that information with us at any time by
           to                                                    going to Facebook or Google to remove
        privacy                                                  Patreon’s access to that account and
                                                                 your ability to log in.

              Show                                               You also have the option to add more
              Me                                                 information to your public pro!le, such as
                                                                 a location, social media links and an
                                                                 about section, which we store along with
                                                                 any comments or messages you submit
                                                                 on Patreon.




                                                                 Patrons
                                                                 A patron is someone who joins Patreon’s
                                                                 membership platform to support a
                                                                 creator’s membership content. As a
                                                                 patron you must provide your payment
                                                                 information to our payment processors.
                                                                 You can see the Privacy Policy for these
                                                                 payment processors on the PayPal,
                                                                 Stripe, and Checkout sites. Patreon
                                                                 does not receive your full card number at
                                                                 this time. Payment processors provide us
                                                                 with a token that represents your
                                                                 account, your card’s expiration date, card
                                                                 type and the last four digits of your card
                                                                 number. If you are required to provide

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                                                                 your name and email address to the
                                                                 payment processor then they also
                                                                 provide us with that information.

                                                                 We collect and process information
                                                                 about the creators you support, the level
                                                                 at which you support them, what bene!ts
                                                                 you receive and how often you support
                                                                 them. As a patron, if you select a bene!t
                                                                 tier with a physical bene!t then you will
                                                                 provide your shipping information,
                                                                 including phone number, so the creator
                                                                 or Patreon can ship you the bene!t or
                                                                 provide updates related to the shipment.




                                                                 Creators
                                                                 A creator is someone who creates and
                                                                 provides content for their patrons
                                                                 through Patreon’s membership platform.
                                                                 To become a creator, you must create a
                                                                 page that describes what you are
                                                                 creating and any bene!ts you are
                                                                 o"ering. To receive payouts you have to
                                                                 create an account with one of our
                                                                 payment partners: PayPal, Stripe or
                                                                 Payoneer. We may also require your bank
                                                                 account information to process payouts.
                                                                 You must also provide us with additional
                                                                 information for tax purposes. Depending
                                                                 on your location you may have to !ll out a
                                                                 form with some combination of your:

                                                                        First and Last Name


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                                                                        Address
                                                                        Social Security Number or Employer
                                                                        Identi!cation Number
                                                                        Country of Citizenship
                                                                        Foreign Tax Identi!cation Number
                                                                        Date of Birth
                                                                        Your Nonpro!t Registration Number,
                                                                        if you are a nonpro!t business
                                                                        Bank Account Information for
                                                                        Payouts
                                                                        Phone Number




                                                                 Additional
                                                                 Information We
                                                                 Collect
                                                                 Automatically Collected
                                                                 Information
                                                                 We collect information automatically as
                                                                 you navigate the site or through our
                                                                 third-party analytics providers. We may
                                                                 store usage information such as the type
                                                                 of device you use to access Patreon,
                                                                 your operating system, browser type, IP
                                                                 address, device ID, the pages you visit or
                                                                 request, links clicked, referring sites, user
                                                                 interactions and your search terms. We
                                                                 also derive your location from your self-
                                                                 disclosed country, your IP address and
                                                                 your payment card.

                                                                 Forums and Messaging
                                                                 When you participate in a forum, we

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                                                                 collect the comments you make as well
                                                                 as record how many times users visit, the
                                                                 activity on the site, where users have
                                                                 replied, with whom they’ve
                                                                 communicated, private messages, IP
                                                                 address and from which location the user
                                                                 was last logged in. We use Discourse
                                                                 and Discord to help us host and operate
                                                                 our Forums. This means that they may
                                                                 access your information to help provide
                                                                 the Forum. You can !nd their privacy
                                                                 policies hyperlinked above.

                                                                 User Surveys
                                                                 From time to time, we may solicit your
                                                                 participation in user surveys. In order to
                                                                 better understand and serve our user
                                                                 base, we may ask you for demographic
                                                                 information, including information related
                                                                 to your gender, ethnicity, race, age,
                                                                 sexual orientation, earnings and
                                                                 accessibility, which you may choose to
                                                                 share or not. We collect such information
                                                                 to ensure we provide fair and equal
                                                                 access to our services and to showcase
                                                                 creators to patrons for greater
                                                                 discoverability. We will store your survey
                                                                 responses as and when you participate in
                                                                 the surveys.

                                                                 Event Information
                                                                 We may request information from you at
                                                                 in-person and online events. This is done
                                                                 to better tailor the event experience to
                                                                 those attending. This information may


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                                                                 include your name, email address,
                                                                 payment details, mobile phone number
                                                                 and QR code, demographic information,
                                                                 social media and other online accounts
                                                                 you maintain, details around the types of
                                                                 works you create, and survey or
                                                                 feedback responses.

                                                                 Blogs
                                                                 We may collect and store your email
                                                                 address, your comments and your pro!le
                                                                 information from our blog sites to better
                                                                 understand your interests and improve
                                                                 our services to you.




                                                                 Information Collected
                                                                 by Third Parties
                                                                 Cookies
                                                                 We use Cookies on our website that
                                                                 collect information to allow us and third
                                                                 parties to understand your use of
                                                                 Patreon. Please see our cookie policy for
                                                                 more information on our use of cookies
                                                                 on Patreon.

                                                                 Social Media Features and Widgets
                                                                 We use social media features, including
                                                                 the Facebook Like button and widgets,
                                                                 such as the Share button or similar
                                                                 interactive mini-programs that run on
                                                                 Patreon. If you provide your social media
                                                                 information to us, we may use it to


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                                                                 interact with you on these social
                                                                 networks. These features may collect
                                                                 your IP address and other personal data,
                                                                 including which page you are visiting on
                                                                 our site, and may set a cookie to enable
                                                                 the feature to function properly. Social
                                                                 media features and widgets are either
                                                                 hosted by a third party or directly on
                                                                 Patreon. Your interactions with these
                                                                 Features are governed by the privacy
                                                                 policy of the company providing it. For
                                                                 more information on the technologies
                                                                 used by these social networks, please
                                                                 refer to their speci!c privacy notices. We
                                                                 have provided links to the most used
                                                                 social networks below for easy reference:

                                                                        Facebook:
                                                                        https://www.facebook.com/about/privacy/
                                                                        Twitter: https://twitter.com/privacy
                                                                        YouTube:
                                                                        https://policies.google.com/privacy
                                                                        Instagram:
                                                                        https://help.instagram.com/155833707900388
                                                                        Twitch:
                                                                        https://www.twitch.tv/p/legal/privacy-
                                                                        notice/



                                                                 How We Use Your
                                                                 Information
                                                                 We process your information to:

                                                                        verify your identity to comply with
                                                                        US federal, state, and international

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                                                                        laws
                                                                        allow you to sign in to your account
                                                                        ● allow you to support a creator’s
                                                                        membership programme on Patreon
                                                                        process membership payments and
                                                                        payouts
                                                                        send merchandise to your shipping
                                                                        address
                                                                        send you emails relevant to your
                                                                        usage, as controlled by your email
                                                                        preferences
                                                                        reply to your questions
                                                                        provide to you existing and
                                                                        enhanced services related to your
                                                                        Patreon account
                                                                        promote your Patreon account for
                                                                        greater discoverability
                                                                        spotlight and celebrate creators
                                                                        market Patreon products and
                                                                        services to you or to audiences
                                                                        similar to you based on your
                                                                        networks and common factors that
                                                                        others have with you, unless you opt
                                                                        out, as controlled by your email
                                                                        preferences
                                                                        understand how you use the service
                                                                        and create better tools for creators
                                                                        to serve patrons
                                                                        conduct research and development
                                                                        to improve Patreon and develop
                                                                        future products
                                                                        prevent fraud and abuse on Patreon
                                                                        provide you with reasonable
                                                                        accommodation, if you notify us of a
                                                                        disability


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                                                                 Information We Share
                                                                 with Creators
                                                                 By becoming a patron of a creator, you
                                                                 agree to have the following information
                                                                 shared with that creator:

                                                                        your name and email address, and
                                                                        other pro!le information you’ve
                                                                        provided
                                                                        any messages you send creators
                                                                        through Patreon
                                                                        your physical address, city, state,
                                                                        and country
                                                                        your phone number, when you have
                                                                        signed up to support a creator who
                                                                        engages with you via text messages,
                                                                        when you are receiving a bene!t that
                                                                        requires shipping, or when you have
                                                                        signed up for event noti!cations via
                                                                        text
                                                                        all information about your pledge,
                                                                        including amount and start date but
                                                                        not your full payment card
                                                                        information
                                                                        some aggregated and anonymised
                                                                        data about how you use Patreon that
                                                                        cannot be linked back to you or to
                                                                        any individual user

                                                                 Creators agree to the terms of our Data
                                                                 Processing Agreement (DPA) when they

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                                                                 start their membership programme. This
                                                                 DPA is called the Creator Privacy
                                                                 Promise. The Creator Privacy Promise is
                                                                 a creator’s promise to protect the privacy
                                                                 of their patrons during and beyond their
                                                                 Patreon relationship. You can view a copy
                                                                 of the Creator Privacy Promise here.




                                                                 Information We Share
                                                                 with Third Parties
                                                                 We never sell your information to third
                                                                 parties. We will only share data with third
                                                                 parties, other than with creators, under
                                                                 the following circumstances:

                                                                        with your consent, to creators’
                                                                        service providers, to deliver bene!ts,
                                                                        such as shipping packages to you.
                                                                        You should read these service
                                                                        providers’ privacy policies to see
                                                                        how they use and share your data.
                                                                        with our service providers, who are
                                                                        companies that are contractually
                                                                        engaged with us to provide us with
                                                                        services, such as order ful!lment,
                                                                        email management, analysing data
                                                                        trends, credit card processing, multi-
                                                                        currency settlement solutions,
                                                                        increasing our brand awareness and
                                                                        user engagement with marketing
                                                                        initiatives, and fraud detection and
                                                                        prevention. These companies may


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                                                                        have access to your data to perform
                                                                        their services, and are obligated by
                                                                        contract to safeguard any of your
                                                                        data they receive from us to the
                                                                        same extent that Patreon protects it.
                                                                        to protect the security or integrity of
                                                                        Patreon as well as to protect the
                                                                        rights, property and safety of
                                                                        Patreon, its employees, users or
                                                                        others if we believe that disclosure is
                                                                        reasonably necessary to comply
                                                                        with a law, regulation or other valid
                                                                        legal process (e.g. subpoenas or
                                                                        warrants served on Patreon). If we
                                                                        are going to release your data, we
                                                                        will do our best to promptly notify
                                                                        you by email unless we are
                                                                        prohibited by law from doing so.
                                                                        in connection with the sale, merger,
                                                                        bankruptcy, sale of assets or
                                                                        reorganisation of our company. We
                                                                        will notify you if a di"erent company
                                                                        receives your data. The promises in
                                                                        this privacy policy apply to any data
                                                                        transferred to a new entity.
                                                                        with third-party apps used by
                                                                        creators to help run their
                                                                        membership programmes. There is a
                                                                        list of apps in our apps directory.
                                                                        While we try to keep this list up to
                                                                        date, we often experiment with new
                                                                        third-party app providers and this
                                                                        list may not be exhaustive.
                                                                        with partners in our Partners
                                                                        Directory who may have access to


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                                                                        your data to perform their services
                                                                        and who are obligated by contract to
                                                                        safeguard any of your data they
                                                                        receive from us to the same extent
                                                                        that Patreon protects it.



                                                                 Information Patreon
                                                                 Collects from Third
                                                                 Party Apps
                                                                 When you create a Patreon account, you
                                                                 can elect to connect your social
                                                                 account(s) (e.g. Twitter, Facebook,
                                                                 Google, YouTube and Twitch) with
                                                                 Patreon and we will collect and store
                                                                 some social information from those
                                                                 platforms, such as:

                                                                        follower or subscriber counts
                                                                        post or upload counts
                                                                        view, like, and comment counts

                                                                 This social information allows us to
                                                                 provide you with a better Patreon
                                                                 experience and also helps guide future
                                                                 development of Patreon. We use this
                                                                 data to:

                                                                        help creators and patrons !nd each
                                                                        other on Patreon
                                                                        assess how to make creators more
                                                                        successful on Patreon
                                                                        analyse and describe our business




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                                                                 Information We Share
                                                                 with the Public
                                                                 The following information is publicly
                                                                 accessible:

                                                                        your pro!le and your social media
                                                                        links and location if you add that
                                                                        information
                                                                        the creators you support are publicly
                                                                        displayed by default. If you #ag your
                                                                        account as private, we will not
                                                                        display the creators you support
                                                                        any posts, likes or comments you
                                                                        make
                                                                        your aggregated or anonymised
                                                                        usage data in blog posts, press
                                                                        releases or in other ways to share
                                                                        information about Patreon’s usage.
                                                                        Aggregated or anonymised data
                                                                        cannot be linked back to any
                                                                        individual Patreon user
                                                                        monthly pledge value and goals that
                                                                        creators choose to make public
                                                                        number of patrons




                                                                 Your Preferences and
                                                                 Rights over Data
                                                                 Choosing Your Preferences
                                                                 The Settings link is located by clicking on
                                                                 your avatar or pro!le at the top right-
                                                                 hand of your screen, after your log into

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                                                                 your Patreon account. Settings lets you
                                                                 see your account preferences. You can
                                                                 see and adjust your settings by viewing
                                                                 your preferences and, if you wish, by
                                                                 changing your selections.

                                                                 Marketing Activities
                                                                 By agreeing to our terms of use, you
                                                                 expressly agree that Patreon may:

                                                                        provide you with information about
                                                                        your service, service enhancements
                                                                        or new Patreon products while you
                                                                        are on our website or using our apps.
                                                                        send you messages regarding your
                                                                        existing service or enhancements
                                                                        related to your existing service when
                                                                        you are o" our platform via email or
                                                                        via text if you have signed up for a
                                                                        service or event noti!cation that
                                                                        uses text messages.
                                                                        send you messages related to
                                                                        services we provide which are
                                                                        separate from your existing service
                                                                        via email, which you may opt out of.
                                                                        market Patreon to you and
                                                                        audiences similar to you based on
                                                                        your networks and common factors
                                                                        that others have with you unless you
                                                                        opt out.
                                                                        send you marketing emails or texts if
                                                                        you don’t have a Patreon account
                                                                        but have consented to receiving
                                                                        such messages, which you may opt
                                                                        out of.
                                                                        ask for demographic information to

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                                                                        spotlight and celebrate creators.
                                                                        promote your account for greater
                                                                        discoverability.
                                                                        ship physical items to you via mail as
                                                                        part of a promotional activity.

                                                                 Opting out of Marketing
                                                                 You may object to the use of your data
                                                                 for marketing purposes at any time, free
                                                                 of charge, when we collect your personal
                                                                 information and in every marketing
                                                                 communication. You may also object to
                                                                 the use of your data for marketing upon
                                                                 creation of your account or anytime
                                                                 thereafter by opting out here.

                                                                 Opting out will stop marketing emails.
                                                                 Please allow up to 30 days for your opt-
                                                                 out request to be processed. If you have
                                                                 an account with Patreon, you will
                                                                 continue to receive service-related
                                                                 emails and texts if you have opted into
                                                                 receiving texts. You will also continue to
                                                                 receive service-related shipments of
                                                                 bene!ts to the designated delivery
                                                                 address.

                                                                 We will never sell your information to
                                                                 third parties for marketing purposes
                                                                 without your prior consent.

                                                                 Accessing, Updating or Exporting
                                                                 the Information in Your Account
                                                                 You can access and update certain
                                                                 information associated with your account
                                                                 on the settings pages. Additionally, you

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                                                                 can delete your account or export your
                                                                 personal information by going to
                                                                 privacy.patreon.com.

                                                                 Deleting Your Account
                                                                 You may self-initiate a deletion of your
                                                                 account directly at privacy.patreon.com
                                                                 by clicking on the Make a Privacy
                                                                 Request button and submitting an
                                                                 "Erase" request. Please be aware that this
                                                                 action is !nal and cannot be reversed. If
                                                                 you would like to transport your data,
                                                                 please be sure to download your data
                                                                 !rst before you delete your account.

                                                                 Turning off Email Notifications
                                                                 You can change your email noti!cations
                                                                 in your email settings. While this allows
                                                                 you to stop many noti!cation emails, we
                                                                 will still send some critical service emails.

                                                                 Turning off Mobile Notifications
                                                                 If you download the Patreon App you may
                                                                 also receive noti!cations on your mobile
                                                                 device. These can be disabled in the App
                                                                 settings.

                                                                 Verification of Requests
                                                                 Users maintain password-protected
                                                                 accounts with Patreon. If you submit a
                                                                 request to exercise your privacy rights,
                                                                 you will be asked to verify the request by
                                                                 logging in to your Patreon account.

                                                                 If we are unable to verify your request
                                                                 then, for your protection, we reserve the

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                                                                 right to deny the request.




                                                                 Compliance with EU
                                                                 Privacy Laws and
                                                                 Privacy Shield
                                                                 Patreon is an international company that
                                                                 complies with the General Data
                                                                 Protection Regulation (GDPR). We act as
                                                                 Data Controllers, as de!ned under the
                                                                 GDPR, and we process personal data
                                                                 based on our legitimate interests and for
                                                                 contractual necessity in providing you
                                                                 the Service, as described in "How We Use
                                                                 Your Information". We also process and
                                                                 share personal information based on
                                                                 noti!cation and users’ consent, which
                                                                 our users may revoke at any time.

                                                                 Patreon relies on various legal bases to
                                                                 lawfully execute international transfers of
                                                                 personal information, including standard
                                                                 contract clauses approved by the
                                                                 European Commission.

                                                                 Patreon complies with the EU-US Privacy
                                                                 Shield Framework and Swiss-US Privacy
                                                                 Shield Framework as set forth by the US
                                                                 Department of Commerce regarding the
                                                                 collection, use and retention of personal
                                                                 information transferred from the
                                                                 European Union and Switzerland to the
                                                                 United States. Patreon has certi!ed to
                                                                 the Department of Commerce that it

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                                                                 adheres to the Privacy Shield Principles.
                                                                 If there is any con#ict between the terms
                                                                 in this Privacy Policy and the Privacy
                                                                 Shield Principles, the Privacy Shield
                                                                 Principles take precedence. To learn
                                                                 more about the Privacy Shield
                                                                 programme and to view our certi!cation,
                                                                 please visit
                                                                 https://www.privacyshield.gov/.

                                                                 Under limited circumstances you may
                                                                 invoke binding arbitration before the
                                                                 Privacy Shield Panel. More Information
                                                                 about this arbitration process can be
                                                                 found at
                                                                 https://www.privacyshield.gov/article?
                                                                 id=G-Arbitration-Procedures.

                                                                 Patreon is responsible for the processing
                                                                 of personal information it receives or
                                                                 subsequently transfers to a third party
                                                                 acting as an agent on Patreon’s behalf.
                                                                 Patreon complies with the Privacy Shield
                                                                 Principles for all onward transfers of
                                                                 personal information, including the
                                                                 onward transfer liability provisions.

                                                                 With respect to the personal information
                                                                 received or transferred pursuant to the
                                                                 Privacy Shield Frameworks, Patreon is
                                                                 subject to the regulatory enforcement
                                                                 powers of the US Federal Trade
                                                                 Commission.




                                                                 Compliance with
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                                                                 Compliance with
                                                                 California Privacy
                                                                 Laws
                                                                 Patreon’s headquarters are located in
                                                                 California, USA, and we are subject to the
                                                                 California Consumer Privacy Act.

                                                                 E"ective 1 January 2020, the California
                                                                 Consumer Privacy Act (CCPA) allows
                                                                 California residents to request access to
                                                                 the speci!c pieces and categories of
                                                                 personal information that the business
                                                                 has collected about the consumer, the
                                                                 categories of sources for that
                                                                 information, the business or commercial
                                                                 purposes for collecting the information,
                                                                 and the categories of third parties with
                                                                 which the information was shared.

                                                                 Patreon provides California residents and
                                                                 all users with the right to view, access or
                                                                 transport their information at the
                                                                 Patreon Privacy Center. All users also
                                                                 have the right to submit a request for
                                                                 deletion of information by going to the
                                                                 Patreon Privacy Center, clicking on the
                                                                 "Make a Privacy Request" button and
                                                                 requesting "Erase".




                                                                 Exercising Your Data
                                                                 Rights
                                                                 Users in certain locations may have


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                                                                 certain rights under the General Data
                                                                 Protection Regulation (GDPR) or under
                                                                 the California Consumer Privacy Act
                                                                 (CCPA) regarding data that Patreon
                                                                 controls as a Data Controller as de!ned
                                                                 under the GDPR, including:

                                                                        the right of access to their personal
                                                                        data,
                                                                        the right to correct or rectify any
                                                                        inaccurate personal data,
                                                                        the right to restrict or oppose the
                                                                        processing of personal data,
                                                                        the right to erase or delete their
                                                                        personal data,
                                                                        the right to personal data portability,
                                                                        and
                                                                        the right to opt-out of the sale of
                                                                        personal information.

                                                                 You can exercise rights over your data on
                                                                 Patreon in the following ways:

                                                                        accessing, reviewing, modifying, and
                                                                        updating your data by logging into
                                                                        your account at Patreon and going to
                                                                        your account settings.
                                                                        viewing our privacy policy or viewing
                                                                        our data practices by going online to
                                                                        our Patreon Privacy Center, where
                                                                        the Data Practices tab describes
                                                                        how we use your data, and the
                                                                        Policies tab shows you our privacy
                                                                        policy.
                                                                        downloading your data to port it, or
                                                                        deleting your data altogether, by


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                                                                        clicking on the “Make a Privacy
                                                                        Request” button at the Patreon
                                                                        Privacy Center.
                                                                        deleting a previously-disabled
                                                                        account by emailing Patreon at
                                                                        privacy@patreon.com.
                                                                        opting out of marketing by entering
                                                                        your email address at this opt out
                                                                        link.
                                                                        going to FAQ support online for
                                                                        data-related issues, or calling our
                                                                        U.S. toll-free phone number at 1
                                                                        (833) 972-8766.

                                                                 If you are unable to log into your account,
                                                                 and are unable to recover your account
                                                                 with a password reset in order to lodge
                                                                 your privacy request, then you may reach
                                                                 out to privacy@patreon.com. We
                                                                 reserve the right to decline you access to
                                                                 or recovery of your account, at our
                                                                 discretion, to prevent an unauthorized
                                                                 takeover of your account.




                                                                 Account Holders with
                                                                 Disabilities
                                                                 Patreon is committed to accessibility for
                                                                 its account holders with disabilities. If
                                                                 you are having di$culty accessing your
                                                                 account, please email us at
                                                                 accessibility@patreon.com for
                                                                 assistance.


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                                                                 Contacting our Data
                                                                 Protection Officers
                                                                 If you have privacy concerns or
                                                                 questions, you can contact our European
                                                                 or US Data Protection O$cers (DPOs) via
                                                                 email at privacy@patreon.com.

                                                                 You may also mail a letter to the DPO with
                                                                 your questions.

                                                                        For US users, post should be sent to
                                                                        "Patreon Privacy Team, 600
                                                                        Townsend Street, Suite 500, San
                                                                        Francisco, CA 94103"
                                                                        For EU users, post should be sent to
                                                                        "Patreon Privacy Team, Patreon
                                                                        Ireland Limited, Suite 3, One Earlsfort
                                                                        Center, Lower Hatch Street, Dublin 2,
                                                                        Ireland"




                                                                 Establishing an
                                                                 Authorized Agent
                                                                 You may designate an authorised agent
                                                                 to make a request on your behalf. In order
                                                                 to designate an authorised agent to
                                                                 make a request on your behalf, you must
                                                                 provide a valid power of attorney, the
                                                                 requester’s valid government ID and the
                                                                 authorised agent’s valid government ID.
                                                                 Please contact privacy@patreon.com

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                                                                 with your request. To protect your
                                                                 information from account takeover, we
                                                                 may decline access to or recovery of
                                                                 your account at our discretion.




                                                                 Prohibition against
                                                                 Discrimination
                                                                 We do not discriminate against users
                                                                 who exercise their privacy rights.




                                                                 Our Data Retention
                                                                 Period
                                                                 We retain your account information for
                                                                 ten years after your account is last active
                                                                 unless you delete, or you request that we
                                                                 delete, your account. We may continue to
                                                                 retain some information even after you
                                                                 delete your account if we are required to
                                                                 do so in order to comply with various
                                                                 laws.




                                                                 Security
                                                                 The security of your personal information
                                                                 is important to us and we follow industry
                                                                 standards to protect it. You can learn
                                                                 more on our Security Policy page.


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                                                                 Children
                                                                 Patreon is not intended for children
                                                                 under the age of 13 and children may not
                                                                 create an account or otherwise use
                                                                 Patreon.




                                                                 Changes
                                                                 We may sometimes make changes to
                                                                 this policy. If we make material changes
                                                                 that adversely a"ect your rights under
                                                                 this policy, we will let you know by
                                                                 posting an announcement on the site or
                                                                 sending you an email in advance of the
                                                                 changes coming into e"ect. Continuing
                                                                 to use Patreon after a change to this
                                                                 policy means you accept the new policy.
                                                                 If you have any questions, please email
                                                                 privacy@patreon.com.




                                                                 You can !nd the old Privacy Policy here.




                                                                        Help Center & FAQs
                                                                        App Directory
                                                                        Creator Blog
                                                                        Community Guidelines
                                                                        Terms of Use


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                                                                        Privacy Policy




                                                                       Our Approach to Privacy   Return to Main Site




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                                        Patreon is getting a new look!
              We’re slowly releasing an updated navigation experience for creators and patrons.
              Learn more about what’s changing here.


                                                                                                                  Visit Patreon U


                                                                                    !
                   Patreon Help Center > Security and Guidelines >                         Search

                   Policies




                   Policies                           Former Patreon Privacy Policy
                        Impact of                     Welcome to Patreon!
                        international
                        sanctions against             Patreon is a platform where patrons can support and engage with creators. This

                        Russia                        updated Privacy Policy applies to patrons, creators, and all users of our platform,
                                                      and is part of our Terms of Use.
                        Why can't I view or
                                                      Patreon is a global company. By using our platform, you agree that your personal
                        create adult
                                                      information that you provide directly to us, or that we collect through your use of
                        content in my
                                                      the platform, may be transferred to and stored in the United States and handled
                        country?
                                                      as described in this Policy.

                        Former Patreon
                        Privacy Policy
                                                      Information You Provide Through Your
                        Sanctions Policy
                                                      Account
                        Patreon's refund
                                                      This is information that you provide to us through text fields, such as your name,
                        policy
                                                      payment information, and benefits. The information we collect differs depending
                                                      on if you make an account, become a patron, or become a creator.


                                                            First and Last Name
                                                            Email address
                                                            Username
                                                            Password


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                                                            State and Country of Residence.

                                                      You may also sign up using a Facebook or Google account. We will ask
                                                      permission to access basic information from your Facebook or Google account,
                                                      such as your name, email, and profile picture. You can choose to stop sharing
                                                      that information with us at any time by going to Facebook or Google to remove
                                                      Patreon’s access to that account and your ability to log in.



                                                      You also have the option to add more information to your public profile, such as
                                                      a location, social media links, and an about section, which we store along with
                                                      any comments or messages you submit on Patreon.




                                                      Patrons
                                                      A patron is someone who joins Patreon’s membership platform to support a
                                                      creator’s membership content. As a patron, you must provide your payment
                                                      information to our payment processors. You can find the privacy policy for these
                                                      payment processors on the PayPal, Stripe, and Checkout sites. At this time,
                                                      Patreon does not receive your full card number. Payment processors provide us
                                                      with a token that represents your account, your card’s expiration date, card type,
                                                      and the last four digits of your card number. If you are required to provide your
                                                      name and email address to the payment processor, then they also provide us
                                                      with that information.



                                                      We collect and process information about the creators you support, the level at
                                                      which you support them, what benefits you receive, and how often you support
                                                      them. As a patron, if you select a benefit tier with a physical benefit, then you
                                                      will provide your shipping information, including phone number, so the creator
                                                      or Patreon can ship you the benefit, or provide updates related to the shipment.


                                                      Creators
                                                      A creator is someone who creates and provides content for their patrons through
                                                      Patreon’s membership platform. To become a creator, you must create a page
                                                      that describes what you are creating and any benefits you are offering. To

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                                                      receive payouts you have to create an account with one of our payment partners:
                                                      PayPal, Stripe, or Payoneer. We may also require your bank account information
                                                      to process payouts. You must also provide us with additional information for tax
                                                      purposes. Depending on your location you may have to fill out a form with some
                                                      combination of your:

                                                            First and Last Name
                                                            Address
                                                            Social Security Number or Employer Identification Number
                                                            Country of citizenship
                                                            Foreign tax identification number
                                                            Date of birth
                                                            Your nonprofit registration number, if you are a nonprofit business
                                                            Bank account information for payouts
                                                            Phone Number


                                                      Additional Information We Collect
                                                      Automatically Collected Information

                                                      We collect information automatically as you navigate the site or through our
                                                      third party analytics providers. We may store usage information such as the type
                                                      of device you use to access Patreon, your operating system, browser type, IP
                                                      address, and device ID, the pages you visit or request, links clicked, referring
                                                      sites, user interactions, and your search terms. We also derive your location from
                                                      your self-disclosed country, your IP address, and your payment card.


                                                      Forums and Messaging

                                                      When you participate in a forum, we collect the comments you make as well as
                                                      record how many times users visit, the activity on the site, where users have
                                                      replied, with whom they’ve communicated, private messages, IP address, and
                                                      from which location the user was last lo!ed in. We use Discourse and Discord
                                                      to help us host and operate our Forums. This means that they may access your
                                                      information to help provide the Forum. You can find their privacy policies
                                                      hyperlinked above.




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                                                      User Surveys

                                                      From time to time, we may solicit your participation in user surveys. We may ask
                                                      you for demographic information, including information related to your gender,
                                                      ethnicity, race, age, sexual orientation, earnings, and accessibility to better
                                                      understand and serve our user base which you may elect to share or not. We
                                                      collect such information to ensure we provide fair and equal access to our
                                                      services and to showcase creators to patrons for greater discoverability. To the
                                                      extent that you participate, we will store your survey responses.


                                                      Event Information

                                                      At in-person and online events, we may request information from you. This is
                                                      done to better tailor the event experience to those in attendance. This
                                                      information may include your name, email address, payment details, mobile
                                                      phone number and QR code, demographic information, social media and other
                                                      online accounts you maintain, details around the types of works you create, and
                                                      survey or feedback responses.


                                                      Blogs

                                                      We may collect and store your email address, your comments, and your profile
                                                      information from our blog sites to better understand your interests and improve
                                                      our services to you.


                                                      Information Collected by Third Parties
                                                      Cookies

                                                      We use Cookies on our website that collect information to allow us and third
                                                      parties to understand your use of Patreon. Please find our cookie policy for more
                                                      information on our use of cookies on Patreon.


                                                      Social Media Features and Widgets

                                                      We use social media features, including the Facebook Like button and widgets,
                                                      such as the Share button or similar interactive mini-programs that run on
                                                      Patreon. If you provide your social media information to us, we may use it to


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                                                      interact with you on these social networks. These features may collect your IP
                                                      address and other personal data including which page you are visiting on our
                                                      site and may set a cookie to enable the feature to function properly. Social
                                                      media features and widgets are either hosted by a third party or hosted directly
                                                      on Patreon. Your interactions with these Features are governed by the privacy
                                                      policy of the company providing it. For more information on the technologies
                                                      used by these social networks, please refer to their specific privacy notices. We
                                                      have provided links to the most used social networks below for easy reference:

                                                            Facebook: https://www.facebook.com/about/privacy/
                                                            Twitter: https://twitter.com/privacy
                                                            YouTube: https://policies.google.com/privacy
                                                            Instagram: https://help.instagram.com/155833707900388
                                                            Twitch: https://www.twitch.tv/p/legal/privacy-notice/


                                                      How We Use Your Information
                                                      We process your information to:

                                                            verify your identity to comply with US federal, state, and international laws
                                                            allow you to sign in to your account
                                                            allow you to support a creator’s membership program on Patreon
                                                            process membership payments and payouts
                                                            send merchandise to your shipping address
                                                            send you emails relevant to your usage, as controlled by your email
                                                            preferences
                                                            reply to your questions
                                                            provide to you existing and enhanced services related to your Patreon
                                                            account
                                                            promote your Patreon account for greater discoverability
                                                            spotlight and celebrate creators
                                                            market Patreon products and services to you or to audiences similar to you
                                                            based on your networks and common factors that others have with you,
                                                            unless you opt out, as controlled by your email preferences
                                                            understand how you use the service, and create better tools for creators to
                                                            serve patrons
                                                            conduct research and development to improve Patreon and develop future


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                                                            products
                                                            prevent fraud and abuse on Patreon
                                                            provide you with reasonable accommodation, if you notify us of a disability



                                                      Information We Share with Creators
                                                      By becoming a patron of a creator, you agree to have the following information
                                                      shared with that creator:

                                                            your name and email address, and other profile information you’ve
                                                            provided
                                                            any messages you send creators through Patreon
                                                            your physical address, city, state, and country
                                                            your phone number, when you have signed up to support a creator who
                                                            engages with you via text messages, when you are receiving a benefit that
                                                            requires shipping, or when you have signed up for event notifications via
                                                            text.
                                                            all information about your pledge, including amount and start date, but not
                                                            your full payment card information
                                                            some a!regated and anonymized data about how you use Patreon that
                                                            cannot be linked back to you or to any individual user

                                                      Creators agree to the terms of our Data Processing Agreement (DPA) when they
                                                      start their membership program. This DPA is called the Creator Privacy Promise.
                                                      The Creator Privacy Promise is a creator’s promise to protect the privacy of their
                                                      patrons during and beyond their Patreon relationship. You can view a copy of the
                                                      Creator Privacy Promise here.


                                                      Information We Share with Third Parties
                                                      We never sell your information to third parties. We will only share data with third
                                                      parties, other than with creators, under the following circumstances:

                                                            with your consent, to creators’ service providers, to deliver benefits, such
                                                            as to ship packages to you. You should read these service providers’
                                                            privacy policies to find how they use and share your data.
                                                            with our service providers, who are companies that are contractually


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                                                            engaged with us to provide us with services, such as order fulfillment,
                                                            email management, analyzing data trends, credit card processing, multi
                                                            currency settlement solutions, increasing our brand awareness and user
                                                            engagement with marketing initiatives, and fraud detection and prevention.
                                                            These companies may have access to your data to perform their services
                                                            and are obligated by contract to safeguard any of the data they receive
                                                            from us to the same extent that Patreon protects it.
                                                            to protect the security or integrity of Patreon, and to protect the rights,
                                                            property, or safety of Patreon, its employees, users, or others, if we believe
                                                            that disclosure is reasonably necessary to comply with a law, regulation, or
                                                            another valid legal process (e.g., subpoenas or warrants served on
                                                            Patreon). If we are going to release your data, we will do our best to provide
                                                            you promptly with notice by email, unless we are prohibited by law from
                                                            doing so.
                                                            in connection with the sale, merger, bankruptcy, sale of assets, or
                                                            reorganization of our company. We will notify you if a different company
                                                            receives your data. The promises in this privacy policy apply to any data
                                                            transferred to a new entity.
                                                            with third party apps used by creators to help run their membership
                                                            programs. There is a list of apps in our apps directory. While we try to keep
                                                            this list up to date, we often experiment with new third party app
                                                            providers, and this list may not be exhaustive.
                                                            with partners in our Partners Directory, who may have access to your data
                                                            to perform their services, and who are obligated by contract to safeguard
                                                            any of your data they receive from us to the same extent that Patreon
                                                            protects it.


                                                      Information Patreon Collects from Third
                                                      Party Apps
                                                      When you create a Patreon account, you can elect to connect your social
                                                      account(s) (e.g. Twitter, Facebook, Google, YouTube, Twitch) with Patreon, and
                                                      we will collect and store some social information from those platforms, such as:

                                                            follower or subscriber counts,
                                                            post or upload counts,


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                                                            view, like, and comment counts.


                                                      This social information allows us to provide you a better Patreon experience and
                                                      also helps guide the future development of Patreon. We use this data to:

                                                            help creators and patrons find each other on Patreon
                                                            assess how to make creators more successful on Patreon
                                                            analyze and describe our business


                                                      Information We Share with the Public
                                                      The following information is publicly accessible:

                                                            your profile, and your social media links and location if you add that
                                                            information
                                                            by default, the creators you support are publicly displayed. If you flag your
                                                            account as private, we will not display the creators you support
                                                            any posts, likes, or comments you make
                                                            your a!regated or anonymized usage data in blog posts, press releases, or
                                                            in other ways to share information about Patreon’s usage. A!regated or
                                                            anonymized data cannot be linked back to any individual Patreon user.
                                                            monthly pledge value and goals that creators choose to make public
                                                            number of patrons


                                                      Your Preferences and Rights over Data
                                                      Choosing Your Preferences

                                                      The Settings link is located by clicking on your avatar or profile at the top right
                                                      hand of your screen, after your log into your Patreon account. Settings lets you
                                                      find your account preferences. You can find and adjust your settings by viewing
                                                      your preferences and, if you wish, by changing your selections.


                                                      Marketing Activities

                                                      By agreeing to our terms of use, you expressly agree that Patreon may:


                                                            provide you with information about your service, service enhancements, or


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                                                            new Patreon products, while you are on our web site or using our apps.
                                                            send you messages regarding your existing service, or enhancements
                                                            related to your existing service, when you are off our platform, via email, or
                                                            via text, if you have signed up for a service or event notification that uses
                                                            text messages.
                                                            send you messages related to services we provide that are separate from
                                                            your existing service via email, from which you may opt out.
                                                            market Patreon to you and audiences similar to you based on your
                                                            networks and common factors that others have with you unless you opt out
                                                            to send you marketing emails or texts if you don’t have a Patreon account
                                                            but have consented to receive such messages, from which you may opt
                                                            out.
                                                            ask for demographic information to spotlight and celebrate creators
                                                            promote your account for greater discoverability
                                                            ship physical items to you via mail as part of a promotional activity


                                                      Opting out of Marketing

                                                      You may object to the use of your data for marketing purposes at any time, free
                                                      of charge, when we collect your personal information and in every marketing
                                                      communication. You may also object to the use of your data for marketing upon
                                                      creation of your account or anytime thereafter, by opting out here.

                                                      Opting out will stop marketing emails. Please allow up to 30 days for your opt-
                                                      out request to be processed. If you have an account with Patreon, you will
                                                      continue to receive service-related emails, and texts, if you have opted into
                                                      receiving texts. You will also continue to receive service-related shipments of
                                                      benefits to the designated delivery address.

                                                      We will never sell your information to third parties for marketing purposes
                                                      without your prior consent.


                                                      Accessing, Updating or Exporting the Information in Your Account

                                                      You can access and update certain information associated with your account on
                                                      the settings pages. Additionally, you can delete your account, or export your
                                                      personal information, by going to privacy.patreon.com.




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                                                      Deleting Your Account

                                                      You may self-initiate a deletion of your account directly at privacy.patreon.com,
                                                      clicking on the Take Control button, and submitting an “Erase” request. Please
                                                      be aware that this is a final act and cannot be reversed. If you would like to
                                                      transport your data, please be sure to download your data first, before you
                                                      delete your account.


                                                      Turning off Email Notifications

                                                      You can change your email notifications in your email settings. While this allows
                                                      you to stop many notification emails, we will still send some critical service
                                                      emails.


                                                      Turning off Mobile Notifications

                                                      If you download the Patreon App you may also receive notifications on your
                                                      mobile device. These can be disabled in the App settings.


                                                      Verification of Requests

                                                      Users maintain password protected accounts with Patreon. If you submit a
                                                      request to exercise your privacy rights, you will be asked to verify the request by
                                                      lo!ing into your Patreon account.

                                                      If we are unable to verify your request, then for your protection, we reserve the
                                                      right to deny the request.


                                                      Compliance with EU Privacy Laws and
                                                      Privacy Shield
                                                      Patreon is an international company that complies with the General Data
                                                      Protection Regulation (GDPR). We act as Data Controllers, as defined under the
                                                      GDPR, and process personal data based on our legitimate interests, and for
                                                      contractual necessity in providing you the Service as described in “How We Use
                                                      Your Information.” We also process and share personal information based on
                                                      notification and users’ consent, which our users may revoke at any time.



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                                                      Patreon complies with the EU-U.S. Privacy Shield Framework and Swiss-U.S.
                                                      Privacy Shield Framework as set forth by the U.S. Department of Commerce
                                                      regarding the collection, use, and retention of personal information transferred
                                                      from the European Union and Switzerland to the United States. Patreon has
                                                      certified to the Department of Commerce that it adheres to the Privacy Shield
                                                      Principles. If there is any conflict between the terms in this privacy policy and
                                                      the Privacy Shield Principles, the Privacy Shield Principles shall govern. To learn
                                                      more about the Privacy Shield program, and to view our certification, please visit
                                                      https://www.privacyshield.gov/


                                                      Compliance with California Privacy
                                                      Laws
                                                      Patreon’s headquarters are located in California, USA, and we are subject to the
                                                      California Consumer Privacy Act.

                                                      Effective January 1, 2020, the California Consumer Privacy Act (CCPA) allows
                                                      California residents to request access to the specific pieces and categories of
                                                      personal information that the business has collected about the consumer, the
                                                      categories of sources for that information, the business or commercial purposes
                                                      for collecting the information, and the categories of third parties with which the
                                                      information was shared.

                                                      Patreon provides California residents, and all users, the right to view, access, or
                                                      transport their information at the Patreon Privacy Center. All users also have the
                                                      right to submit a request for deletion of information by going to the Patreon
                                                      Privacy Center, clicking on the “Take Control” button, and requesting “Erase.”


                                                      Exercising Your Data Rights
                                                      Users in certain locations may have certain rights under the General Data
                                                      Protection Regulation (GDPR) or under the California Consumer Privacy Act
                                                      (CCPA) regarding data that Patreon controls as a Data Controller as defined
                                                      under the GDPR, including:

                                                            the right of access to their personal data;
                                                            the right to correct or rectify any inaccurate personal data;


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                                                            the right to restrict or oppose the processing of personal data;
                                                            the right to erase or delete their personal data;
                                                            the right to personal data portability; and
                                                            the right to opt-out of the sale of personal information.

                                                      You can exercise rights over your data on Patreon in the following ways:


                                                            accessing, reviewing, modifying, and updating your data by lo!ing into
                                                            your account at Patreon and going to your account settings.
                                                            viewing our privacy policy or viewing our data practices by going online to
                                                            our Patreon Privacy Center, where the Data Practices tab describes how
                                                            we use your data, and the Policies tab shows you our privacy policy.
                                                            downloading your data to port it, or deleting your data altogether, by
                                                            clicking on the “Take Control” button at the Patreon Privacy Center.
                                                            deleting a previously-disabled account by emailing Patreon at
                                                            privacy@patreon.com.
                                                            opting out of marketing by entering your email address at this opt out link
                                                            going to FAQ support online for data-related issues, or calling our U.S. toll-
                                                            free phone number at 1 (833) 972-8766.
                                                            If you are unable to log into your account and are unable to recover your
                                                            account with a password reset in order to lodge your privacy request, then
                                                            you may reach out to privacy@patreon.com. We reserve the right to decline
                                                            your access to or recovery of your account, at our discretion, to prevent an
                                                            unauthorized takeover of your account.


                                                      Account Holders with Disabilities
                                                      Patreon is committed to accessibility for its account holders with disabilities. If
                                                      you are having difficulty accessing your account, please email us at
                                                      accessibility@patreon.com for assistance.


                                                      Contacting our Data Protection Officers
                                                      If you have privacy concerns or questions, you can contact our European or US
                                                      Data Protection Officers (DPOs) via email at privacy@patreon.com.

                                                      You may also mail a letter to the DPO with your questions.



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                                                            For U.S. users, mail to “Patreon Privacy Team, 600 Townsend Street, Suite
                                                            500, San Francisco, CA 94103”
                                                            For E.U. users, mail to “Patreon Privacy Team, Patreon Ireland Limited,
                                                            Suite 3, One Earlsfort Center, Lower Hatch Street, Dublin 2, Ireland.”



                                                      Establishing an Authorized Agent
                                                      You may designate an authorized agent to make a request on your behalf. In
                                                      order to designate an authorized agent to make a request on your behalf, you
                                                      must provide a valid power of attorney, the requester’s valid government ID, and
                                                      the authorized agent’s valid government ID. Please contact privacy@patreon.com
                                                      with your request. To protect your information from account takeover, we may
                                                      decline access to or recovery of your account at our discretion.


                                                      Prohibition against Discrimination
                                                      We do not discriminate against users who exercise their privacy rights.


                                                      Our Data Retention Period
                                                      We retain your account information for ten years after your account is last active
                                                      unless you delete, or you request us to delete your account. We may continue to
                                                      retain some information, even after you delete your account if we are required to
                                                      do so in order to comply with various laws.


                                                      Security
                                                      The security of your personal information is important to us and we follow
                                                      industry standards to protect it. You can learn more on our Security Policy page.


                                                      Children
                                                      Patreon is not directed at children under the age of 13, and children may not
                                                      create an account or otherwise use Patreon.


                                                      Changes

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                                                      We may sometimes make changes to this policy. If we make material changes
                                                      that adversely affect your rights under this policy, we will let you know by
                                                      posting an announcement on the site or sending you an email in advance of the
                                                      changes coming into effect. Continuing to use Patreon after a change to this
                                                      policy means you accept the new policy. If you have any questions, please email
                                                      privacy@patreon.com.

                                                      Effective immediately for existing users and users joining Patreon on or after
                                                      July 24th, 2020.

                                                      You can find the old privacy policy here.

                                                      Mit sofortiger Wirkung gültig für bestehende Nutzer und für Nutzer, die Patreon
                                                      am oder nach dem 20. Juli 2020 beitreten.

                                                      Die alte Datenschutzrichtlinie finden Sie hire.


                                                            Help Center & FAQs
                                                            App Directory
                                                            Creator Blog
                                                            Community Guidelines
                                                            Terms of Use
                                                            Privacy Policy



                                                        Email Patreon Support



                                                                                           Was this article helpful?

                                                                                             ✓   Yes        ✕   No




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                                                      Related articles
                                                      Data Processing Agreement - Creator Privacy Promise

                                                      Sanctions Policy

                                                      How do I cancel?

                                                      Why Doxing Is Not Allowed on Patreon

                                                      Make my memberships private




                                                           About                           Blog

                                                           Careers                         Community Guidelines

                                                           Create on Patreon               Terms of Use

                                                           Brand                           Privacy Policy

                                                           Press                           Accessibility

                                                           Partners

                                                           Sitemap




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       EXHIBIT 8
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          The data we collect, how it's
          used, and who we share it with
          We care about your privacy and want to help you understand how we collect,
          use, and share your personal information. The data practices described in our
          Privacy Center apply to both patrons and creators.

          Show me how the Privacy Center works →




                                                                 Data Practices           Our Policies                                                                                   Take Control




    PRIVACY POLICY                                                     Privacy Policy
|     Patreon Privacy Policy                                           Effective Date: October 15, 2019

      Welcome to Patreon!


      Information You Provide Through Your Account
                                                                          Patreon Privacy Policy
      Patrons


      Creators

                                                                          Welcome to Patreon!
      Additional Information We Collect
                                                                          Patreon is a platform where patrons can support and engage with creators. This privacy policy applies to
      Information Collected by Third Parties                              patrons, creators, and all users of our platform, and is part of our Terms of Use.

      How We Use Your Information                                         Patreon is a global company. By using our platform, you agree that your personal information that you
                                                                          provide directly to us or that we collect through your use of the platform, may be transferred to and stored in
      Information We Share with Creators                                  the United States and handled as described in this Policy.

      Information We Share with Third Parties


      Information Patreon Collects from Third Party…                      Information You Provide Through Your Account
      Information We Share with the Public                                This is information that you provide to us through text fields, such as your name, payment information and
                                                                          benefits. The information we collect differs depending on if you make an account, become a patron, or
      Your Preferences and Rights over Data                               become a creator.

      Compliance with EU Privacy Laws and Privacy…                              Email address
                                                                                Username
      Compliance with California Privacy Laws                                   Password
                                                                                State and Country of Residence.
      Exercising Your Data Rights
                                                                          You may also sign up using a Facebook or Google account. We will ask permission to access basic
      Account Holders with Disabilities                                   information from your Facebook or Google account, such as your name, email, and profile picture. You can
                                                                          choose to stop sharing that information with us at any time by going to Facebook or Google to remove
      Contacting our Data Protection Officers                             Patreon’s access to that account and your ability to log in.
                                                                          You also have the option to add more information to your public profile, such as a location, social media links
                                                                          and an about section, which we store along with any comments or messages you submit on Patreon.




       We're taking a different
                                                                          Patrons
        approach to privacy
                                                                          A patron is someone who joins Patreon’s membership platform to support a creator’s content. As a patron
                                                                          you must provide your payment information to our payment processors. You can see the privacy policy for
                                                                          these payment processors on the PayPal, Stripe, and Checkout sites. At this time, Patreon does not receive
                       Show Me
                                                                          your full card number. Payment processors provide us with a token that represents your account, your card’s
                                                                          expiration date, card type and the last four digits of your card number. If you are required to provide your
                                                                          name and email address to the payment processor, then they also provide us with that information.

                                                                          We collect and process information about the creators you support, the level at which you support them,
                                                                          what benefits you receive and how often you support them. As a patron, if you select a benefit tier with a
                                                                          physical benefit, then you have to provide your shipping information so the creator can ship you the benefit.




                                                                          Creators
                                                                          A creator is someone who creates and provides content for their patrons through Patreon’s membership
                                                                          platform. To become a creator, you must create a page that describes what you are creating and any
                                                                          benefits you are offering. To receive payouts you have to create an account with one of our payment
                                                                          partners: PayPal, Stripe, or Payoneer. We may also require your bank account information to process
                                                                          payouts. You must also provide us with additional information for tax purposes. Depending on your location
                                                                          you may have to fill out a form with some combination of your:

                                                                                Legal name
                                                                                Address
                                                                                Social security number or employer identification number
                                                                                Country of citizenship
                                                                                Foreign tax identification number
                                                                                Date of birth
                                                                                Your nonprofit registration number, if you are a nonprofit business




                                                                          Additional Information We Collect
                                                                          Automatically Collected Information:
                                                                          We collect information automatically as you navigate the site or through our third party analytics providers.
                                                                          We may store usage information such as the type of device you use to access Patreon, your operating
                                                                          system, browser type, IP address, and device ID, the pages you visit or request, links clicked, referring sites,
                                                                          user interactions and your search terms. We also derive your location from your self-disclosed country, your
                                                                          IP address, and from your payment card.

                                                                          Forums and Messaging:
                                                                          When you participate in a forum, we collect the comments you make as well as record how many times users
                                                                          visit, the activity on the site, where users have replied, with whom they’ve communicated, private messages,
                                                                          IP address, and from which location the user was last logged in. We use Discourse to help us host and
                                                                          operate our Forums. This means that they may access your information to help provide the Forum. You can
                                                                          find their Privacy Policy here.

                                                                          User Surveys
                                                                          From time to time, we may solicit your participation in user surveys. To the extent that you participate, we will
                                                                          store your responses.

                                                                          Event Information
                                                                          At in-person events, we may request information from you. This is done to better tailor the event experience
                                                                          to those in attendance. This information may include your name, email address, payment details, mobile
                                                                          phone number and QR code, social media and other online accounts you maintain, details around the types
                                                                          of works you create, and survey or feedback responses.




                                                                          Information Collected by Third Parties
                                                                          Cookies
                                                                          We use Cookies on our website that collect information to allow us and third parties to understand your use
                                                                          of Patreon. Please see our cookie policy for more information on our use of cookies on Patreon.

                                                                          Social Media Features and Widgets
                                                                          We use social media features, including the Facebook Like button and widgets, such as the Share button or
                                                                          similar interactive mini-programs that run on Patreon. If you provide your social media information to us, we
                                                                          may use it to interact with you on these social networks. These features may collect your IP address and
                                                                          other personal data including which page you are visiting on our site and may set a cookie to enable the
                                                                          feature to function properly. Social media features and widgets are either hosted by a third party or hosted
                                                                          directly on Patreon. Your interactions with these Features are governed by the privacy policy of the company
                                                                          providing it. For more information on the technologies used by these social networks, please refer to their
                                                                          specific privacy notices listed below:

                                                                                Facebook: https://www.facebook.com/about/privacy/
                                                                                Twitter: https://twitter.com/privacy
                                                                                YouTube: https://policies.google.com/privacy
                                                                                Instagram: https://help.instagram.com/155833707900388




                                                                          How We Use Your Information
                                                                          We process your information to:

                                                                                verify your identity to comply with federal laws
                                                                                provide Patreon services to you
                                                                                allow you to sign in to your account
                                                                                allow you to join a creator’s membership program on Patreon
                                                                                process a creator’s membership payments
                                                                                send you emails relevant to your usage, as controlled by your email preferences
                                                                                reply to your questions
                                                                                market Patreon to you, as controlled by your email preferences
                                                                                understand how you use the service and create better tools for creators to serve patrons
                                                                                conduct research and development to improve Patreon and develop future products
                                                                                prevent fraud and abuse on Patreon
                                                                                ship merchandise to you if a benefit includes it
                                                                                allow us to provide you with reasonable accommodation, if you notify us of a disability




                                                                          Information We Share with Creators
                                                                          By becoming a patron of a creator, you agree to have the following information shared with that creator:

                                                                                your name and email address, and other profile information you’ve provided
                                                                                any messages you send creators through Patreon
                                                                                your physical address, city, state, country, and phone number, if you have signed up for a benefit
                                                                                that requires shipping
                                                                                all information about your pledge, including amount and start date, but not your full payment
                                                                                card information
                                                                                some aggregated and anonymized data about how you use Patreon that cannot be linked back
                                                                                to you or to any individual user

                                                                          Creators agree to the terms of our Data Processing Agreement (DPA) when they start their membership
                                                                          program. This DPA is called the Creator Privacy Promise. The Creator Privacy Promise is a Creator’s promise
                                                                          to protect the privacy of patrons during and beyond their Patreon relationship. You can view a copy of the
                                                                          Creator Privacy Promise here.




                                                                          Information We Share with Third Parties
                                                                          We never sell your information to third parties. We will only share data with third parties, other than with
                                                                          Creators, under the following circumstances:

                                                                                with your consent, with service providers used by creators to deliver benefits, such as to ship
                                                                                packages to you. You should read these service providers’ privacy policies to see how they use
                                                                                and share your data.
                                                                                with our service providers, who are companies that are contractually engaged with us to provide
                                                                                us with services, such as order fulfillment, email management, analyzing data trends, credit card
                                                                                processing and fraud detection and prevention. These companies may have access to your
                                                                                data to perform their services, and are obligated by contract to safeguard any of your data they
                                                                                receive from us to the same extent that Patreon protects it.
                                                                                to protect the security or integrity of Patreon, and to protect the rights, property, or safety of
                                                                                Patreon, its employees, users, or others, if we believe that disclosure is reasonably necessary to
                                                                                comply with a law, regulation, or other valid legal process (e.g., subpoenas or warrants served on
                                                                                Patreon). If we are going to release your data, we will do our best to provide you with notice in
                                                                                advance by email, unless we are prohibited by law from doing so.
                                                                                in connection with the sale, merger, bankruptcy, sale of assets or reorganization of our company.
                                                                                We will notify you if a different company receives your data. The promises in this privacy policy
                                                                                apply to any data transferred to a new entity.
                                                                                with third party apps used by creators to help run their membership programs. There is a list of
                                                                                apps in our apps directory. While we try to keep this list up to date, we often experiment with
                                                                                new third party app providers, and this list may not be exhaustive.
                                                                                with partners in our Partners Directory, who may have access to your data to perform their
                                                                                services, and who are obligated by contract to safeguard any of your data they receive from us
                                                                                to the same extent that Patreon protects it.




                                                                          Information Patreon Collects from Third Party Apps
                                                                          When you create a Patreon account, you can elect to connect your social account(s) (e.g. Twitter, Facebook,
                                                                          Google, YouTube, Twitch) with Patreon, and we will collect and store some social information from those
                                                                          platforms, such as:

                                                                                follower or subscriber counts,
                                                                                post or upload counts,
                                                                                view, like, and comment counts.

                                                                          This social information allows us to provide you a better Patreon experience, and also helps guide future
                                                                          development of Patreon. We use this data to:

                                                                                help creators and patrons find each other on Patreon
                                                                                assess how to make creators more successful on Patreon
                                                                                analyze and describe our business




                                                                          Information We Share with the Public
                                                                          The following information is publicly accessible:

                                                                                your profile, and your social media links and location if you add that information
                                                                                by default the creators you support are publicly displayed. If you flag your account as private, we
                                                                                will not display the creators you support
                                                                                any posts, likes, or comments you make
                                                                                your aggregated or anonymized usage data in blog posts, press releases, or in other ways to
                                                                                share information about Patreon’s usage. Aggregated or anonymized data cannot be linked
                                                                                back to any individual Patreon user.
                                                                                monthly pledge value and goals that creators choose to make public
                                                                                number of patrons




                                                                          Your Preferences and Rights over Data
                                                                          Choosing Your Preferences
                                                                          The Settings link is located by clicking on your avatar or profile at the top right hand of your screen. Settings
                                                                          lets you see your account preferences. You can see and adjust your settings by viewing your preferences
                                                                          and, if you wish, by changing your selections.

                                                                          Marketing Activities
                                                                          We do not send marketing emails unless you explicitly consent to receiving them. These marketing emails
                                                                          do not require a Patreon account. You may object to the use of your data for direct marketing purposes at
                                                                          any time, free of charge, when we collect your personal information and in every marketing communication.
                                                                          We will never provide your information to third parties for marketing purposes without your prior consent.

                                                                          Accessing, Updating or Exporting the Information in Your Account
                                                                          You can access and update certain information associated with your account on the settings pages.
                                                                          Additionally, you can modify or delete your account, or export your personal information, by going to
                                                                          privacy.patreon.com.

                                                                          Disabling or Deleting Your Account
                                                                          You can disable your account if you go to your account settings while you are logged into Patreon. Click the
                                                                          “Disable My Account” link to have your account immediately disabled and removed from public view. Please
                                                                          be aware that this is a final act and you cannot log into your account again after clicking this link. When you
                                                                          disable your account, we immediately remove your ability to log in. Even if an account is disabled, some
                                                                          information may be retained by our analytics providers on their own servers. You may also self-initiate a
                                                                          deletion of your account directly at privacy.patreon.com. To delete a previously-disabled account, please
                                                                          contact privacy@patreon.com.

                                                                          Turning off Email Notifications
                                                                          You can change your email notifications in your email settings. While this allows you to stop many
                                                                          notification emails, we will still send some critical service emails.

                                                                          Turning off Mobile Notifications
                                                                          If you download the Patreon App you may also receive notifications on your mobile device. These can be
                                                                          disabled in the App settings.

                                                                          VERIFICATION OF REQUESTS

                                                                          Users maintain password protected accounts with Patreon. If you submit a request to exercise your privacy
                                                                          rights, you will be asked to verify the request by logging into your Patreon account.

                                                                          If we are unable to verify your request, then for your protection, we reserve the right to deny the request.




                                                                          Compliance with EU Privacy Laws and Privacy Shield
                                                                          Patreon is an international company that complies with the General Data Protection Regulation (GDPR). We
                                                                          act as Data Controllers, as defined under the GDPR, and process personal data based on our legitimate
                                                                          interests, and for contractual necessity in providing you the Service as described in “How We Use Your
                                                                          Information.” We also process and share personal information based on notification and users’ consent,
                                                                          which our users may revoke at any time. We apply the same principles of privacy protection to all of our
                                                                          users, not just to data subjects in the EU and UK.

                                                                          Patreon complies with the EU-U.S. Privacy Shield Framework and Swiss-U.S. Privacy Shield Framework as set
                                                                          forth by the U.S. Department of Commerce regarding the collection, use, and retention of personal
                                                                          information transferred from the European Union and Switzerland to the United States. Patreon has certified
                                                                          to the Department of Commerce that it adheres to the Privacy Shield Principles. If there is any conflict
                                                                          between the terms in this privacy policy and the Privacy Shield Principles, the Privacy Shield Principles shall
                                                                          govern. To learn more about the Privacy Shield program, and to view our certification, please visit
                                                                          https://www.privacyshield.gov/




                                                                          Compliance with California Privacy Laws
                                                                          Patreon’s headquarters are located in California, USA, and we are subject to the California Consumer Privacy
                                                                          Act.

                                                                          Effective January 1, 2020, the California Consumer Privacy Act (CCPA) allows California residents to request
                                                                          access to the specific pieces and categories of personal information that the business has collected about
                                                                          the consumer, the categories of sources for that information, the business or commercial purposes for
                                                                          collecting the information, and the categories of third parties with which the information was shared.
                                                                          Patreon provides you the right to view, access, modify, or transport your information at
                                                                          https://privacy.patreon.com. California residents also have the right to submit a request for deletion of
                                                                          information at privacy@patreon.com.

                                                                          If you are unable to log into and access your personal information on Patreon, and are unable to recover your
                                                                          account with a password reset in order to lodge your request for personal information or for disabling or
                                                                          deleting your account, you may reach out to privacy@patreon.com. We reserve the right to decline you
                                                                          access or recovery at our discretion to prevent an unauthorized takeover of your account.




                                                                          Exercising Your Data Rights
                                                                          Users in certain locations may have certain rights under the General Data Protection Regulation (GDPR) or
                                                                          under the California Consumer Privacy Act (CCPA) regarding data that Patreon controls as a Data Controller
                                                                          as defined under the GDPR, including:

                                                                                the right of access to their personal data;
                                                                                the right to correct or rectify any inaccurate personal data;
                                                                                the right to restrict or oppose the processing of personal data;
                                                                                the right to erase or delete their personal data;
                                                                                the right to personal data portability; and
                                                                                the right to opt-out of the sale of personal information.

                                                                          You can exercise rights over your data on Patreon in the following ways:

                                                                          By calling our toll-free phone number: 1-833-972-8766

                                                                          By emailing Patreon: privacy@patreon.com

                                                                          By physical mail: Patreon, Privacy Team, 600 Townsend Street, Suite 500, San Francisco, CA 94103

                                                                          By going online and editing, disabling, deleting, or exporting your data yourself here.




                                                                          Account Holders with Disabilities
                                                                          Patreon is committed to accessibility for its account holders with disabilities. If you have a disability and are
                                                                          having difficulty accessing our systems to modify, transport, or delete part of or all of your account, please
                                                                          email us at privacy@patreon.com for assistance.




                                                                          Contacting our Data Protection Officers
                                                                          If you have privacy concerns or questions, you can contact our European or US Data Protection Officers
                                                                          (DPOs) via email at privacy@patreon.com, or by sending a letter to Patreon Data Privacy Officer, 600
                                                                          Townsend Street, Suite 500, San Francisco, CA 94103.




                                                                          Establishing an Authorized Agent
                                                                          You may designate an authorized agent to make a request on your behalf. In order to designate an
                                                                          authorized agent to make a request on your behalf, you must provide a valid power of attorney, the
                                                                          requester’s valid government ID, and the authorized agent’s valid government ID. Please contact
                                                                          privacy@patreon.com with your request. To protect your information from account takeover, we may decline
                                                                          access to or recovery of your account at our discretion.




                                                                          Prohibition against Discrimination
                                                                          We do not discriminate against users who exercise their privacy rights.




                                                                          Our Data Retention Period
                                                                          We retain your information for ten years after your account is last active, unless you delete, or you request us
                                                                          to delete, your account.




                                                                          Security
                                                                          The security of your personal information is important to us and we follow industry standards to protect it.
                                                                          You can learn more on our Security Policy page.




                                                                          Children
                                                                          Patreon is not directed at children under the age of 13, and children may not create an account or otherwise
                                                                          use Patreon.




                                                                          Changes
                                                                          We may sometimes make changes to this policy. If we make material changes that adversely affect your
                                                                          rights under this policy, we will let you know by posting an announcement on the site or sending you an email
                                                                          in advance of the changes coming into effect. Continuing to use Patreon after a change to this policy means
                                                                          you accept the new policy. If you have any questions, please email privacy@patreon.com.

                                                                          Effective immediately for users joining Patreon on or after December 31st, 2019.

                                                                          Effective for existing users on December 31st, 2019.

                                                                          You can find the old privacy policy here.




                                                                                Help Center & FAQs
                                                                                App Directory
                                                                                Creator Blog
                                                                                Community Guidelines
                                                                                Terms of Use
                                                                                Privacy Policy




                                                                                                                                               Our Approach to Privacy             Return to Main Site
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                                                                                                                                                                           Visit Patreon U




Patreon Help Center > YOUR ACCOUNT > Privacy & Security                                                                                                      🔍 Search



Articles in this section
                                   Former Patreon Privacy Policy
 Former Patreon Privacy
 Policy                                        weston                                                                                                      Follow
                                         👤

 Data Processing Agreement
 - Creator Privacy Promise


 Why Doxing Is Not Allowed
                                   (April 29, 2019 - December 31, 2019) for our current Privacy Policy please visit here.
 on Patreon

                                   WELCOME TO PATREON!
 What information do third-
 party apps receive about
                                   Patreon is a membership platform where creators can be paid by their fans. We care about your privacy and
 my Patreon account?
                                   want to help you understand how we collect, use and share your personal information. This privacy policy
                                   applies to patrons, creators, and all users of our platform, and is part of our Terms of Use.

                                   Patreon is a global company. By using our platform, you agree that your personal information that you provide
                                   directly to us or that we collect through your use of the platform, may be transferred to and stored in the United
                                   States and handled as described in this Policy.


                                   INFORMATION YOU PROVIDE THROUGH YOUR ACCOUNT

                                   This is information that you provide to us through text fields, such as your name, payment information and
                                   benefits. The information we collect differs depending on if you make an account, become a patron, or become
                                   a creator.

                                       1. Email address
                                       2. Username
                                       3. Password
                                       4. State and Country of Residence.

                                   You may also sign up using a Facebook account. We will ask permission to access basic information from your
                                   Facebook account, such as your name, email, and profile picture. You can choose to stop sharing that
                                   information with us at any time by going to Facebook to remove Patreon’s access to that account and your
                                   ability to log in.

                                   You also have the option to add more information to your public profile, such as a location, social media links
                                   and an about section, which we store along with any comments or messages you submit on Patreon.


                                   PATRONS

                                   A patron is someone who joins a creator’s membership program through Patreon. As a patron you must provide
                                   your payment information to our payment processors. You can see the privacy policy for these payment
                                   processors on the PayPal, Stripe, and Checkout sites. Patreon does not receive your full card number. Payment
                                   processors provide us with a token that represents your account, your card’s expiration date, card type and the
                                   last four digits of your card number. If you are required to provide your name and email address to the payment
                                   processor, then they also provide us with that information.

                                   We collect and process information about the creators you support, the level at which you support them, what
                                   benefits you receive and how often you support them. As a patron, if you select a benefit tier with a physical
                                   benefit, then you have to provide your shipping information so the creator can ship you the benefit.


                                   CREATORS

                                   A creator is someone who starts a membership program for patrons. To become a creator, you must create a
                                   page that describes what you are creating and any benefits you are offering. To receive payouts you have to
                                   create an account with one of our payment partners: PayPal, Stripe, or Payoneer. We may also require your bank
                                   account information to process payouts. You must also provide us with additional information for tax purposes.
                                   Depending on your location you may have to fill out a form with some combination of your:

                                       1. Legal name
                                       2. Address
                                       3. Social security number or employer identification number
                                       4. Country of citizenship
                                       5. Foreign tax identification number
                                       6. Date of birth
                                       7. Your nonprofit registration number, if you are a nonprofit business


                                   ADDITIONAL INFORMATION WE COLLECT

                                   Automatically Collected Information:

                                   We collect information automatically as you navigate the site or through our third party analytics providers. We
                                   may store usage information such as the type of device you use to access Patreon, your operating system,
                                   browser type, IP address, and device ID, the pages you visit or request, links clicked, referring sites, user
                                   interactions and your search terms. We also derive your location from your IP address.

                                   Forums and Messaging:

                                   When you participate in a forum, we collect the comments you make as well as record how many times users
                                   visit, the activity on the site, where users have replied, with whom they’ve communicated, private messages, IP
                                   address, and from which location the user was last logged in. We use Discourse to help us host and operate our
                                   Forums. This means that they may access your information to help provide the Forum. You can find their Privacy
                                   Policy here.

                                   User Surveys

                                   From time to time, we may solicit your participation in user surveys. To the extent that you participate, we will
                                   store your responses.

                                   Event Information

                                   At in-person events, we may request information from you. This is done to better tailor the event experience to
                                   those in attendance. This information may include your name, email address, payment details, social media and
                                   other online accounts you maintain, details around the types of works you create and survey or feedback
                                   responses.


                                   INFORMATION COLLECTED BY THIRD PARTIES

                                   Cookies

                                   We use Cookies on our website that collect information to allow us and third parties to understand your use of
                                   Patreon. Please see our cookie policy for more information on our use of cookies on Patreon.

                                   Social Media Features and Widgets

                                   We use social media features, including the Facebook Like button and widgets, such as the Share button or
                                   similar interactive mini-programs that run on Patreon. If you provide your social media information to us, we may
                                   use it to interact with you on these social networks. These features may collect your IP address and other
                                   personal data including which page you are visiting on our site and may set a cookie to enable the feature to
                                   function properly. Social media features and widgets are either hosted by a third party or hosted directly on
                                   Patreon. Your interactions with these Features are governed by the privacy policy of the company providing it.
                                   For more information on the technologies used by these social networks, please refer to their specific privacy
                                   notices listed below:

                                            Facebook: https://www.facebook.com/about/privacy/
                                            Twitter: https://twitter.com/privacy
                                            YouTube: https://policies.google.com/privacy
                                            Instagram: https://help.instagram.com/155833707900388


                                   HOW WE USE YOUR INFORMATION

                                   We process your information to:

                                       1. provide Patreon services to you
                                       2. allow you to sign in to your account
                                       3. allow you to join a creator’s membership program on Patreon
                                       4. process a creator’s membership payments
                                       5. send you emails relevant to your usage, as controlled by your email preferences
                                       6. reply to your questions
                                       7. market Patreon to you, as controlled by your email preferences
                                       8. understand how you use the service and create better tools for creators to serve patrons
                                       9. conduct research and development to improve Patreon and develop future products
                                     10. prevent fraud and abuse on Patreon
                                     11. ship merchandise to you if a benefit includes it


                                   INFORMATION WE SHARE WITH CREATORS

                                   By becoming a patron of a creator, you agree to have the following information shared with that creator:

                                       1. your email address and other profile information you’ve provided
                                       2. any messages you send creators through Patreon
                                       3. your physical address, city, state, country, and phone number, if you have signed up for a benefit that
                                            requires shipping
                                       4. all information about your pledge, including amount and start date, but not your full payment card
                                            information
                                       5. some aggregated and anonymized data about how you use Patreon that cannot be linked back to any
                                            individual user

                                   Creators must sign our Data Processing Agreement (DPA) when they start their membership program. This DPA
                                   is called the Creator Privacy Promise. The Creator Privacy Promise is a Creator’s promise to protect the privacy
                                   of patrons during and beyond their Patreon relationship. You can view a copy of the Creator Privacy Promise
                                   here.


                                   INFORMATION WE SHARE WITH THIRD PARTIES

                                   We never sell your information to a third party. We will only share data with third parties, other than with
                                   Creators, under the following circumstances:

                                       1. with your consent, with service providers used by creators to deliver benefits, such as to ship packages to
                                            you. You should read these service providers’ privacy policies to see how they use and share your data.
                                       2. with our service providers, who are companies that are contractually engaged with us to provide us with
                                            services, such as order fulfillment, email management, analyzing data trends, credit card processing and
                                            fraud detection and prevention. These companies may have access to your data to perform their services
                                            and are obligated by contract to safeguard any of your data they receive from us to the same extent that
                                            Patreon protects it.
                                       3. to protect the security or integrity of Patreon, and to protect the rights, property, or safety of Patreon, its
                                            employees, users, or others, if we believe that disclosure is reasonably necessary to comply with a law,
                                            regulation, or other valid legal process (e.g., subpoenas or warrants served on Patreon). If we are going to
                                            release your data, we will do our best to provide you with notice in advance by email, unless we are
                                            prohibited by law from doing so.
                                       4. in connection with the sale, merger, bankruptcy, sale of assets or reorganization of our company. We will
                                            notify you if a different company receives your data. The promises in this privacy policy apply to any data
                                            transferred to a new entity.
                                       5. with third party apps used by creators to help run their membership programs. There is a list of apps in
                                            our apps directory. While we try to keep this list up to date, we often experiment with new third party app
                                            providers, and this list may not be exhaustive.
                                       6. with partners in our Partners Directory, who may have access to your data to perform their services, and
                                            who are obligated by contract to safeguard any of your data they receive from us to the same extent that
                                            Patreon protects it.


                                   INFORMATION WE SHARE WITH THE PUBLIC

                                   The following information is publicly accessible:

                                       1. your profile, and your social media links and location if you add that information
                                       2. by default the creators you support are publicly displayed. If you flag your account as private, we will not
                                            display the creators you support
                                       3. any posts, likes, or comments you make
                                       4. your aggregated or anonymized usage data in blog posts, press releases, or in other ways to share
                                            information about Patreon’s usage. Aggregated or anonymized data cannot be linked back to any
                                            individual Patreon user.
                                       5. monthly pledge value and goals that creators choose to make public
                                       6. number of patrons


                                   YOUR PREFERENCES AND RIGHTS OVER DATA

                                   Choosing Your Preferences

                                   The Settings link is located by clicking on your avatar or profile at the top right hand of your screen. Settings lets
                                   you see your account preferences. You can see and adjust your settings by viewing your preferences and, if you
                                   wish, by changing your selections.

                                   Marketing Activities

                                   We do not send marketing emails unless you explicitly consent to receiving them. These marketing emails do
                                   not require a Patreon account. You may object to the use of your data for direct marketing purposes at any time,
                                   free of charge, when we collect your personal information and in every marketing communication. We will never
                                   provide your information to third parties for marketing purposes without your prior consent.


                                   EXERCISING YOUR DATA RIGHTS

                                   Users in certain locations may have certain rights in their personal data stored and processed by Patreon,
                                   including:

                                            the right of access to their personal data;
                                            the right to correct or rectify any inaccurate personal data;
                                            the right to restrict or oppose the processing of personal data;
                                            the right to erase their personal data; and
                                            the right to personal data portability

                                   You can exercise rights over your data in the following ways:

                                   Accessing, Updating or Exporting the Information in Your Account

                                   You can access and update certain information associated with your account on the settings pages, as
                                   described in the Choosing Your Preferences section above. To exercise your rights to data portability please
                                   contact privacy@patreon.com.

                                   Disabling or Deleting Your Account

                                   You can disable your account if you go to your account settings while you are logged into Patreon. Click the
                                   “Disable My Account” link to have your account immediately disabled and removed from public view. Please be
                                   aware that this is a final act and you cannot log into your account again after clicking this link. When you
                                   disable your account, we immediately remove your ability to log in. Even if an account is disabled, some
                                   information may be retained by our analytics providers on their own servers. To delete your account, please
                                   contact privacy@patreon.com.

                                   Turning off Email Notifications

                                   You can change your email notifications in your email settings. While this allows you to stop many notification
                                   emails, we will still send some critical service emails.

                                   Turning off Mobile Notifications

                                   If you download the Patreon App you may also receive notifications on your mobile device. These can be
                                   disabled in the App settings.


                                   OUR DATA RETENTION PERIOD

                                   We retain your information for ten years after your account is last active, unless you request we delete your
                                   account.


                                   CONTACTING OUR DATA PROTECTION OFFICERS

                                   Patreon is an international company that complies with the General Data Protection Regulation (GDPR). We
                                   process personal data based on our legitimate interests and for contractual necessity in providing you the
                                   Service as described in “How We Use Your Information.” We also process and share personal information based
                                   on users’ consent, which they may revoke at any time. We apply the same principles of privacy protection to all
                                   of our users, not just to data subjects in the EU and UK. If you have privacy concerns or questions, you can
                                   contact our European or US Data Protection Officers (DPOs) via email at privacy@patreon.com, or by sending a
                                   letter to Patreon Data Privacy Officer, 600 Townsend Street, Suite 500, San Francisco, CA 94103.


                                   SECURITY

                                   The security of your personal information is important to us and we follow industry standards to protect it. You
                                   can learn more on our Security Policy page.


                                   CHILDREN

                                   Patreon is not directed at children under the age of 13, and children may not create an account or otherwise use
                                   Patreon.


                                   CHANGES

                                   We may sometimes make changes to this policy. If we make material changes that adversely affect your rights
                                   under this policy, we will let you know by posting an announcement on the site or sending you an email prior to
                                   the changes coming into effect. Continuing to use Patreon after a change to this policy means you accept the
                                   new policy. If you have any questions, please email privacy@patreon.com.



                                   Still need help? Send us a note                                                                                      !"
                                                                                                                                                        Facebook
                                                                                                                                                            Twitter
                                                                                                                                                                LinkedIn


                                                                                                       Was this article helpful?

                                                                                                          ✓   Yes            ✕   No




                                   Related articles

                                   Data Processing Agreement - Creator Privacy Promise

                                   Why Doxing Is Not Allowed on Patreon

                                   Make my memberships private

                                   What information do third-party apps receive about my Patreon account?

                                   Cancel my membership




                                                                       About                                                Creator Blog

                                                                       Careers                                              Creator Guides

                                                                       Create on Patreon                                    Community Guidelines

                                                                       Brand                                                Privacy Policy

                                                                       Press                                                                       © 2020 Patreon, Inc.


                                                                       Partners

                                                                       Sitemap




                                                                                                                                                                                     Powered by Zendesk
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     EXHIBIT 10
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                                                                                              Log in




                                                Privac Polic


        ective Ma 25, 2018


       Welcome to Patreon!

       Patreon i a platform where patron can upport and engage with creator. We care aout
       our privac and want to help ou undertand how we collect, ue and hare our peronal
       information. Thi privac polic applie to patron and creator, and i part of our term of
       ue.




       Information You Provide

       Thi i information that ou provide to u through text eld, uch a our name, pament
       information, goal and reward. The information we collect i di erent depending on if ou are
       an account holder, ecome a patron  upporting a creator, or ecome a creator  creating
       our own Patreon page.


       All Account

       To create an account on Patreon ou have to provide our:

            1. mail addre

            2. Uername

            3. Paword

       You ma alo ign up uing a Faceook account and email addre. We will ak permiion to
       acce aic information from that account, uch a our name, pro le picture, and friend lit.


https://www.patreon.com/privacy                                                                          1/9
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       You can chooe to top haring that information with u at an time  removing Patreon’
       acce to that account.                                                             Log in

       You alo have the option to add more information to our pro le, uch a a location, ocial
       media link and an aout ection, which we tore along with an comment or meage ou
       umit through Patreon.


       Patron

       A patron i omeone who nanciall upport creator through Patreon. To ecome a patron
       ou have to provide one of our pament proceor (tripe or PaPal) with our pament
       information. You can ee the privac polic for thee pament proceor on the PaPal and
       tripe ite. The provide u with a token that repreent our account, our card’ expiration
       date, card tpe and the lat four digit of our credit card. If ou provide them with a name and
       email addre then the alo provide u with that information.

       We collect and proce information aout the creator ou upport, the level at which ou
       upport them, what reward ou receive and how often ou upport them.
       A a patron, if ou elect a reward tier with a phical reward, then ou have to provide our
       hipping information o the creator can hip ou the reward.


       Creator

       A creator i omeone who create a Patreon page requeting nancial upport from patron.
       To ecome a creator, ou mut create a page that decrie what ou are creating, an
       reward ou are o ering and an nancial goal ou have. We collect and proce thi
       information along with an additional information ou add to our pro le. To receive pament
       ou have to create an account with one of our pament partner: PaPal, tripe or Paoneer.
       You mut alo provide u with additional information for tax purpoe. Depending on our
       location ou have to ll out a form with ome comination of our:

            1. Legal name

            2. Addre
            3. ocial ecurit numer or emploer identi cation numer

            4. Countr of citizenhip
            5. Foreign tax identi cation numer

            6. Date of irth
            7. Your nonpro t regitration numer, if ou are a nonpro t uine




https://www.patreon.com/privacy                                                                            2/9
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                                                                                              Log in


       Information We Collect

       We collect information automaticall a ou navigate the ite or through our third part
       analtic provider. We ma tore uage information uch a the tpe of device ou ue to
       acce Patreon, our operating tem, rower tpe, IP addre, and device ID, the page ou
       viit or requet, link clicked, referring ite, uer interaction and our earch term. We alo
       derive our location from our IP addre.


       Do Not Track

       Our ervice doe not upport Do Not Track requet at thi time, which mean our third part
       analtic provider ma aociate our uage on Patreon with our uage on other ite.


       Cookie

       We ue third-part advertiing cookie to preent ou with opportunitie while on Patreon. We
       alo ue retargeting cookie to preent ou with Patreon advertiing on other weite.

            1. ift: The ift page and privac polic explain their cookie and provide information on
               opt-out.

            2. Viual Weite Optimier (Wingif): You can read the Viual Weite Optimier and it
               privac polic to learn aout it cookie and have the option to opt-out.

            3. Faceook Cutom Audience: You can adjut our Faceook advertiing etting from
               within our Faceook account and opt-out of advertiement from within the Faceook
                application.

            4. Google Adword: You can adjut the Google ad etting and opt-out of thi program.
            5. Twitter Tailored Audience: You can opt-out of eeing interet-aed advertiing
                on Twitter.

       We ue Google Analtic, Amplitude, and KiInight analtic cookie to ee how ou ue
       Patreon o we can improve in a variet of wa. We encourage ou to read the Google privac
       polic. If ou prefer to not have data reported  Google Analtic, ou can intall the Google
       Analtic Opt-out rower Add-on. We alo encourage ou to read more aout Amplitude
       and their privac polic, and aout KiInight, their privac polic and their opt-out
       intruction.
       We alo ue third part vendor to provide deliver of reward which ou can read aout in our
       “Information hared with Third Partie” ection elow.

https://www.patreon.com/privacy                                                                             3/9
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                                                                                                 Log in




       How We Ue Your Information

       We never ell our information to anone. We ue our information to:

             1. provide Patreon ervice to ou.

             2. allow ou to ign in to our account.

             3. allow ou to upport creator through Patreon.
             4. allow ou to collect mone a a creator.

             5. end ou email relevant to our uage, a controlled  our email preference.

             6. repl to our quetion.

             7. undertand how ou ue the ervice and market Patreon to ou, including uggeting
                creator ou ma e intereted in upporting.

             8. create etter tool for creator to erve patron.
             9. conduct reearch and development to improve Patreon and develop future product that
                our uer ma e intereted in  analzing how ou ue it.
            10. prevent fraud and aue on Patreon.




       Information hared with Creator

       If ou are a patron, the following information i hared with the creator ou upport:

             1. Your email addre and other pro le information.

             2. An meage ou end them through Patreon.

             3. Your phical addre, cit, tate, countr, and phone numer, if ou have igned up for a
                reward that require hipping.

             4. All information aout our pledge, including amount and tart date, ut not our full
                pament card information.

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            5. ome aggregated and anonmized data aout how ou ue Patreon that cannot e
               linked ack to an individual uer.                                     Log in




       Information hared with Third Partie

       Peronall Identi ale Information (PII) i data that include a peronal identi er like our
       name, email or addre, or data that could reaonal e linked ack to ou. We will onl hare
       thi data under the following circumtance:

            1. With our permiion, with ervice provider ued  creator to deliver content and
               reward.

            2. With companie that are contractuall engaged in providing u with ervice, uch a
               order ful llment, email management, analzing data trend, credit card proceing and
               fraud detection and prevention. Thee companie ma have acce to peronal
                information to perform their ervice and are oligated  contract to afeguard an PII
                the receive from u.

            3. To protect the ecurit or integrit of Patreon, and to protect the right, propert, or
               afet of Patreon, it emploee, uer, or other, if we elieve that dicloure i
               reaonal necear to compl with a law, regulation, valid legal proce (e.g.,
                upoena or warrant erved on u). If we are going to releae our data, we will do our
                et to provide ou with notice in advance  email, unle we are prohiited  law from
                doing o.

            4. In connection with the ale, merger, ankruptc, ale of aet or reorganization of our
               compan. We will notif ou if a di erent compan receive our PII. The promie in thi
                privac polic appl to an data tranferred to a new entit.
            5. Our app director dipla our mot updated lit of third part app provider who help
                u deliver reward. While we tr to keep thi lit up to date, we often experiment with new
                third part app provider, and thi lit ma not e exhautive.




       Information hared with the Pulic
https://www.patreon.com/privacy                                                                               5/9
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       The following information i pulicl acceile:
                                                                                                Log in
            1. Your pro le, and our ocial media link and location if ou add that information.

            2.  default the creator ou upport are pulicl diplaed. If ou ag our account a
               private, we will not dipla the creator ou upport.

            3. An pot or comment ou make on a creator’ page.
            4. Your aggregated or anonmized uage data in log pot, pre releae, or in other
                wa to hare information aout Patreon’ uage. Aggregated or anonmized data
                cannot e linked ack to an individual Patreon uer.




       Your Preference and Right over Data

       Chooing Your Preference

       The etting link i located  clicking on our avatar or pro le at the top right hand of our
       creen. etting let ou ee the what our account preference are. You can ee and adjut
       our etting  viewing our preference and, if ou wih,  changing our election.


       xerciing Your Data Right

       You can exercie right over our data in the following wa:


            1. Modifing the Information in Your Account

                You can modif or delete certain information aociated with our account on the
                etting page, a decried in the “Chooing Your Preference” ection aove.


            2. Dialing Your Account

                You can diale our account if ou go to our account etting while ou are logged
                into Patreon. Click the “Diale M Account” link to have our account immediatel
                dialed and removed from pulic view. Pleae e aware that thi i a nal act and ou
                cannot log into our account again after clicking thi link. When ou diale our
                account, we immediatel remove our ailit to log in. If ou create a new account, ou
                will e aked to ue a di erent email addre from the one ou ued previoul. ven if an


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                account i dialed, ome information ma e retained  our analtic provider on
                their own erver.                                                             Log in



            3. Removing Marketing mail

                You can top receiving marketing email  changing our email etting. While thi
                remove our marketing email, ervice related email are till ent, including how ou
                can optimize our Patreon experience and uggetion for which creator to follow.


            4. Turning o Moile Noti cation

                If ou download the Patreon App ou ma alo receive noti cation on our moile
                device. Thee can e dialed in the App etting.


            5. Undertanding Our Data Retention Period

                We retain our information for ten ear, unle ou diale our account information
                from our account etting. Pleae note that once ou diale our account, ou will not
                e ale to log in again. If ou want to log into Patreon again  creating a new account,
                ou ma e prompted to ue a new email addre from the one ou previoul ued on
                our dialed account.


            6. Additional Quetion Related to Privac

                For additional privac-related quetion aout our account, ou ma email u at
                privac@patreon.com.




       uropean Union Data Tranfer

       Tranfer of Data to the United tate

       We are aed in the United tate.  uing our ervice ou conent to the tranfer of our
       peronal data to the United tate, and to the proceing and ue of that peronal data in the
       United tate. Thi proceing and ue i limited to what i decried in thi privac polic and
       the term of ue.


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       Marketing Activitie
                                                                                           Log in
       We ma ue our information to o er ou product and ervice that we think ma e of
       interet to ou, unle ou have opted out of marketing communication. If ou are in the
       uropean conomic Area, where required  applicale law, we will otain our conent efore
       ending ou an marketing communication. You ma oject to the ue of our data for direct
       marketing purpoe at an time, free of charge, when we collect our peronal information and
       in ever marketing communication. We will never provide our information to third partie for
       marketing purpoe without our prior conent.




       ecurit

       The ecurit of our peronal information i important to u and we follow indutr tandard
       to protect it. Full credit card numer are never acceed  our tem, and the mot
       enitive data we tore, uch a tax form, are encrpted to keep them ecure.

       To further protect our information we ugget uing a trong and unique paword for our
       Patreon account. We alo o er two-factor authentication a an additional ecurit meaure.




       Children

       Patreon i not directed at children under the age of 13, and the ma not create an account or
       otherwie ue Patreon.




       Change

       We ma ometime make change to thi polic. If we make material change that adverel
       a ect our right under thi polic, we will let ou know  poting an announcement on the
https://www.patreon.com/privacy                                                                         8/9
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       ite or ending ou an email prior to the change coming into e ect. Continuing to ue Patreon
       after a change to thi polic mean ou accept the new polic.                         Log in

       If ou have an quetion, pleae email privac@patreon.com.

        ective Ma 25, 2018. Lat updated on Ma 22, 2018




Aout                                                       Help Center & FAQ

Career                                                     Developer

Create on Patreon                                           App Director

rand                                                       log

Pre                                                       Patreon U | Creator Coaching

Partner                                                    Communit Guideline

itemap                                                     Term of Ue

                                                            Privac Polic




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     EXHIBIT 11
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Skip navigation
             Product               For creators       Pricing    Resources
                                                                   Find a creator Starter Kits           Log In          Create




                                                  Cookie Policy
                                                  A cookie is a small text <le that a website saves on
                                                  your computer or mobile device when you visit the
                                                  site. This small text <le enables a site to remember
                                                  your actions and preferences for a speci<ed
                                                  period of time, so you don’t have to re-enter your
                                                  login or settings information each time you visit a
                                                  new page on our site.




        TOPICS                                    Use on Patreon
        Use on Patreon
                                                  To summarize: Patreon uses cookies
                    "Do-not-track"
                                                  and other tracking technologies to
                     technologies
                                                  provide our service. Cookies are not
        How to manage cookies
                                                  strictly necessary for the website to
        Changes to cookie policy
                                                  work, but it will provide you with a

https://www.patreon.com/policy/cookies                                                                            Page 1 of 5
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        Back to Policy                    better browsing experience. If you
                                          choose to delete or block these
                                          cookies, some features of this site
                                          may not work as intended.
                                          Cookies are not used to identify you personally
                                          and are not used for any purpose other than those
                                          described here.


                                          Security / Authentication:

                                          Some cookie and similar technology functions are
                                          necessary and vital to ensuring that Patreon
                                          works properly for visitors and members, such as
                                          maintaining the security, safety, and integrity on
                                          Patreon, authentication and logging in (including
                                          remembering permissions and consents you have
                                          granted), and ensuring the ability to securely
                                          complete transactions.


                                          Performance / Analytics and Research:

                                          Some technologies help provide performance
                                          data on how Patreon is functioning in order to
                                          make improvements to the platform. Data
                                          collected on site and app functionality and speed,
                                          how Patreon is used and detecting and gathering
                                          reporting on bugs helps improve Patreon and the
                                          services we oIer.


                                          Preferences / Localization:

                                          Cookies enable your personalized views and
                                          settings. Some cookies help us provide localized


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                                          experiences — for example, by making sure you
                                          see Patreon in your preferred language.


                                          Social Networks / Marketing:

                                          Some technologies help you to interact with social
                                          networks you are signed into while using Patreon,
                                          such as logging in with the social network and
                                          other features you employ with the social network,
                                          or that are allowed in the social network’s privacy
                                          policy. These may be set and controlled by the
                                          social networks, and your preferences with those
                                          social networks.




                                          "Do-not-track" technologies
                                          We do not respond to web browser “Do-Not-
                                          Track” signals.




                                          How to manage cookies
                                          You can control the use of cookies at the
                                          individual browser level. If you reject or delete
                                          cookies, our Services may no longer function as
                                          intended. Each browser provides diIerent
                                          mechanisms for managing cookies. Look at your
                                          browser’s help menu to determine the best way to
                                          modify your browser’s cookie storage.




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                                          Changes to cookie policy
                                          We periodically update this Cookie Policy to
                                          account for changed legal and operational
                                          circumstances, to describe new cookies and
                                          tracking technologies, and to describe how those
                                          changes aIect our use of your information. If we
                                          are going to use information in a manner that is
                                          materially diIerent from that stated at the time of
                                          collection or make any material changes in our
                                          privacy practices, we will notify you. We will post
                                          those changes through a prominent notice on our
                                          website.

                                          This policy is part of Patreon’s Terms of
                                          Use and Privacy Policy. For more information,
                                          contact Patreon at privacy@patreon.com. Visit
                                          our privacy center to learn more about the speci<c
                                          cookies we use and how to to opt out of them.




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                                             P RODUCT        F O R C R E ATORS   R E S O URC E S   CO M PANY


    Language:
                                             Lite            Podcasters          Blog              About
       English
                                             Pro             Video Creators      Patreon U         Press
       (United
                                             Premium         Musicians           Creator           Careers
       States)                                                                   Community
                                             Pricing         Visual Artists                        Privacy
                                                             Writers &           Help Center &     Policy & Terms
         United                                              Journalists         FAQ
                                                                                                   Privacy
        States                                               Communities         App Directory     Preferences
                                                             Gaming              Developers        Accessibility
     Currency:                                               Creators                              Impressum
       USD Privacy
      Your                                                   Nonpro<ts
                                                             Tutorials and
       Patreon determines the use of personal data           Education
       collected on our media properties and across the
                                                             Local
       internet. We may collect data that you submit to
                                                             Businesses
       us directly or data that we collect automatically
       including from cookies (such as device                Creators-of-all-
       information or IP address). Please read our           kinds
       Privacy Policy to learn about our privacy practices
       or click "Your Preferences" to exercise control
       over your data.


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